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            EXHIBIT F
             Part 4 of 4
         Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 2 of 196


Doc Code: A.NE.AFCP
Document Description: After Final Consideration Pilot Program Request
                                                                                                                              PTO/SB/434 (05-13)

                        CERTIFICATION AND REQUEST FOR CONSIDERATION UNDER THE
                              AFTER FINAL CONSIDERATION PILOT PROGRAM 2.0
Practitioner Docket No.:                         Application No.:                                 Filing Date:

076533.0146                                      14/059, 192                                     October 21, 2013
First Named Inventor:                            Title:

Sean Rad                                         Matching Process System And Method
APPLICANT HEREBY CERTIFIES THE FOLLOWING AND REQUESTS CONSIDERATION UNDER THE AFTER FINAL CONSIDERATION PILOT
PROGRAM 2.0 (AFCP 2.0) OF THE ACCOMPANYING RESPONSE UNDER 37 CFR 1.116.
1.         The above-identified application is (i) an original utility, plant, or design nonprovisional application filed under
           35 U.S.C. 111(a) [a continuing application (e.g., a continuation or divisional application) is filed under 3S U.S.C. 111(a) and is
           eligible under (i)], or (ii) an international application that has entered the national stage in compliance with 35 U.S.C. 371(c).
2.         The above-identified application contains an outstanding final rejection.
3.         Submitted herewith is a response under 37 CFR 1.116 to the outstanding final rejection. The response includes an
           amendment to at least one independent claim, and the amendment does not broaden the scope of the independent claim in
           any aspect.
4.         This certification and request for consideration under AFCP 2.0 is the only AFCP 2.0 certification and request filed in
           response to the outstanding final rejection.
5.         Applicant is willing and available to participate in any interview requested by the examiner concerning the present response.
6.         This certification and request is being filed electronically using the Office's electronic filing system (EFS-Web).
7.         Any fees that would be necessary consistent with current practice concerning responses after final rejection under 37 CFR
           1.116, e.g., extension of time fees, are being concurrently filed herewith. [There is no additional fee required to request
           consideration under AFCP 2.0.]
8.         By filing this certification and request, applicant acknowledges the following:

     •     Reissue applications and reexamination proceedings are not eligible to participate in AFCP 2.0 .
      •    The examiner will verify that the AFCP 2.0 submission is compliant, i.e., that the requirements of the program have been met
           (see items 1 to 7 above). For compliant submissions:
                 o   The examiner will review the response under37 CFR 1.116 to determine if additional search and/or consideration
                     (i) is necessitated by the amendment and (ii) could be completed within the time allotted under AFCP 2.0. If
                     additional search and/or consideration is req:iired tiut cannot be completed within the allotted time, the examiner
                     will process the submission consistent with current practice concerning responses after final rejection under
                     37 CFR 1.116, e.g., by mailing an advisory action.
                 o   If the examiner determines that the amendment does not necessitate additional search and/or consideration, or if
                     the examiner determines that additional search and/or consideration is required and could be completed within
                     the allotted time, then the examiner will consider whether the amendment places the application in condition for
                     allowance (after completing the additional search and/or consideration, if required). If the examiner determines
                     that the amendment does not place the application in condition for allowance, then the examiner will contact the
                     applicant and request an interview.
                            •    The interview will be conducted by the examiner, and if the examiner does not have negotiation
                                 authority, a primary examiner and/or supervisory patent examiner will also participate.
                            •    If the applicant declines the interview, or if the interview cannot be scheduled within ten (10) calendar
                                 days from the date that the examiner first contacts the applicant, then the examiner will proceed
                                 consistent with current practice concerning responses after final rejection under 37 CFR 1.116.

                                                                         Date

                                                                          February 9, 2016
Name                                                                     Practitioner
(Print/Typed)                              .              .              Registration No.
                Roshan S. Mans1ngharn                                                       62429
Note: This form must be signed in accordance with 37 CFR 1.33. See 37 CFR 1.4{d} for signature requirements and certifications. Submit multiple
forms if more than one signature is required, see below*.

n    *Total of_1___ forms are submitted.
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                                           Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the
requirements of the Act, please be advised that: (1) the general authority for the collection of this information is
35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which
the information is used by the U.S. Patent and Trademark Office is to process and/or examine your submission
related to a patent application or patent. If you do not furnish the requested information, the U.S. Patent and
Trademark Office may not be able to process and/or examine your submission, which may result in termination
of proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.   The information on this form will be treated confidentially to the extent allowed under the Freedom of
         Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of
         records may be disclosed to the Department of Justice to determine whether disclosure of these
         records is required by the Freedom of Information Act.
    2.   A record from this system of records may be .disclosed, as a routine use, in the course of presenting
         evidence to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in
         the course of settlement negotiations.
    3.   A record in this system of records may be disclosed, as a routine use, to a Member of Congress
         submitting a request involving an individual, to whom the record pertains, when the individual has
         requested assistance from the Member with respect to the subject matter of the record.
    4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency
         having need for the information in order to perform a contract. Recipients of information shall be
         required to comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C.
         552a(m).
    5.   A record related to an International Application filed under the Patent Cooperation Treaty in this
         system of records may be disclosed, as a routine use, to the International Bureau of the World
         Intellectual Property Organization, pursuant to the Patent Cooperation Treaty.
    6.   A record in this system of records may be disclosed, as a routine use, to another federal agency for
         purposes of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act
         (42 U.S.C. 218(c)).
    7.   A record from this system of records may be disclosed, as a routine use, to the Administrator, General
         Services, or his/her designee, during an inspection of records conducted by GSA as part of that
         agency's responsibility to recommend improvements in records management practices and programs,
         under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the
         GSA regulations governing inspection of records for this purpose, and any other relevant (i.e., GSA or
         Commerce) directive. Such disclosure shall not be used to make determinations about individuals.
    8.   A record from this system of records may be disclosed, as a routine use, to the public after either
         publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35
         U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine
         use, to the public if the record was filed in <1n.application which became abandoned or in which the
         proceedings were terminated and which applica.tjon is referenced by either a published application, an
         application open to public inspection or an issu<;id patent.
    9.   A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local
         law enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or
         regulation.
              Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 4 of 196
                                    Electronic Acknowledgement Receipt

                       EFSID:                      24862261


                 Application Number:               14059192


          International Application Number:

                Confirmation Number:               1044




                  Title of Invention:              Matching Process System And Method




         First Named Inventor/Applicant Name:      Sean Rad


                  Customer Number:                 5073


                         Filer:                    Roshan Suresh Mansinghani/Laurie Scott


                 Filer Authorized By:              Roshan Suresh Mansinghani


              Attorney Docket Number:              076533.0146


                    Receipt Date:                  09-FEB-2016


                     Filing Date:                  21-0CT-2013


                     Time Stamp:                   11:58:54


                  Application Type:                Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment
                                                 I no
File Listing:
 Document                                                                             File Size(Bytes}/                   Multi         Pages
                     Document Description                 File Name
  Number                                                                              Message Digest                     Part /.zip   (if appl.)

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               Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 5 of 196
                                              Multipart Description/PDF files in .zip description

                                     Document Description                                              Start                            End


                                    Response After Final Action                                           1                              1



                                              Claims                                                      2                             10



                       Applicant Arguments/Remarks Made in an Amendment                                   11                            16


Warnings:
Information:

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This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
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Post Card, as described in MPEP 503.

New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                      Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 6 of 196
                                                                                                                                                                              PTO/SB/06 (09-11)
                                                                                                                                             Approved for use through 1/31/2014. OMB 0651-0032
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    PATENT APPLICATION FEE DETERMINATION RECORD                                                             Application or Docket Number                Filing Date
                                    Substitute for Form PT0-875                                                      14/059, 192                     10/21 /2013            D To be Mailed

                                                                                                                           ENTITY:          ~LARGE           D SMALL D MICRO
                                                                         APPLICATION AS FILED - PART I
                                                   (Column 1)                          (Column 2)

                   FOR                           NUMBER FILED                       NUMBER EXTRA                                     RATE($)                            FEE($)

 D BASIC FEE                                           N/A                                 N/A                                        N/A
       (37 CFR 1.16(a), (b), or (c))

 D SEARCH    FEE
   (37 CFR 1.16(k), (i), or (m))
                                                       N/A                                 N/A                                        N/A

 D (37
   EXAMINATION FEE
       CFR 1.16(0), (p), or (q))
                                                       N/A                                 N/A                                        N/A
 TOTAL CLAIMS
 (37 CFR 1.16(i))                                          minus 20 =       *                                                x   $          =

 INDEPENDENT CLAIMS
 (37 CFR 1.16(h))                                            minus 3 =      *                                                x   $          =

                                            If the specification and drawings exceed 100 sheets
                                            of paper, the application size fee due is $310 ($155
 0APPLICATION SIZE FEE
                                            for small entity) for each additional 50 sheets or
   (37 CFR 1.16(s))
                                            fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                            CFR 1.16(s).
 D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
 * If the difference in column 1 is less than zero, enter "O" in column 2.                                                           TOTAL



                                                                      APPLICATION AS AMENDED - PART II

                                    (Column 1)                        (Column 2)              (Column 3)

                                CLAIMS                           HIGHEST
                                REMAINING                        NUMBER
f--     02/09/2016              AFTER                            PREVIOUSLY
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
z                               AMENDMENT                        PAID FOR
w      Total (37 CFR
~       1.16(i\\                *9                   Minus       ** 21                =   0                                  x   $80 =                                      0
0
z       Independent
       (37 CFR 1.16(hll         *3                   Minus       ***3                 =   0                                  x   $420 =                                     0
w
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<(
        D Application Size Fee (37 CFR 1.16(s))
        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE                               0
                                    (Column 1)                        (Column 2)              (Column 3)

                                  CLAIMS                          HIGHEST
                                 REMAINING                         NUMBER
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
                                   AFTER                         PREVIOUSLY
                                AMENDMENT                         PAID FOR
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                                *                    Minus       **                                                          x $
 w      1.16(i))                                                                      =                                                     =

 ~      Independent
                                                                                                                             x $
 0     (37 CFR 1.16(h))         *                    Minus       ***                  =                                                    =
 z      D Application Size Fee (37 CFR 1.16(s))
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 ~
 <(     D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE

 * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                       LIE
 ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".                                   /PAULA MCCRAY STANLEY/
 *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
 The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of information is required by 37 CFR 1.16. The information is required to obtain or retain a benefit by the public which is to file (and by the US PTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering,
preparing, and submitting the completed application form to the US PTO. Time will vary depending upon the individual case. Any comments on the amount of time you
require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S.
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ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                            If you need assistance in completing the form, call 1-800-PT0-9199 and select option 2.
                Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 7 of 196
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       14/059,192               10/21/2013                  Sean Rad              076533.0146                         1044

       5073             7590             12/09/2015
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2164


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   12/09/2015                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                         Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 8 of 196
                                                                                    Application No.                               Applicant(s)
                                                                                    14/059, 192                                   RAD ET AL.
                     Office Action Summary                                          Examiner                                      Art Unit           AIA (First Inventor to File)
                                                                                                                                                     Status
                                                                                    YUK TING CHOI                                 2164
                                                                                                                                                     No
                -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;J. MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION.
          Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
          If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
          Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

 Status
        1)~ Responsive to communication(s) filed on 1111812015.
              0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
      2a)~ This action is FINAL.                 2b)0 This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
           _ _ ;the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.
 Disposition of Claims*
    5)~ Claim(s) 23.25-28.30.32-35.37 and 39-42 is/are pending in the application.
          5a) Of the above claim(s) _ _ is/are withdrawn from consideration.
    6)0 Claim(s) _ _ is/are allowed.
    7)~ Claim(s) 23.25-28.30.32-35.37 and 39-42 is/are rejected.
    8)0 Claim(s) _ _ is/are objected to.
    9)0 Claim(s) _ _ are subject to restriction and/or election requirement.
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http:ilwww.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PPHfeedback(wuspto.aov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
   11 )0 The drawing(s) filed on _ _ is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
         a)O All b)O Some** c)O None of the:
            1.0 Certified copies of the priority documents have been received.
           2.0 Certified copies of the priority documents have been received in Application No. _ _ .
           3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                 application from the International Bureau (PCT Rule 17.2(a)).
 ** See the attached detailed Office action for a list of the certified copies not received.




 Attachment{s)
 1) 0 Notice of References Cited (PT0-892)                                                        3)   0 Interview Summary (PT0-413)
                                                                                                          Paper No(s)/Mail Date. _ _ .
 2) 0 Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)
         Paper No(s)/Mail Date _ _ .
                                                                                                  4)   0 Other: _ _.
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                              Office Action Summary                                          Part of Paper No./Mail Date 20151130
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Application/Control Number: 14/059, 192                                                       Page 2
Art Unit: 2164

                                        DETAILED ACTION

                                    Response to Amendment

1.     This office action is in response to applicant's communication filed on 11/18/2015 in

response to PTO Office Action mailed 08/18/2015. The Applicant's remarks and amendments

to the claims and/or the specification were considered with the results as follows.

2.      In response to the last Office Action, claims 23, 25-28, 30, 32-35, 37, 39-42 have been

amended. Claims 24, 29, 31, 36, 38 and 43 have been canceled. As a result, claims 23, 25-28,

30, 32-35, 37, 39, 40-42 are pending in this office action.




                                   Response to Arguments
3.      Applicant's arguments with respect to claims 23, 25-28, 30, 32-35, 37, 39, 40-42 have

been fully considered but are not persuasive and details are as follows:

       Applicant's argument states as "Janssens discloses a social interaction system that

includes a way for a user to find people of interest. .. additionally, clicking, mouse dragging,

hovering, swiping and gesturing, may indicate to the system to display a new card. Therefore,

the cited portions of Janssens do not disclose in response to determining that the first user

expressed the positive preference indication regarding the first potential match, automatically

causing the graphical user interface to display a graphical representation of a second potential

match of the set of potential matches instead of the graphical representation of the first potential

match" as recited in amended independent claims 23, 30 and 37.

       In response to applicant's response, the Examiner disagrees because the Janssens

reference discloses the user of the card-feed may cycle through various cards or other potential

matches beside the first potential match. The system records different forms of user

interactions such as clicking, mouse dragging, hovering, swiping, gesturing and so on are used
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to indicate whether a new potential match or previously viewed potential match is to be

displayed to the user (See Janssens, para. [0047]). The feed of potential matches is

automatically cycled periodically and the system uses information such as user settings and

past interactions between users, e.g., the interactions such as a user liked another user and/or

gave a gift to another user to determine and select which card to show next from a set of cards

or potential matches. The user may go forward in the feed by selecting the forward control and

the process may select the next card to display to the user in the card-feed. Similarity, when

another user likes the user's profile card, the user may go forward in the feed by selecting the

forward control and the process automatically select the card of the person that liked that user

as the next card to display to the user in the card feed (See Janssens, para. [0118]). Therefore,

Janssens still teaches in response to determine that the first user expressed "liked" indication

regarding the first potential match, the system automatically use such interaction information to

determine and select the next card in the card feed.

       Applicant further argues "the office action relies on Janssens at paragraph 64 and 95 as

allegedly disclosing enabling communication between the first user and the second user in

response to determining that the second user has expressed approval for the first user, the cited

paragraphs merely disclose updating a user's contact list or chat list...Janssens teaches away

from enabling communication after users have been linked because it discloses that users exist

in the chat before they are linked ... Janssens merely discloses that a contact may be

automatically added to a given's user's contact list when two users are linked and suggests that

users could communicate before being linked ... therefore, Janssens does not disclose

determining to enable communication between the first user and the second user in response to

determining that both the first user has expressed the positive preference indication regarding
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Art Unit: 2164

the second user and the second user has expressed the positive preference indicating

regarding the first user".


        In response to applicant's response, the Examiner disagrees because the Janssens

reference clearly indicates there are different ways to enable communication between the users.

Rules can be defined by users in the user's account data or by a system administrator indicates

which users can communicate/chat with other users (See Janssens para. [0045] and para.

[0056]). One of the ways to enable chat communication between two users is adding both users

to their contact lists. A contact is added automatically to a given user's contact list when two

users link, for example, if user A "likes" user B and user B "likes" user A back, a link is created,

and the system adds user A to the contact list of user B and user B to the contact list of user A.

User A enables communication with user B by clicking the chat button once the system has

successfully placed user B on the contract list of user A after user A has indicated a positive

indication such as the liked indication (See Janssens para. [0095]). Therefore, the Janssens

reference still reads on the argued feature.




                                    Claim Rejections - 35 USC§ 102

4.      In the event the determination of the status of the application as subject to AIA 35 U.S.C.

102 and 103 (or as subject to pre-AIA 35 U.S.C. 102 and 103) is incorrect, any correction of the

statutory basis for the rejection will not be considered a new ground of rejection if the prior art

relied upon, and the rationale supporting the rejection, would be the same under either status.

5.      The following is a quotation of the appropriate paragraphs of pre-AIA 35 U.S.C. 102 that

form the basis for the rejections under this section made in this Office action:

        A person shall be entitled to a patent unless -
     Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 12 of 196


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Art Unit: 2164

       (e) the invention was described in (1) an application for patent, published under section
       122(b), by another filed in the United States before the invention by the applicant for patent or
       (2) a patent granted on an application for patent by another filed in the United States before
       the invention by the applicant for patent, except that an international application filed under
       the treaty defined in section 351 (a) shall have the effects for purposes of this subsection of an
       application filed in the United States only if the international application designated the United
       States and was published under Article 21 (2) of such treaty in the English language.


6.     Claims 23, 25 26, 28, 30, 32, 33, 35, 37 and 39-41 are rejected under pre-AIA 35 U.S.C.

102(e) as being anticipated by Janssens (US 2014/0040368 A1).

       Referring to claims 23, 30 and 37, Janssens discloses a computer implemented

method of profile matching (See para. [0005], a matching system identifies a plurality of

matching users from a plurality users based at least in part on the received profile

information) , comprising:

       electronically receiving a first request for matching, the first request electronically

submitted by a first user using a first electronic device (See Figure 9, para. [0041] and para.

[0112] and para. [0113], receiving a request for a new card from a user device, a request

for a profile card);

        determining a set of potential matches for the first user in response to receiving the first

 request (See para. [0115] and Figure 9, item 906, identifying a set of available cards by

 the system as potentially interesting to the viewing user);

        causing the display of a graphical representation of a first potential match of the set of

 potential matches to the first user on a graphical user interface of the first electronic device, the

 first potential match corresponding to a second user (See para. [0115]-para. [0117] and

 Figure 9, selecting and displaying a card from the set of available cards that is

 estimated or determined to be the highest rank or greater interest to the user);

       determining that the first user expressed a positive preference indication regarding the

 first potential match at least by determining that the first user performed a first swiping gesture
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associated with the graphical representation to the first potential match on the graphical user

 interface (See Figure 5, para. [0005], para. [0052], para. [0053], para. [0064] and para.

[0095], the system receives "like" expression from the first user or the A user on the

 card-feed pane, also See para. [0047] and para. [0068] and Figure 4, swiping across the

 interface using a finger on the card, user can swipe on the "like "feature, and the

system maintain a history of which cards a given user has viewed and the user's

 interaction with a given card);

       in response to determining that the first user expressed the positive preference

 indication regarding the first potential match, automatically causing the graphical user interface

to display a graphical representation of a second potential match of the set of potential

 matches instead of the graphical representation of the first potential match (See para. [0047]

and para. [0118], the user of the card-feed may cycle through various cards or other

potential matches beside the first potential match, the system records different forms of

 user interactions such as clicking, mouse dragging, hovering, swiping, gesturing and so

 on are used to indicate whether a new potential match or previously viewed potential

 match is to be displayed to the user, the feed of potential matches is automatically

 cycled periodically and the system uses information such as user settings and past

 interactions between users, e.g., the interactions such as a user liked another user

and/or gave a gift to another user to determine and select which card to show next from

a set of cards or potential matches, the user may go forward in the feed by selecting the

 forward control and the process may select the next card to display to the user in the

 card-feed, also when another user likes the user's profile card, the user may go forward

 in the feed by selecting the forward control, and the system automatically selects the
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 card of the person that liked that user as the next card to display to the user in the card

 feed);

          determining that the second user has expressed a positive preference indication

 regarding the first user after determining that the first user expressed the positive preference

 indication regarding the first potential match (See Figure 5, para. [0005], para. [0052], para.

[0053], para. [0064] and para. [0095], the system also receives "like" expression from the

 second user when the second user or the user B likes user A back);

          determining to enable communication between the first user and the second user in

 response to determining that both the first user has expressed the positive preference

 indication regarding the second user and the second user has expressed the positive

preference indication regarding the first user (See para. [0045] and para. [0056], One way to

 enable chat communication between two users is adding both users to their contact

 lists, a contact is added automatically to a given user's contact list when two users link,

 for example, if user A "likes" user Band user B "likes" user A back, a link is created,

and the system adds user A to the contact list of user B and user B to the contact list of

 user A. User A enables communication with user B by clicking the chat button once the

 system has successfully placed user B on the contract list of user A after user A has

 indicated a positive indication such as the liked indication);

          in response to determining to enable communication between the first user and the

second user, causing the graphical user interface to display to the first user both the graphical

 representation of the first potential match and a text area, the text area configured to receive

text inputted by the first user to send to the second user (See Figure 3, text area 312, para.

[0045] and para. [0056], if user A "likes" user Band user B "likes" user A back, a link is

 created, and the system adds user A to the contact list of user B and user B to the
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 contact list of user A, user A enables communication with user B by clicking the chat

 button once the system has successfully placed user B on the contract list of user A

 after user A has indicated a positive indication such as the liked indication, clicking the

 chat button opens the chat pane is a text area enable the user to chat other users); and

       wherein the first user is identified using a first social networking platform and the second

 user is identified using a second social networking platform that is different than the first social

 networking platform (See para. [0178], the system determines the potential match based

 on one of the factors such as the common friends listed on the user profiles associated

 with one or more social networks).



       As to claims 25, 32 and 39, Janssens discloses further comprising:


       in response to determining that both the first user has expressed the positive

preference indication regarding the second user and the second user has expressed the

positive preference indication regarding the first user, causing the display of a graphical

notification, on the graphical user interface of the first electronic device, that a match

exists between the first user and the second user, the graphical notification comprising a

user interface control enabling the text area to be presented to the first user (See Figure 3, text

area 312, para. [0045] and para. [0056], if user A "likes" user Band user B "likes" user A

back, a link is created, and the system adds user A to the contact list of user B and user

B to the contact list of user A, user A enables communication with user B by clicking the

chat button once the system has successfully placed user B on the contract list of user A

after user A has indicated a positive indication such as the liked indication, clicking the

chat button opens the chat pane is a text area enable the user to chat other users).
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       As to claims 26, 33 and 40, Janssens discloses the set of potential matches for the first

user comprises one or more potential matches that are each associated with a geographic

location within a threshold distance of a geographic location associated with the first user, the

threshold distance being a stored value (See para. [0055] and para. [0130], user can set

preferences on the types of cards they want to receive, e.g. a user can specify limits on

geographic range such as 10 miles from his/ her house, 20 miles from his/her work

address and etc.).


       As to claims 28, 35 and 41, Janssens discloses causing the display of a graphical

 representation of a second potential match of the set of potential matches to the first user on

 the graphical user interface of the first electronic device (See para. [0145] and Figure 12, the

 system identifies the most relevant potential users whose cards may be displayed to the

 viewing user); determining that the first user expressed a negative preference indication

 regarding the second potential match (See para. [0052], the system also provides a control

 via which the user can indicate a disinterest in another user); and determining not to

 enable communication between the first user and a user associated with the second potential

 match after determining that the first user expressed the negative preference indication

 regarding the second potential match (See para. [0052], preventing communication

 between the first user and the other user, e.g. if user B is a second potential match, user

 B is automatically be placed in ignored state and or any future communication because

 the first user dislikes the profile card for user B).
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                                    Claim Rejections - 35 USC § 103

7.      The following is a quotation of pre-AIA 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

        (a) A patent may not be obtained though the invention is not identically disclosed or described
        as set forth in section 102 of this title, if the differences between the subject matter sought to
        be patented and the prior art are such that the subject matter as a whole would have been
        obvious at the time the invention was made to a person having ordinary skill in the art to which
        said subject matter pertains. Patentability shall not be negatived by the manner in which the
        invention was made.


8.      Claims 27, 34 and 42 are rejected under pre-AIA 35 U.S.C. 103(a) as being

unpatentable over Janssens (US 2014/0040368 A1) and in view of Kulas (US 2011/0087974

A1).

        As to claims 27, 34 and 42, Janssens discloses causing the display of a graphical

 representation of a second potential match and a third potential match to the first user on the

 graphical user interface of the first electronic device, the set of potential matches comprising

 the second potential match and the third potential match (See para. [0145] and Figure 12, the

 system identifies the most relevant potential users whose cards may be displayed to the

 viewing user).

        Janssens discloses determining that the first user expressed a positive preference

 indication regarding the second potential match at least by determining that the first user

 performed a second swiping gesture associated with the graphical representation of the

 second potential match on the graphical user interface (See para. [0047] and para. [0068]

 and Figure 4 swiping across the interface using a finger on the card, user can swipe on

 the "like "feature) and determining that the first user expressed a negative preference

 indication regarding that the third potential match at least by determining that the first user

 performed a third swiping gesture associated with the graphical representation of the third
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 potential match on the user interface (See para. [0052], the system also provides a control

 via which the user can indicate a disinterest in another user).

        Janssens does not explicitly disclose determining an expression of approval by detecting

 a second swiping gesture associated with a first direction; and determining an expression of

 disapproval from the first user by detecting a third swiping gesture associated with a second

 direction different than the first direction.

        Kulas discloses determining an expression of approval by detecting a second swiping

 gesture associated with a first direction; and determining an expression of disapproval from the

 first user by detecting a third swiping gesture associated with a second direction different than

 the first direction (See para. [0027], a user can swipe their finger downward to indicate

 disapproval or upward to indicate approval).

        Hence, it would have been obvious to one having ordinary skill in the art at the time of

invention was made to modify the sensitive touch- screen movement detection module of

Janssens 's system to comprise: determining an expression of approval by detecting a second

swiping gesture associated with a first direction; and determining an expression of disapproval

from the first user by detecting a third swiping gesture associated with a second direction

different than the first direction, as taught by Kulas, in order to improve the service provided to a

user by determining ways of identifying a user's state of mind (See Kulas, para. [0004]).



                                                 Conclusion




9.      THIS ACTION IS MADE FINAL. Applicant is reminded of the extension of time policy as

set forth in 37 CFR 1.136(a).
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        A shortened statutory period for reply to this final action is set to expire THREE

MONTHS from the mailing date of this action. In the event a first reply is filed within TWO

MONTHS of the mailing date of this final action and the advisory action is not mailed until after

the end of the THREE-MONTH shortened statutory period, then the shortened statutory period

will expire on the date the advisory action is mailed, and any extension fee pursuant to 37

CFR 1.136(a) will be calculated from the mailing date of the advisory action. In no event,

however, will the statutory period for reply expire later than SIX MONTHS from the date of this

final action.




10.     The examiner requests, in response to this Office action, support be shown for language

added to any original claims on amendment and any new claims. That is indicate support for

newly added claim language by specifically pointing to page(s) and line no(s) in the specification

and/or drawing figure(s). This will assist the examiner in prosecuting the application.




                                       Contact Information

        Any inquiry concerning this communication or earlier communications from the examiner

should be directed to YUK TING CHOI whose telephone number is (571 )270-1637. The

examiner can normally be reached on 9:30 AM - 6:00 PM EST.

        If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Christyann Pulliam can be reached on (571) 270-1007. The fax phone number for

the organization where this application or proceeding is assigned is 571-273-8300.
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       Information regarding the status of an application may be obtained from the Patent

Application Information Retrieval (PAIR) system. Status information for published applications

may be obtained from either Private PAIR or Public PAIR. Status information for unpublished

applications is available through Private PAIR only. For more information about the PAIR

system, see http://pair-direct.uspto.gov. Should you have questions on access to the Private

PAIR system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free). If you

would like assistance from a USPTO Customer Service Representative or access to the

automated information system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.

/YUK TING CHOI/

Primary Examiner, Art Unit 2164
              Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 21 of 196

                                                  Application/Control No.            Applicant(s)/Patent Under
                                                                                     Reexamination
          Index of Claims                         14059192                           RAD ET AL.

                                                  Examiner                           Art Unit

                                                  YUK TING CHOI                      2164


              Rejected                        Cancelled            N        Non-Elected           A           Appeal

  -           Allowed                         Restricted                    Interference          0         Objected

 D    Claims renumbered in the same order as presented by applicant              D   CPA        D T.D.        D     R.1.47

          CLAIM                                                         DATE
      Final        Original   08/12/2015 11/30/2015
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U.S. Patent and Trademark Office                                                                      Part of Paper No. : 20151130
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                                                  Application/Control No.            Applicant(s)/Patent Under
                                                                                     Reexamination
          Index of Claims                         14059192                           RAD ET AL.

                                                  Examiner                           Art Unit

                                                  YUK TING CHOI                      2164


              Rejected                        Cancelled            N        Non-Elected           A           Appeal

  =           Allowed                         Restricted                    Interference          0         Objected

 D    Claims renumbered in the same order as presented by applicant              D   CPA        D T.D.        D     R.1.47

          CLAIM                                                         DATE
      Final        Original   08/12/2015 11/30/2015
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                     39            ,/        ,/

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U.S. Patent and Trademark Office                                                                      Part of Paper No. : 20151130
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ATTORNEY DOCKET NO.:                                             PATENT APPLICATION
076533.0146                                                                14/059,192

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            IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:         Sean Rad et al.
Serial No.:                   14/059,192
Filing Date:                  October 21, 2013
Group Art Unit:               2164
Examiner:                     Yuk Ting Choi
Confirmation No.:             1044
Title:                        MATCHING PROCESS SYSTEM AND METHOD




Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450



Dear Sir:




                  Response to Office Action Pursuant to 37 C. F. R. § 1.111

         In response to the Office Action dated August 18, 2015, Applicants respectfully
request the Examiner to reconsider the rejections of the claims in view of the following
amendments and remarks.
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076533.0146                                                                     14/059,192

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In the Claims:

       1-22.     (Candled)


       23.       (Currently Amended) A computer implemented method of profile matching,
compnsmg:
       reeeiving a plurality of user profiles, eaeh user profile eomprising traits ef a
respeetive user;
       electronically rece1vmg a first request for matching,, fr6m the first request
electronically submitted by a first user using a first electronic device;
       determining identifying a set of potential matches for the first user from the
plurality ef user profiles in response to receiving the first request;
       causing the display of a graphical representation of presenting a first potential
match of the set of potential matches to the first user on a graphical user interface of the
first electronic device, the first potential match corresponding to a second user;
       reeeiYing an expression of approval determining that fr6m the first user expressed
a positive preference indication regarding the first potential match at least by determining
that the first user performed a first swiping gesture associated with the graphical
representation of the first potential match on the graphical user interface;
       in response to determining that the first user expressed the positive preference
indication regarding the first potential match, automatically causing the graphical user
interface to display a graphical representation of a second potential match of the set of
potential matches instead of the graphical representation of the first potential match;
       determining that the second user has expressed a positive preference indication
regarding approval fer the first user after determining that the first user expressed the
positive preference indication regarding the first potential match; reeeiving the
expression of approval from the first user;
       determining to enable enabling communication between the first user and the
second user in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed
approval fer the positive preference indication regarding the first user;
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       in response to determining to enable communication between the first user and
the second user, causing the graphical user interface to display to the first user both the
graphical representation of the first potential match and a text area, the text area
configured to receive text inputted by the first user to send to the second user; and
       wherein the first user is identified using plaFality of aseF pFofiles eompFises aseF
pFofiles assoeiated with a first social networking platform and the second user is identified
using useF pFofiles assoeiated with a second social networking platform that is different
than the first social networking platform.


       24.     (Canceled)


       25.     (Currently Amended) The method of Claim 23, further comprising:
       in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, causing the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match
exists between the first user and the second user, the graphical notification comprising a
user interface control enabling the text area to be presented to the first user.
       pFeseetieg an iedieatioe of the ex1uessioe of appFoval from the fiFSt useF
FegaFdieg the fiFst poteHtial mateh to the seeoed useF afteF Feeeivieg the expFession of
appFoval from the fiFst aseF FegaFdieg the fiFst poteHtial mateh and afteF deteFmieieg
that the seeoHd useF has ex1uessed appFoval fop the fiFst useF.


       26.     (Currently Amended) The method of Claim 23, wherein ideetifyiHg a set of
potential matehes feF the Fetjuest fFom the ttluFality of useF pFofiles the set of potential
matches for the first user comprises one or more potential matches that are each
associated with a geographic location within a threshold distance of a geographic
location associated with the first user, the threshold distance being a stored value.
eompaFing geogmphie positions assoeiated with the pluFality of useF pFofiles with eaeh
of the poteHtial matehes with a geogFRphie position assoeiated with the fiFst aseF.
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                                                 4

        27.     (Currently Amended) The method of Claim 23, further comprising:
        causing the display of a graphical representation of pFesenting a second potential
match and a third potential match to the first user on the graphical user interface of the
first electronic device, the set of potential matches comprising the second potential match
and the third potential match;
        determining that the first user expressed a positive preference indication
deteFmining an expFession of ap1uoval fFom the fiFst useF regarding the second potential
match at least by determining that the first user performed a second swiping gesture
associated with the graphical representation of the second potential match on the
graphical user interface, the by deteeting a fiFst second swiping gesture associated with a
first direction; and
        determining that the first user expressed a negative preference indication
deteFmining an ex1uession of disaf)pFoval fFom the HFst useF regarding the third potential
match at least bv determining that the first user performed a third swioing gesture
associated with the graphical representation of the third potential match on the
graphical user interface, the by deteeting a seeond third swiping gesture associated with a
second direction different than the first direction.


        28.     (Currently Amended) The method of Claim 23, further comprising:
        causing the display of a graphical representation of pFesenting a second potential
match of the set of potential matches to the first user on the graphical user interface of the
first electronic device;
        determining that the first user expressed a negative preference indication
Feeeiving an expFessioB of disapfJFOYal fFom the fiFst useF regarding the second potential
match; and
        determining not to enable fJFeYenting communication between the first user and a
user associated with the second potential match after determining that the first user
expressed the negative preference indication regarding the second potential match. in
Fesponse to Feeeiving the exf)Fession of disaf)f>FO\'al.


        29.     (Canceled)
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                                                5

       30.     (Currently     Amended) A        non-transitory   computer-readable   medium
comprising instructions that, when executed by a processor, are configured to:
       reeei-ve a plurality af user prafiles, eaeh user prafile eampFising troits af o
respeeti-ve user;
       electronically receive a first request for matching1 frem the first request
electronically submitted by a first user using a first electronic device;
       determine identify a set of potential matches for the first user fram the plurality of
user prafiles in response to receiving the first request;
       cause the display of a graphical representation of present a first potential match of
the set of potential matches to the first user on a graphical user interface of the first
electronic device, the first potential match corresponding to a second user;
       reeeive an expressian af appraval fram determine that the first user expressed a
positive preference indication regarding the first potential match at least by determining
that the first user performed a first swiping gesture associated with the graphical
representation of the first potential match on the graphical user interface;
       in response to the determination that the first user expressed the positive
preference indication regarding the first potential match 1 automatically cause the
graphical user interface to display a graphical representation of a second potential
match of the set of potential matches instead of the graphical representation of the first
potential match;
       determine that the second user has expressed a positive preference indication
regarding oppFaYal far the first user after determining that the first user expressed the
positive preference indication regarding the first potential match reeei-ving the
expFession of appraYol from the first user;
       determine to enable communication between the first user and the second user in
response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed apprO'vol faF the
positive preference indication regarding the first user;
       in response to the determination to enable communication between the first user
and the second user, cause the graphical user interface to display to the first user both
the graphical representation of the first potential match and a text area1 the text area
configured to receive text inputted by the first user to send to the second user; and
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                                              6

        wherein the first user is identified using pluPality of useP pPofiles eompPises use.-
pPofiles assoeiated with a first social networking platform and the second user is identified
using useP pPofiles assoeiated with a second social networking platform that is different
than the first social networking platform.


        31.       (Canceled)


        32.       (Currently Amended) The medium of Claim 30, further comprising
instructions configured to, in response to the determination that both the first user has
expressed the positive preference indication regarding the second user and the second
user has expressed the positive preference indication regarding the first user, cause the
display of a graphical notification, on the graphical user interface of the first electronic
device, that a match exists between the first user and the second user, the graphical
notification comprising a user interface control enabling the text area to be presented to
the first user.
        pPeseHt aH iHdieatieH of the e:x:pPessioH of appPO\'al fFom the fipst useP FegaPdiHg
the fipst poteHtial mateh to the seeoHd useP afteF PeeeiYiHg the expPessioH of appFoYal
from the fiFst useP PegaPdiHg the fiFst potential mateh aHd afteF detePmiHiHg that the
seeoHd useF has expFessed appPo¥al fop the fiFst useF.


        33.       (Currently Amended) The medium of Claim 30, wherein the set of
potential matches for the first user comprises one or more potential matches that are
each associated with a geographic location within a threshold distance of a geographic
location associated with the first user, the threshold distance being a stored value. the
iHstPuetion eoHfiguFed to identify a set of potential matehes fop the Fequest fFom the
pluFality of use.- 1nofiles eomprise instFuetioHs eoHfiguFed to eompaPe geogFaphie
positioHs assoeiated with the pluFality of useF pFofiles with a geogPaphie position
assoeiated with the fiFst use.-.
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        34.     (Currently Amended) The medium of Claim 30, further comprising
instructions configured to:
        cause the display of a graphical representation of pFesent a second potential match
and a third potential match to the first user on the graphical user interface of the first
electronic device, the set of potential matches comprising the second potential match and the
third potential match;
        determine that the first user expressed a positive preference indication determine
an e}cpression of approval from the first user regarding the second potential match at least by
determining that the first user performed a second swiping gesture associated with the
graphical representation of the second potential match on the graphical user interface,
the by deteeting a second swiping gesture associated with a first direction; and
        determine that the first user expressed a negative preference indication
deteFmine an e:Xfffession of disaf>f>Foval from the fiFst useF regarding the third potential
match at least by determining that the first user performed a third swiping gesture
associated with the. graphical representation of the third potential match on the
graphical user interface, the b)' deteeting a third swiping gesture associated with a second
direction different than the first direction.


        35.     (Currently Amended) The medium of Claim 30, further comprising
instructions configured to:
        cause the display of a graphical representation of f>Fesent a second potential match
of the set of potential matches to the first user on the graphical user interface of the first
electronic device;
        determine that the first user expressed a negative preference indication Feeeh'e
an e.xpFessian of disappFaval from the fiFst useF regarding the second potential match; and
        determine not to enable f>Fevent communication between the first user and a user
associated with the second potential match after determining that the first user expressed
the negative preference indication regarding the second potential match. in Fespanse ta
the Feeeptian of the e:XpFessian of disappFaval.


        36.     (Canceled)
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       37.     (Currently Amended) A system for profile matching, comprising:
       an interface operable to:
               electronically receive a first request for matching,, ff&m the first request
electronically submitted by a first user using a first electronic device; and
       a processor coupled to the interface and operable to:
               determine identify a set of potential matches for the first user from the
pluFality of useF pFofiles in response to receiving the first request;
               cause the interface to pFesent displav a graphical representation of a first
potential match of the set of potential matches to the first user on a graphical user interface
of the first electronic device, the first potential match corresponding to a second user;
               determine that the interface has received an expFession ef appFeYal !!
positive preference indication from the first user regarding the first potential match at least
by determining that the first user performed a first swiping gesture associated with the
graphical representation of the first potential match on the graphical user interface;
               automatically cause the interface to remove the presentation of the first
potential match from the graphical user interface in response to detecting the gesture
and cause the interface to present, on the graphical user interface, a second potential
match of the set of potential matches to the first user;
               determine that the second user has expressed a positive preference indication
regarding appFoval fef' the first user after determining that the first user expressed the
positive preference indication regarding the first potential match Feeei-ving the
expFessien ef appFeYal fFem the fiFst useF; and
               determine to enable communication between the first user and the second
user in response to the determination that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed
appFe'rnl fef' the positive preference indication regarding the first user;
               in response to the determination to enable communication between the
first user and the second user, cause the graphical user interface to display to the first
user both the graphical representation of the first potential match and a text area, the
text area configured to receive text inputted by the first user to send to the second user;
and
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       wherein the first user is identified using :pluFality ef useF :pFefiles eemprises useF
:pFofiles assoeiated with a first social networking platform and the second user is identified
using useF :pFefiles assoeiated with a second social networking platform that is different
than the first social networking platform.


       38.     (Canceled)


       39.     (Currently Amended) The system of Claim 37, the processor further
operable to, in response to the determination that both the first user has expressed the
positive preference indication regarding the second user and the second user has
expressed the positive preference indication regarding the first user, cause the display of
a graphical notification, on the graphical user interface of the first electronic device,
that a match exists between the first user and the second user, the graphical notification
comnrising a user interface control enabling the text area to be presented to the first


       :pFesent au iudieation of the expFessien of a:p:pFeval from the fiFst useF FegaFding
the fiFSt :potential mateh to the seeend useF afteF Feeeiving the ex:pFessieu ef a:p:pFeval
fFem the fiFst useF FegaFdiug the fiFst :potential mateh and afteF deteFmining that the
seeond useF has ex:pFessed a:p:pFeYal foF the fiFst useF.


       40.     (Currently Amended) The system of Claim 37, wherein the set of potential
matches for the first user comprises one or more potential matches that are each
associated with a geographic location within a threshold distance of a geographic
location associated with the first user, the threshold distance being a stored value. the
:pFoeessoF o:peFable to identify the set of :potential matehes fop the FefJuest fFom the
:pluFtllity of useF pFofiles eom:pFises a :pFoeessoF opeFable to eom:paFe geogFa:phie
positions assoeiated with the :pluFality of useF :pFofiles with a geogFaphie :position
assoeiated with the fiFst useF.
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       41.       (Currently Amended) The system of Claim 37, wherein:                  f1uther
eem1n·ising:
       the interface is further operable to:
                 cause the display of a graphical representation of present a second
potential match of the set of potential matches to the first user on the graphical user
interface of the first electronic device; and
       the processor is further operable to:
                 determine that the interface has received a negative preference indication aft
eXIJFessien ef disappFevall from the first user regarding the second potential match; and
                 determine not to enable prevent communication between the first user and a
user associated with the second potential match after determining that the first user
expressed the negative preference indication regarding the second potential match. iH
Fespense te the reeeptien ef the eXIJFessioa ef disapproval.


       42.       (Currently Amended) The system of Claim 37, wherein:                  further
eomprising:
        the interface is further operable to:
                 cause the display of a graphical representation of present a second
potential match and a third potential match to the first user on the graphical user interface
of the first electronic device, the set of potential matches comprising the second potential
match and the third potential match; and
       the processor is further operable to:
                 determine that the first user expressed a positive preference indication
determiae an eJcpression of approval from the first aser regarding the second potential match
at least by determining that the first user performed a second swiping gesture
associated with the graphical representation of the second potential match on the
graphical user interface, the by deteeting a second swiping gesture associated with a first
direction; and
                 determine that the first user expressed a negative preference indication
determiHe an expression ef disappr0"-1al f:Fem the first user regarding the third potential
match at least by determining that the first user performed a third swiping gesture
associated with the graphical representation of the third potential match on the
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graphical user interface, the by deteeting a third swiping gesture associated with a second
direction different than the first direction.


        43.     (Canceled).
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                                         REMARKS

       This Application has been carefully reviewed in light of the Office Action dated
August 18, 2015 (the "Office Action"). Applicants appreciate the Examiner's consideration
of the Application. Applicants amend Claims 23, 25-28, 30, 32-35, 37 and 39-42 and cancel
Claims 24, 29, 31, 36, 38 and 43.        Applicants respectfully request reconsideration and
allowance of all pending claims.


Section 101 Rejections
       The Examiner rejects Claims 23-29 and 37-43 under 35 U.S.C. § 101. Office Action
at 2-3. Applicants respectfully traverse this rejection. The Office Action alleges that Claim
23 is directed to the abstract idea of "finding a potential match from a set of user profiles or
biographies." Id. at 3. Applicants respectfully disagree because such a characterization over-
simplifies the claimed invention and improperly ignores numerous features recited in the
claims. Claims 23 and 3 7 are directed to an improved computer profile matching system. As
an example, these claims (with and without the present amendments) recite technological
improvements for presenting potential matches to a user on the graphical user interface and
for enabling communication between users. The specific combination of elements as claimed
provide improvements over the prior art. For at least these reasons, Claims 23 and 37, and
their dependent claims, are not directed to non-statutory subject matter.            Applicants
respectfully request withdrawal of these rejections.


Section 102 and 103 Rejections
       The Examiner rejects Claims 23-26, 28-33, 35-41, and 43 under pre-AIA 35 U.S.C.
§ 102(e) as allegedly being anticipated by U.S. Patent Publication No. 2014/0040368 Al by
Janssens ("Janssens"). The Examiner rejects Claims 27, 34, and 42 under pre-AIA 35 U.S.C.
§ 103(a) as allegedly being unpatentable over Janssens in view of U.S. Patent Publication
No. 2011/0087974 Al by Kulas ("Kulas"). Applicants respectfully traverse these rejections
for the reasons discussed below.
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Claims 23 and 25-28
       Applicants respectfully submit that Janssens and Kulas fail to disclose, teach or
suggest each element of the claims, and discuss Claim 23 as an example.               Amended
independent Claim 23 recites the following:
                A computer implemented method of profile matching, comprising:
                electronically receiving a first request for matching, the first
       request electronically submitted by a first user using a first electronic
       device;
                determining a set of potential matches for the first user in response
       to receiving the first request;
                causing the display of a graphical representation of a first potential
       match of the set of potential matches to the first user on a graphical user
       interface of the first electronic device, the first potential match
       corresponding to a second user;
                determining that the first user expressed a positive preference
       indication regarding the first potential match at least by determining that
       the first user performed a first swiping gesture associated with the
       graphical representation of the first potential match on the graphical user
       interface;
                in response to determining that the first user expressed the positive
       preference indication regarding the first potential match, automatically
       causing the graphical user interface to display a graphical representation of
       a second potential match of the set of potential matches instead of the
       graphical representation of the first potential match;
                determining that the second user has expressed a positive
       preference indication regarding the first user after determining that the
       first user expressed the positive preference indication regarding the first
       potential match;
                determining to enable communication between the first user and
       the second user in response to determining that both the first user has
       expressed the positive preference indication regarding the second user and
       the second user has expressed the positive preference indication regarding
       the first user;
                in response to determining to enable communication between the
       first user and the second user, causing the graphical user interface to
       display to the first user both the graphical representation of the first
       potential match and a text area, the text area configured to receive text
       inputted by the first user to send to the second user; and
                wherein the first user is identified using a first social networking
       platform and the second user is identified using a second social networking
       platform that is different than the first social networking platform.

Applicants respectfully submit that the cited portions of Janssens and Kulas, either alone or
in combination, at least fail to disclose, teach or suggest "in response to determining that the
first user expressed the positive preference indication regarding the first potential match,
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automatically causing the graphical user interface to display a graphical representation of a
second potential match of the set of potential matches instead of the graphical representation
of the first potential match" and "determining to enable communication between the first user
and the second user in response to determining that both the first user has expressed the
positive preference indication regarding the second user and the second user has expressed
the positive preference indication regarding the first user."
       Janssens discloses a social interaction system that includes a way for a user to find
people of interest.   Janssens at if 0004.    A card-feed pane displays "cards," which may
display profiles of users. Id. at if 0046. A left (backward) arrow and right (forward) enable
the user to view other cards within the card-feed.       Id. at if 0047.   Additionally, clicking,
mouse dragging, hovering, swiping, and gesturing, may indicate to the system to display a
new card. Id. The card-feed also includes a "like" button that records an indication that the
current user is interested in the user whose card is being displayed. Id. at ii 0052. Therefore,
the cited portions of Janssens do not disclose "in response to determining that the first user
expressed the positive preference indication regarding the first potential match, automatically
causing the graphical user interface to display a graphical representation of a second potential
match of the set of potential matches instead of the graphical representation of the first
potential match," as recited in amended independent Claim 23.
       In rejecting a previous version of Claim 23, the Office Action relies on Janssens at
paragraphs 64 and 95 as allegedly disclosing enabling communication between the first user
and the second user in response to determining that the second user has expressed approval
for the first user.   Office Action at 5.    The cited paragraphs, however, merely disclose
updating a user's contact list or chat list. For example, paragraph 64 discloses that when a
user links with another user (e.g., where both users indicated they liked the other user), a
small image (e.g., a thumbnail picture) of the linked user previously or newly presented in the
chat list or elsewhere may be highlighted or otherwise identified on the user interface (e.g.,
relative to images of other users in the chat list that are not a link). Thus, upon forming a link
the user's chat list images are updated. There is no disclosure in paragraph 64 of Janssens of
enabling communication.      In fact, as shown above, Janssens teaches away from enabling
communication after users have been linked because it discloses that users exist in the chat
list (and communicate with each other) before they are linked. Similarly, paragraph 95 of
Janssens merely discloses that a contact may be automatically added to a given user's contact
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list when two users are linked and suggests that users could communicate before being
linked.     Therefore, Janssens does not disclose "determining to enable communication
between the first user and the second user in response to determining that both the first user
has expressed the positive preference indication regarding the second user and the second
user has expressed the positive preference indication regarding the first user," as recited in
amended independent Claim 23 (emphasis added).
          Kulas discloses controls in a graphical user interface where a user's touch or swipe of
the control indicates the user's state of mind. Kulas at if 0005. There is no disclosure in
Kulas, however, of a matching system, displaying potential matches, or enabling
communication between users.          Accordingly, Kulas does not disclose "automatically
removing the presentation of the first potential match from the graphical user interface in
response to detecting the gesture and presenting, on the graphical user interface, a second
potential match of the set of potential matches to the first user" or "determining to enable
communication between the first user and the second user in response to determining that
both the first user has expressed the positive preference indication regarding the second user
and the second user has expressed the positive preference indication regarding the first user,"
as recited in amended independent Claim 23.
          For at least these reasons, the proposed Janssens-Kulas combination at least fails to
disclose, teach or suggest the above cited element of Claim 23.             Thus, the proposed
combination fails to disclose, teach or suggest each element of independent Claim 23.
Accordingly, Claim 23 and each of its dependent claims are in condition for allowance.


Claims 30 and 32-35
          For analogous reasons, Applicants respectfully submit that Claim 30 is patentable
over the cited art used in its rejection and request that the rejection of this claim be
withdrawn.      In particular, Claim 30 recites a non-transitory computer readable medium
comprising instructions that, when executed by a processor, are configured to in part:
                  in response to the determination that the first user expressed the
          positive preference indication regarding the first potential match,
          automatically cause the graphical user interface to display a graphical
          representation of a second potential match of the set of potential matches
          instead of the graphical representation of the first potential match;
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                determine to enable communication between the first user and the
       second user in response to the determination that both the first user has
       expressed the positive preference indication regarding the second user and
       the second user has expressed the positive preference indication regarding
       the first user;

These elements are not shown by Janssens or Kulas for reasons analogous to those discussed
above regarding Claim 23. Claims 32-35 each depends from Claim 30. Thus, for at least the
reasons discussed with respect to Claim 23, Applicants respectfully request that the rejections
of Claims 30 and 32-35 be withdrawn.


Claims 37 and 39-42
       For analogous reasons, Applicants respectfully submit that Claim 37 is patentable
over the cited art used in its rejection and request that the rejection of this claim be
withdrawn. In particular, Claim 3 7 recites a system for profile matching, comprising in part a
processor operable to:
                automatically cause the interface to remove the presentation of the
       first potential match from the graphical user interface in response to
       detecting the gesture and cause the interface to present, on the graphical
       user interface, a second potential match of the set of potential matches to
       the first user

                determine to enable communication between the first user and the
       second user in response to the determination that both the first user has
       expressed the positive preference indication regarding the second user and
       the second user has expressed the positive preference indication regarding
       the first user;

These elements are not shown by Janssens or Kulas, for reasons analogous to those discussed
above regarding Claim 23. Claims 39-42 each depends from Claim 37. Thus, for at least the
reasons discussed with respect to Claim 23, Applicants respectfully request that the rejections
of Claims 37 and 39-42 be withdrawn.


No Waiver

       Applicants' arguments are made without prejudice or disclaimer. By not responding
to additional statements made by the Examiner, Applicants do not acquiesce to the additional
statements. The distinctions between the applied references and the claims are provided as
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examples only and are sufficient to overcome the rejections. Applicants reserve the right to
discuss additional or other distinctions in a later response or on appeal, if appropriate.
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                                      CONCLUSION

       Applicants have made an earnest attempt to place this case in condition for allowance.
For the foregoing reasons and for other reasons clearly apparent, Applicants respectfully
request reconsideration and full allowance of all pending claims.
       If the Examiner feels that a telephone conference would advance prosecution of this
application in any manner, the Examiner is invited to contact Roshan Mansinghani, Attorney
for Applicants, at the Examiner's convenience at (214) 953-6511.
       Although Applicants believe no fee is due, the Commissioner is authorized to charge
any necessary fees or credit any overpayment to Deposit Account No. 02-0384 of Baker
Botts L.L.P.



                                             Respectfully submitted,

                                             Baker Botts L.L.P.
                                             Attorneys for Applicants




                                             Roshan S. Mansinghani
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                                             (214) 953-6737

Date: November 18, 2015

Correspondence Address:
Customer No. 05073
              Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 41 of 196
                                    Electronic Acknowledgement Receipt

                       EFSID:                    24126883


                 Application Number:             14059192


          International Application Number:


                Confirmation Number:             1044




                  Title of Invention:            Matching Process System And Method




         First Named Inventor/Applicant Name:    Sean Rad


                  Customer Number:               5073


                         Filer:                  Stanton Aaron Lewis/Elizabeth Turla


                 Filer Authorized By:            Stanton Aaron Lewis


              Attorney Docket Number:            076533.0146


                    Receipt Date:                18-NOV-2015


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                  Application Type:              Utility under 35 USC 111 (a)


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                      Amendment/Req. Reconsideration-After Non-Final Reject                1                    1


                                             Claims                                        2                   11


                       Applicant Arguments/Remarks Made in an Amendment                   12                   18

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    PATENT APPLICATION FEE DETERMINATION RECORD                                                             Application or Docket Number                Filing Date
                                    Substitute for Form PT0-875                                                      14/059, 192                     10/21 /2013            D To be Mailed

                                                                                                                           ENTITY:          ~LARGE           D SMALL D MICRO
                                                                         APPLICATION AS FILED - PART I
                                                   (Column 1)                          (Column 2)

                   FOR                           NUMBER FILED                       NUMBER EXTRA                                     RATE($)                            FEE($)

 D BASIC FEE                                           N/A                                 N/A                                        N/A
       (37 CFR 1.16(a), (b), or (c))

 D SEARCH    FEE
   (37 CFR 1.16(k), (i), or (m))
                                                       N/A                                 N/A                                        N/A

 D (37
   EXAMINATION FEE
       CFR 1.16(0), (p), or (q))
                                                       N/A                                 N/A                                        N/A
 TOTAL CLAIMS
 (37 CFR 1.16(i))                                          minus 20 =       *                                                x   $          =

 INDEPENDENT CLAIMS
 (37 CFR 1.16(h))                                            minus 3 =      *                                                x   $          =

                                            If the specification and drawings exceed 100 sheets
                                            of paper, the application size fee due is $310 ($155
 0APPLICATION SIZE FEE
                                            for small entity) for each additional 50 sheets or
   (37 CFR 1.16(s))
                                            fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                            CFR 1.16(s).
 D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
 * If the difference in column 1 is less than zero, enter "O" in column 2.                                                           TOTAL



                                                                      APPLICATION AS AMENDED - PART II

                                    (Column 1)                        (Column 2)              (Column 3)

                                CLAIMS                           HIGHEST
                                REMAINING                        NUMBER
f--     11/18/2015              AFTER                            PREVIOUSLY
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
z                               AMENDMENT                        PAID FOR
w      Total (37 CFR
~       1.16(i\\                * 15                 Minus       ** 21                =   0                                  x   $80 =                                      0
0
z       Independent
       (37 CFR 1.16(hll         *3                   Minus       ***3                 =   0                                  x   $420 =                                     0
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<(
        D Application Size Fee (37 CFR 1.16(s))
        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE                               0
                                    (Column 1)                        (Column 2)              (Column 3)

                                  CLAIMS                          HIGHEST
                                 REMAINING                         NUMBER
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
                                   AFTER                         PREVIOUSLY
                                AMENDMENT                         PAID FOR
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 z     Total (37 CFR
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 w      1.16(i))                                                                      =                                                     =

 ~      Independent
                                                                                                                             x $
 0     (37 CFR 1.16(h))         *                    Minus       ***                  =                                                    =
 z      D Application Size Fee (37 CFR 1.16(s))
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 <(     D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE

 * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                       LIE
 ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".                                   /DORIS ISAAC/
 *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
 The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       14/059,192               10/21/2013                  Sean Rad              076533.0146                         1044

       5073             7590             08/18/2015
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2164


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   08/18/2015                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                        Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 45 of 196
                                                                                    Application No.                               Applicant(s)
                                                                                    14/059, 192                                   RAD ET AL.
                     Office Action Summary                                          Examiner                                      Art Unit           AIA (First Inventor to File)
                                                                                                                                                     Status
                                                                                    YUK TING CHOI                                 2164
                                                                                                                                                     No
                -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE .J. MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION.
          Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
          If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
          Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

 Status
    1)~ Responsive to communication(s) filed on 1012112013.
        0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
      2a)0 This action is FINAL.                 2b)~ This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
           _ _ ; the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 G.D. 11, 453 O.G. 213.
 Disposition of Claims*
    5)~ Claim(s) 23-43 is/are pending in the application.
          5a) Of the above claim(s) _ _ is/are withdrawn from consideration.
    6)0 Claim(s) _ _ is/are allowed.
    7)~ Claim(s) 23-43 is/are rejected.
    8)0 Claim(s) _ _ is/are objected to.
    9)0 Claim(s) _ _ are subject to restriction and/or election requirement.
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http://www.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PF'Hfeedback(wuspto.aov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
   11 )~The drawing(s) filed on 1012112013 is/are: a)~ accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
         a)O All b)O Some** c)O None of the:
            1.0 Certified copies of the priority documents have been received.
           2.0 Certified copies of the priority documents have been received in Application No. _ _ .
           3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                 application from the International Bureau (PCT Rule 17.2(a)).
 ** See the attached detailed Office action for a list of the certified copies not received.




 Attachment{s)
 1) ~ Notice of References Cited (PT0-892)                                                        3)   0 Interview Summary (PT0-413)
                                                                                                          Paper No(s)/Mail Date. _ _ .
 2) ~ Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)
      Paper No(s)/Mail Date 410112015.
                                                                                                  4)   0 Other: _ _ .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                              Office Action Summary                                          Part of Paper No./Mail Date 20150812
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                                        DETAILED ACTION

1.     The present application 14/059, 192, filed on Oct. 21, 2013, is being examined under the

pre-AIA first to invent provisions

                                                  IDS

2.     The information disclosure statements (IDS) submitted on 04/01/2015 are in compliance

with the provisions of 37 CFR 1.97. Accordingly, the information disclosure statements are

being considered by the examiner.

                                                Priority

3.     This application repeats a substantial portion of prior Application No. 12/339,301, filed on

12/19/2008, and adds and claims additional disclosure not presented in the prior application.

The present claims 23-43 are directed to additional disclosure (Applicant's drawings Figures 6-

11) not presented in the prior application 12/339,301. The effective filing date for current claims

23-43 are 03/15/2013.




                                                Drawings

4.     The drawings received on 10/21/2013 are accepted by the Examiner.




                                 Claim Rejections - 35 USC § 101

5.     35 U.S.C. 101 reads as follows:

       Whoever invents or discovers any new and useful process, machine, manufacture, or
       composition of matter, or any new and useful improvement thereof, may obtain a patent
       therefor, subject to the conditions and requirements of this title.

       Claims 23-29 and 37-43 are rejected under 35 U.S.C. 101 because the claimed

invention is directed to non-statutory subject matter.
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         In claim 23, a "method" is being recited. The claim is directed to a process; i.e., a series

of steps or acts for receiving a plurality of user profiles; identifying a set of potential matches

from the plurality of user profiles; presenting a first potential match of the set of potential to a

first user and receiving an expression of approval from the first user. This concept is similar to

the concepts involving human activities finding a potential match from a set of user profiles or

biographies. The additional step and enabling communication between the first user and a

second user and the plurality of user profiles comprise user profiles associated with a first social

and a second networking platforms further describes the abstract idea, but do not make it less

abstract. The claim does not include additional elements beyond the abstract idea of receiving,

identifying, presenting, determining and enabling. When viewed either as individual limitations

or as an ordered combination, the claim as a whole does not add significantly more to the

abstract idea of finding a potential match from a set of user profiles. Therefore the claim is not

patent eligible. Claims 24-29 are also rejected because the addition elements detecting a

swiping gesture associated with a graphical representation of a second user and preventing

communication between the first user and the second user do not add significantly more to the

abstract idea of finding a potential match from a set of user profiles. Note Independent claims

37-43 recite similar features corresponding to claims 23-29, which are also directed to abstract

idea.



                                 Claim Rejections - 35 USC § 102

6.       In the event the determination of the status of the application as subject to AIA 35 U.S.C.

102 and 103 (or as subject to pre-AIA 35 U.S.C. 102 and 103) is incorrect, any correction of the

statutory basis for the rejection will not be considered a new ground of rejection if the prior art

relied upon, and the rationale supporting the rejection, would be the same under either status.
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       7.      The following is a quotation of the appropriate paragraphs of pre-AIA 35 U.S.C.

102 that form the basis for the rejections under this section made in this Office action:

       A person shall be entitled to a patent unless -

       (e) the invention was described in (1) an application for patent, published under section
       122(b), by another filed in the United States before the invention by the applicant for patent or
       (2) a patent granted on an application for patent by another filed in the United States before
       the invention by the applicant for patent, except that an international application filed under
       the treaty defined in section 351 (a) shall have the effects for purposes of this subsection of an
       application filed in the United States only if the international application designated the United
       States and was published under Article 21 (2) of such treaty in the English language.




8.     Claims 23-26, 28-33, 35-41 and 43 are rejected under pre-AIA 35 U.S.C. 102(e) as

being anticipated by Janssens (US 2014/0040368A1 ).

       Referring to claims 23, 30 and 37, Janssens discloses a computer implemented

method of profile matching (See para. [0005], a matching system identifies a plurality of

matching users from a plurality users based at least in part on the received profile

information) , comprising:

       receiving a plurality of user profiles, each user profile comprising traits of a respective

 user (See Figure 5, para. [0005], para. [0069] and para. [0070], the matching system

 receives profile information, the profile information is user account data include user's

 picture(s), user's age, user's gender, user's gender preference, user's location, hobbies,

 interests, likes, dislikes, food preferences, religion and etc.);

        receiving a request for matching from a first user (See Figure 9, para. [0041] and

 para. [0112] and para. [0113], receiving a request for a new card from a user device, a

 request for a profile card);

        identifying a set of potential matches from the plurality of user profiles in response to

 receiving the request (See para. [0115] and Figure 9, item 906, identifying a set of

 available cards by the system as potentially interesting to the viewing user);
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        presenting a first potential match of the set of potential matches to the first user, the first

potential match corresponding to a second user (See para. [0115]-para. [0117] and Figure 9,

 selecting and displaying a card from the set of available cards that is estimated or

 determined to be the highest rank or greater interest to the user);

       receiving an expression of approval from the first user regarding the first potential match

 (See Figure 5, para. [0005], para. [0052], para. [0053], para. [0064] and para. [0095], the

system receives "like" expression from the first user or the A user on the card-feed

pane); determining that the second user has expressed approval for the first user after

 receiving the expression of approval from the first user (See Figure 5, para. [0005], para.

[0052], para. [0053], para. [0064] and para. [0095], the system also receives "like"

 expression from the second user when the second user or the user B likes user A back);

        enabling communication between the first user and the second user in response to

determining that the second user has expressed approval for the first user (See para. [0064]

and para. [0095], the user is linked with another user when both users indicated they

 liked each other, the system may add user A to the contact list of user B and user B to

 the contact list of user A and send a chat message to both users saying "you both

 linked" and both users can start communicating); and

       wherein the plurality of user profiles comprises user profiles associated with a first social

 networking platform and user profiles associated with a second social networking platform

that is different than the first social networking platform (See para. [0178], the system

 determines the potential match based on one of the factors such as the common friends

 listed on the user profiles associated with one or more social networks).
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       As to claims 24, 31 and 38, Janssens discloses wherein receiving the expression of

approval from the first user comprises detecting a swiping gesture associated with a graphical

 representation of the second user (See para. [0047] and para. [0068] and Figure 4, swiping

across the interface using a finger on the card, user can swipe on the "like "feature,

and the system maintain a history of which cards a given user has viewed and the

 user's interaction with a given card).

       As to claims 25, 32 and 39, Janssens discloses further comprising:

       presenting an indication of the expression of approval from the first user regarding the

first potential match to the second user after receiving the expression of approval from the

first user regarding the first potential match and after determining that the second user has

expressed approval for the first user (See Figure 5, para. [0052], para. [0053], para. [0064]

and para. [0095], the system displays a message to A and B users saying "you both

 linked" as indication of the expression of approval after user A likes user B and user B

 likes user A back).

       As to claims 26, 33 and 40, Janssens wherein identifying a set of potential matches for

the request from the plurality of user profiles comprises comparing geographic

positions associated with the plurality of user profiles with a geographic position associated

with the first user (See para. [0055] and para. [0130], user can set preferences on the

 types of cards they want to receive, e.g. a user can specify limits on geographic range

 such as 10 miles from his/ her house, 20 miles from his/her work address and etc.).



       As to claims 28, 35 and 41, Janssens discloses presenting a second potential match of

the set of potential matches to the first user (See para. [0145] and Figure 12, the system

 identifies the most relevant potential users whose cards may be displayed to the
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 viewing user); receiving an expression of disapproval from the first user regarding the second

potential Match (See para. [0052], the system also provides a control via which the user

 can indicate a disinterest in another user); and preventing communication between the first

 user and a user associated with the second potential match in response to receiving the

expression of disapproval (See para. [0052], preventing communication between the first

 user and the other user, e.g. if user B is a second potential match, user B is

automatically be placed in ignored state and or any future communication because the

 first user dislikes the profile card for user 8).

       As to claims 29, 36 and 43, Janssens discloses further comprising: presenting a

second interface to a third user (See para. [0188] and Figure 17), the second interface

configured to generate a matching proposal (See para. [0187] and para. [0188], the speed-

 dating pane displays a list of potential users for the current user according to user

 selected preferences for the types of desired speed-dating partners); receiving a set of

 interactions with the second interface from the third user (See para. [0189], user can swipe

 on the "like" button, the "next button" and the "boost button" during the speed-dating

 session); associating the matching proposal, in response to the set of interactions, with a

fourth user and a fifth user (See para. [0188] para. [0192], the user can indicate "like" on

 each of the users waited in the queue during the speed-dating session); and enabling

communication between the fourth user and the fifth user in response to associating the

 matching proposal with the fourth user and the fifth user (See para. [0189] and para. [0190],

 the system enables a link when the current user and the other users select the "like"

 button during the speed-dating session, the system enable the users to communicate

after the date-duration is finished).
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                                    Claim Rejections - 35 USC § 103

9.      The following is a quotation of pre-A IA 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

        (a) A patent may not be obtained though the invention is not identically disclosed or described
        as set forth in section 102 of this title, if the differences between the subject matter sought to
        be patented and the prior art are such that the subject matter as a whole would have been
        obvious at the time the invention was made to a person having ordinary skill in the art to which
        said subject matter pertains. Patentability shall not be negatived by the manner in which the
        invention was made.


10.     Claims 27, 34 and 42 are rejected under pre-AIA 35 U.S.C. 103(a) as being

unpatentable over Janssens (US 2014/0040368A1) and in view of Kulas (US 2011/0087974

A1).

        As to claims 27, 34 and 42, Janssens discloses presenting a second potential match

 and a third potential match to the first user, the set of potential matches comprising the second

 potential match and the third potential match (See para. [0145] and Figure 12, the system

 identifies the most relevant potential users whose cards may be displayed to the

 viewing user).

        Janssens discloses determining an expression of approval from the first user regarding

 the second potential match by detecting a first swiping gesture[ ... ] (See para. [0047] and

 para. [0068] and Figure 4 swiping across the interface using a finger on the card, user

 can swipe on the "like "feature) and determining an expression of disapproval from the first

 user regarding the third potential match [... ](See para. [0052], the system also provides a

 control via which the user can indicate a disinterest in another user).

        Janssens does not explicitly disclose determining an expression of approval by detecting

 a first swiping gesture associated with a first direction; and determining an expression of
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 disapproval from the first user by detecting a second swiping gesture associated with a second

 direction different than the first direction.

        Kulas discloses determining an expression of approval by detecting a first swiping

 gesture associated with a first direction; and determining an expression of disapproval from the

 first user by detecting a second swiping gesture associated with a second direction different

 than the first direction (See para. [0027], a user can swipe their finger downward to

 indicate disapproval or upward to indicate approval).

        Hence, it would have been obvious to one having ordinary skill in the art at the time of

invention was made to modify the sensitive touch- screen movement detection module of

Janssens 's system to comprise: determining an expression of approval by detecting a first

swiping gesture associated with a first direction; and determining an expression of disapproval

from the first user by detecting a second swiping gesture associated with a second direction

different than the first direction, as taught by Kulas, in order to improve the service provided to a

user by determining ways of identifying a user's state of mind (See Kulas, para. [0004]).




        Any inquiry concerning this communication or earlier communications from the

examiner should be directed to YUK TING CHOI whose telephone number is (571 )270-

1637. The examiner can normally be reached on 9:30 AM - 6:00 PM EST.

        If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Christyann Pulliam can be reached on (571) 270-1007. The fax phone

number for the organization where this application or proceeding is assigned is 571-

273-8300.
     Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 54 of 196


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       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.



/YUK TING CHOI/
Primary Examiner, Art Unit 2164
                         Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 55 of 196
                                                                                      Application/Control No.             Applicant(s)/Patent Under
                                                                                                                          Reexamination
                                                                                      14/059, 192                         RAD ET AL.
                  Notice of References Cited
                                                                                      Examiner                            Art Unit
                                                                                                                                              Page 1 of 1
                                                                                      YUK TING CHOI                       2164
                                                                           U.S. PATENT DOCUMENTS
                        Document Number                    Date
 *                Country Code-Number-Kind Code          MM-YYYY                                      Name                                     Classification

 *       A      US-2011/0087974                         04-2011           Kulas, Charles J.                                                      715/760

 *       B      US-2014/0040368                         02-2014           Janssens, Olivier Maurice Maria                                        709/204

 *       c      US-2011 /0196927                        08-2011           Vance, Richard Allen                                                   709/204

 *       D      US-8, 1 80,804                          05-2012           Narayanan et al.                                                       707/798

         E      US-

         F      US-

         G      US-

         H      US-

          I     US-

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         K      US-

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         M      US-
                                                                       FOREIGN PATENT DOCUMENTS
                        Document Number                    Date
 *                Country Code-Number-Kind Code          MM-YYYY                  Country                       Name                           Classification

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                                                                           NON-PATENT DOCUMENTS

 *                                              Include as applicable: Author, Title Date, Publisher, Edition or Volume, Pertinent Pages)


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*A copy of this reference 1s not being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                                  Notice of References Cited                        Part of Paper No. 20150812
                Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 56 of 196

                                        Application/Control No.                   Applicant( s)/Patent Under
                                                                                  Reexamination
           Search Notes                 14059192                                  RAD ET AL.

                                        Examiner                                  Art Unit

                                        YUK TING CHOI                             2164




                                               CPC-SEARCHED
                         Symbol                                               I         Date         I        Examiner
 G06F17/30867 OR G06F17/3053 OR G06F17/30386                                  I      8/12/2015       I          YC

                                   CPC COMBINATION SETS - SEARCHED
                                     Symbol                                   I          Date        I        Examiner
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                                       US CLASSIFICATION SEARCHED

      Class           I                   Subclass                            I          Date       I     Examiner
                      I                                                       I                     I


                                                  SEARCH NOTES

                                   Search Notes                                          Date                 Examiner
 G06F17/30867 OR G06F17/3053 OR G06F17/30386 and east text                           8/12/2015           YC
 search, see attached search history
 Inventor and Assignee search                                                        8/12/2015           YC
 East text search, see attached search history                                       8/12/2015           YC
 IDS search                                                                          8/12/2015           YC
 Google Npl search                                                                   8/12/2015           YC
 Consulted SPE Christyann Pulliam for 101                                            8/11 /2015          YC



                                          INTERFERENCE SEARCH

   US Class/                        US Subclass I CPC Group                              Date             Examiner
  CPC Symbol




                                                           /YUK TING CHOI/
                                                           Primary Examiner.Art Unit 2164




U.S. Patent and Trademark Office                                                                  Part of Paper No.: 20150812
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                                                                                                                                                    Page 1 of I
PT0-1449                                                         Application No.                                  Applicant(s)

                                                                 14/059,192                                       Sean Rad, et al.
      Information Disclosure Citation                            Docket Number                   Group Art Unit                  Filing Date
            In an Application
                                                                 076533.0146                     2164                            October 21, 2013

                                                         U.S. PATENT DOCUMENTS

             DOCUMENT NO.                     DATE                        NAME                     CLASS            SUBCLASS              FILING DATE
      A          8,566,327 B2               10/22/2013                 Carrico et al.                                                          12119/2008
      B

     c
      D

      E


                                                    FOREIGN PATENT DOCUMENTS

                                                                                                                                         TRANSLATION
             DOCUMENT NO.                    DATE                    COUNTRY                       CLASS            SUBCLASS
                                                                                                                                           YES          NO
      F

     G


                           DOCUMENT (Including Author, Title, Source, and Pertinent Pages)                                                       DATE
     H      USPTO, Non-final Office Action dated 08/25/2011 for Application Serial No. 12/339,301, filed                                       08/25/2011
            December 19, 2008 in the name of Todd M. Carrico, 14 pages.
      I     Response to Office Action Pursuant to 37 C.F.R. § 1.111 filed 11/23/2011 for Application Serial                                    11/23/2011
            No. 12/339,301, filed December 19, 2008 in the name ofTodd M. Carrico, 12 pages.
     J      USPTO, Final Office Action dated 01/06/2012 for Application Serial No. 12/339,301, filed                                           01/06/2012
            December 19, 2008 in the name of Todd M. Carrico, 15 pages.
     K      Request/or Continued Examination Transmittal and Amendment Filed with Request.for                                                  05/07/2012
            Continued Examination filed 517/2012 for Application Serial No. 12/339,301, filed December 19,
            2008 in the name of Todd M. Carrico, 17 pages.
      L     USPTO, Non-final Office Action dated 10/02/2012 for Application Serial No. 12/339,301, filed                                       10/02/2012
            December 19, 2008 in the name of Todd M. Carrico, 10 pages.
     M      Response to Office Action Pursuant to 37 C.F.R. § 1.111 filed 12/31/2012 for Application Serial                                    12/31/2012
            No. 12/339,301, filed December 19, 2008 in the name of Todd M. Carrico, 13 pages.
     N      USPTO, Final Office Action dated 03/07/2013 for Application Serial No. 12/339,301, filed                                           03/07/2013
            December 19, 2008 in the name of Todd M. Carrico, 12 pages.
     0      Response to Office Action Pursuant to 37 C.F.R. § 1.116 and Certification and Request/or                                           06/06/2013
            Consideration Under the After Final Consideration Pilot Program 2.0 filed 06/06/2013 for
            Application Serial No. 12/339,30 I, filed December 19, 2008 in the name of Todd M. Carrico, 14
            pages.
     p      US PTO, Notice ofAllowance and Fees Due dated 06/19/2013 for Application Serial No.                                                06/19/2013
            12/339,301, filed December 19, 2008 in the name of Todd M. Carrico, 12 pages.
     Q

EXAMINER                                                                        DATE CONSIDERED
                   /Yuk Ting Ct1oi/                                                              08/11/2015
EXAMINER: Initial if citation considered, whethn or not citation is in conformance with MPEP § 609. Draw line through citation if not in conformance and not
considered. Include copy of this form with next communication to the applicant.
U.S. PATENT AND TRADEMARK OFFICE




                          ALL REFERENCES CONSiDERED EXCEPT WHERE LiNED THROUGH. !iYCi!
               Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 58 of 196 Page 1 of 1



                                                                                         UNITED STATES DEPARTMENT OF COMMERCE
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     BIB DATA SHEET
                                                                                                CONFIRMATION N0.1044

  SERIAL NUMBER                     FILING or 371 (c)                CLASS       GROUP ART UNIT                ATTORNEY DOCKET
                                         DATE                                                                        NO.
         14/059, 192                   10/21 /2013                    707                2164                     076533.0146
                                             RULE
    APPLICANTS
    INVENTORS
       Sean Rad, Los Angeles, CA;
       Todd M. Carrico, Sachse, TX;
       Kenneth B Hoskins, Plano, TX;
       James C. Stone, Addison, TX;
** CONTINUING DATA *************************
     This appln claims benefit of 61 /793,866 03/15/2013
           and is a CIP of 12/339,301 12/19/2008 PAT 8566327
** FOREIGN APPLICATIONS *************************
** IF REQUIRED, FOREIGN FILING LICENSE GRANTED **
       11/04/2013
Foreign Priority claimed         Oves ~No                             STATE OR    SHEETS             TOTAL               INDEPENDENT
35 USC 119(a-d) conditions met    0 Yes ~No         O Metafter        COUNTRY    DRAWINGS           CLAIMS                  CLAIMS
                                                         Allowance
Verified and         /YUK TING CHOI/
Acknowledged          Examiner's Signature           Initials           CA          11                    21                      3

    ADDRESS
          BAKER BOTTS L.L.P.
          2001 ROSS AVENUE
          SUITE 600
          DALLAS, TX 75201-2980
          UNITED STATES
    TITLE
          Matching Process System And Method

                                                                                    D All Fees
                                                                                    D 1.16 Fees (Filing)
  FILING FEE          FEES: Authority has been given in Paper
                      No.              to charge/credit DEPOSIT ACCOUNT
                                                                                    D 1.17 Fees (Processing Ext. of time)
  RECEIVED
      1820            No.              for following:                               D 1.18 Fees (Issue)
                                                                                    D Other
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BIB (Rev. 05/07).
                  Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 59 of 196
                                                                                                                                                    Page I .
PT0-1449                                                         Application No.                                  Applicant(s)

                                                                 14/059,192                                       Sean Rad, et al.
      Information Disclosure Citation                            Docket Number                   Group Art Unit                  Filing Date
            In an Application
                                                                 076533.0146                     2164                            October 21, 2013

                                                         U.S. PATENT DOCUMENTS

             DOCUMENT NO.                     DATE                        NAME                      CLASS           SUBCLASS              FILING DATE
     A           6,480,885 B 1              11/12/2002                    Olivier                                                              04/25/2000
     B           7,917,448 B2               03/29/2011                  Smola et al.                                                           06116/2005
     c           8,060,463 B 1              11115/2011                    Spiegel                                                              03/30/2005
     D        2005/0021750A1                01/27/2005                    Abrams                                                               06/16/2003
     E        2006/0059147 Al               03/16/2006                  Weiss ct al.                                                           07/28/2005
     F        2006/0085419 A I              04/20/2006                     Rosen                                                               10/18/2005
     G        2006/0106780 Al               05/18/2006                     Dagan                                                               10/24/2005

     H        2007 /0073687 A 1             03/29/2007                 Terrill et al.                                                          09/27/2005

     I        2007 /0073 803 A 1            03/29/2007                 Terrill et al.                                                          09/27/2005

     J        2008/0294624 A 1              11/27/2008              Kanigsberg et al.                                                          10/31/2007

     K        2008/0301118 Al               12/04/2008                  Chien et al.                                                           06/01/2007

     L        2009/0106040 Al               04/23/2009                     Jones                                                               10/22/208


                                                     FOREIGN PATENT DOCUMENTS
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                           DOCUMENT (Including Author, Title, Source, and Pertinent Pages)                                                       DATE
     0      PCT Notification of Transmittal of the International Search Report and the Written Opinion of the                            February 10, 2009
            International Searching Authority, or the Declaration with attached PCT International Search
            Report and Written Opinion of the International Searching Authority in International Application
            No. PCT/US08/87706, dated February 10, 2009, 8 pages.
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EXAMINER                                                                        DATE CONSIDERED
         /Yuk Ting Choi/                                                                                            08/i 1/20i5
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                        ALL REFERENCES CONSIDERED EXCEPT WHERE LINED THROUGH. //YC//
              Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 60 of 196

                                            Application/Control No.              Applicant( s )/Patent Under
                                                                                 Reexamination
          Index of Claims                   14059192                             RAD ET AL.

                                            Examiner                             Art Unit

                                            YUK TING CHOI                        2164


              Rejected                     Cancelled              N   Non-Elected             A          Appeal

  -           Allowed                      Restricted                 Interference            0         Objected

 D    Claims renumbered in the same order as presented by applicant          D   CPA        D T.D.        D    R.1.47

          CLAIM                                                       DATE
      Final        Original   08/12/2015
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U.S. Patent and Trademark Office                                                                  Part of Paper No.: 20150812
              Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 61 of 196

                                            Application/Control No.              Applicant( s)/Patent Under
                                                                                 Reexamination
          Index of Claims                   14059192                             RAD ET AL.

                                            Examiner                             Art Unit

                                            YUK TING CHOI                        2164


              Rejected                     Cancelled              N   Non-Elected             A          Appeal

  =           Allowed                      Restricted                 Interference            0         Objected

 D    Claims renumbered in the same order as presented by applicant          D   CPA        D T.D.        D    R.1.47

          CLAIM                                                       DATE
      Final        Original   08/12/2015
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U.S. Patent and Trademark Office                                                                  Part of Paper No.: 20150812
                  Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 62 of 196
                                                                                                                                                    Page I .
PT0-1449                                                         Application No.                                  Applicant(s)

                                                                 14/059,192                                       Sean Rad, et al.
      Information Disclosure Citation                            Docket Number                   Group Art Unit                  Filing Date
            In an Application
                                                                 076533.0146                     2164                            October 21, 2013

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     B           7,917,448 B2               03/29/2011                  Smola et al.                                                           06/16/2005
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     F        2006/0085419 A 1              04/20/2006                     Rosen                                                               l 0/18/2005
     G        2006/0106780 Al               05/18/2006                     Dagan                                                               10/24/2005
     H        2007 /0073687 A I             03/29/2007                 Terrill et al.                                                          09/27/2005

     I        2007/0073803 Al               03/29/2007                 Terrill et al.                                                          09/27/2005

     J        2008/0294624 A I              11127/2008              Kanigsberg et al.                                                          10/31/2007
     K        2008/03011 18 Al              12/04/2008                  Chien et al.                                                           06/01/2007

     L        200910106040 A 1              04/23/2009                     Jones                                                               10/22/208


                                                     FOREIGN PATENT DOCUMENTS
                                                                                                                                         TRANSLATION
             DOCUMENT NO.                    DATE                     COUNTRY                       CLASS           SUBCLASS
                                                                                                                                           YES          NO
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                           DOCUMENT (Including Author, Title, Source, and Pertinent Pages)                                                       DATE
     0      PCT Notification of Transmittal of the International Search Report and the Written Opinion of the                            February 10, 2009
            International Searching Authority, or the Declaration with attached PCT International Search
            Report and Written Opinion of the International Searching Authority in International Application
            No. PCT/US08/87706, dated February 10, 2009, 8 pages.
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EXAMINER                                                                        DA TE CONSIDERED


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considered. Include copy of this form with next communication to the applicant.
U.S. PATENT AND TRADEMARK OFFICE
               Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 63 of 196
                                     Electronic Acknowledgement Receipt

                       EFSID:                      21939999


                 Application Number:                14059192


          International Application Number:


                Confirmation Number:                1044




                  Title of Invention:              Matching Process System And Method




         First Named Inventor/Applicant Name:      Sean Rad


                  Customer Number:                 5073


                         Filer:                     Roshan Suresh Mansinghani/Laurie Scott


                 Filer Authorized By:               Roshan Suresh Mansinghani


               Attorney Docket Number:             076533.0146


                    Receipt Date:                  01-APR-2015


                     Filing Date:                  21-0CT-2013


                     Time Stamp:                    13:18:54


                  Application Type:                 Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment
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File Listing:
 Document                                                                               File Size( Bytes)/                    Multi         Pages
                     Document Description                 File Name
  Number                                                                                Message Digest                       Part /.zip   (if appl.)

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     1                   Transmittal Letter     07653301461DSLtr040115.PDF                                                      no             1
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                                                                                                        68179
                  Information Disclosure Statement (IDS)
       2                                                   0765330146PT0040115.PDF                                                   no   1
                               Form (SBOS)
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Post Card, as described in MPEP 503.

New A~~lications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International A~~lication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/E0/903 indicating acceptance of the application as a
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New International A~~lication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
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national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
         Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 65 of 196
ATTORNEY DOCKET NO.                                                          PATENT APPLICATION
076533.0146                                                                            14/059,192
                                              1


                      IN THE UNITED STA TES PATENT AND TRADEMARK OFFICE


In re application of:           Sean Rad et al.
Application Serial No.:         14/059,192
Filed:                          October 21, 2013
Group Art Unit:                 2164
Examiner:                       Yuk Ting Choi
Confirmation No.:               1044
Title:                          Matching Process System and Method


Commissioner for Patents
P.O. Box 1450
Alexandria, Virginia 22313-1450

Dear Sir:
                           INFORMATION DISCLOSURE STATEMENT
          Applicants respectfully request, pursuant to 37 C.F.R. §§ 1.56, 1.97 and 1.98, that the
references listed on the attached PT0-1449 form, and previously cited in U.S. Application
Serial No. 12/339,301, filed December 19, 2008 by Applicants, and entitled "Matching Process
System and Method," be considered and cited in the examination of the above-identified
continuation-in-part patent application.      Pursuant to 37 C.F.R. § l.98(d), copies of these
references are not being furnished.          Furthermore, pursuant to 37 C.F.R. § 1.97(h), no
representation is made that these references qualify as prior art or that these references are
material to the patentability of the present application, or that a search has been made.
          Pursuant to 37 C.F.R. § 1.97(b), Applicants believe no fee is currently due. However,
if a fee is required, the Commissioner is hereby authorized to charge any necessary fees and
credit any overpayments to Deposit Account No. 02-0384 of Baker Botts L.L.P.

                                                  Respectfully submitted,
                                                  BAKER BOTTS L.L.P.
                                                  Attorneys for Applicants




Dated:     Lf
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                                                  Roshan S. Mansinghani
                                                  Registration No. 62,429
Customer No: 05073


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                   Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 66 of 196
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PT0-1449                                                          Application No.                                 Applicant(s)

                                                                  14/059,192                                      Sean Rad, et al.
          Information Disclosure Citation                         Docket Number                  Group Art Unit                  Filing Date
                In an Application
                                                                 076533.0146                     2164                            October 21, 2013

                                                          U.S. PATENT DOCUMENTS

              DOCUMENT NO.                     DATE                       NAME                      CLASS           SUBCLASS               FILING DATE
      A          8,566,327 B2               10/22/2013                 Carrico et al.                                                          12/19/2008
      B

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                                                     FOREIGN PATENT DOCUMENTS
                                                                                                                                         TRANSLATION
              DOCUMENT NO.                   DATE                     COUNTRY                       CLASS           SUBCLASS
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      F
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                            DOCUMENT (Including Author, Title, Source, and Pertinent Pages)                                                      DATE
      H      USPTO, Non-final Office Action dated 08/25/2011 for Application Serial No. 12/339,301, filed                                      08/25/2011
             December 19, 2008 in the name of Todd M. Carrico, 14 pages.
      I      Response to Office Action Pursuant to 37 C.F.R. §I. I I I filed 11/23/2011 for Application Serial                                 11/23/2011
             No. 12/339,301, filed December 19, 2008 in the name ofTodd M. Carrico, 12 pages.
     J       USPTO, Final Office Action dated 01/06/2012 for Application Serial No. 12/339,301, filed                                          01/06/2012
             December 19, 2008 in the name of Todd M. Carrico, 15 pages.
     K       Request for Continued Examination Transmittal and Amendment Filed with Request for                                                05/07/2012
             Continued Examination filed 517/2012 for Application Serial No. 12/339,301, filed December 19,
             2008 in the name of Todd M. Carrico, 17 pages.
      L      USPTO, Non-final Office Action dated 10/02/2012 for Application Serial No. 12/339,301, filed                                      10/02/2012
             December 19, 2008 in the name of Todd M. Carrico, IO pages.
      M      Response to Office Action Pursuant to 37 C.F.R. § 1.111filed12/31/2012 for Application Serial                                     12/31/2012
             No. 12/339,301, filed December 19, 2008 in the name of Todd M. Carrico, 13 pages.
      N      USPTO, Final Office Action dated 03/07/2013 for Application Serial No. 12/339,301, filed                                          03/07/2013
             December 19, 2008 in the name of Todd M. Carrico, 12 pages.
     0       Response to Office Action Pursuant to 37 C.F.R. § 1.116 and Certification and Request/or                                          06/06/2013
             Consideration Under the After Final Consideration Pilot Program 2.0 filed 06/06/2013 for
             Application Serial No. 12/339,301, filed December 19, 2008 in the name ofTodd M. Carrico, 14
             pages.
     p       USPTO, Notice ofAllowance and Fees Due dated 06/19/2013 for Application Serial No.                                                06/19/2013
             12/339,301, filed December 19, 2008 in the name of Todd M. Carrico, 12 pages.
     Q

EXAMINER                                                                        DATE CONSIDERED


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               Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 67 of 196
                                     Electronic Acknowledgement Receipt

                       EFSID:                      21941572


                 Application Number:               14059192


          International Application Number:


                Confirmation Number:               1044




                  Title of Invention:              Matching Process System And Method




         First Named Inventor/Applicant Name:      Sean Rad


                  Customer Number:                 5073


                         Filer:                    Roshan Suresh Mansinghani/Laurie Scott


                 Filer Authorized By:              Roshan Suresh Mansinghani


               Attorney Docket Number:             076533.0146


                    Receipt Date:                  01-APR-2015


                     Filing Date:                  21-0CT-2013


                     Time Stamp:                   14:33:42


                  Application Type:                Utility under 35 USC 111 (a)


Payment information:
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File Listing:
 Document                                                                              File Size( Bytes)/                  Multi         Pages
                     Document Description                 File Name
  Number                                                                               Message Digest                     Part /.zip   (if appl.)

                                                                                                 49919
     1                   Transmittal Letter     07653301461DS2040115.PDF                                                     no             1
                                                                                  b26e0d 192f05c31483ebb60d5cced 1ddOb:
                                                                                                  21597


Warnings:

Information:
               Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 68 of 196
                                                                                                          82759
                  Information Disclosure Statement (IDS)
       2                                                   0765330146PT01040115.PDF                                                   no   1
                               Form (SBOS)
                                                                                         4ed 26ae75a2db4ae1 fbd cO 7 aS a82e6383 b4
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                   Other Reference-Patent/App/Search       0765440130NFOAdtd082511.
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                               documents                              pdf
                                                                                         680f51967f7a 16b4ad593c6734769d5da20
                                                                                                         8d6de


Warnings:

Information:

                                                                                                         582112
                   Other Reference-Patent/App/Search       0765330130RespNFOAdtd 1123
       4                                                                                                                              no   12
                               documents                             11.pdf
                                                                                         94dbcb829e9924f43cb 197aa26b664564c0
                                                                                                        d9b34


Warnings:

Information:

                                                                                                         569940
                   Other Reference-Patent/App/Search
       5                                                   0765330130FOAdtd01 0612.pdf                                                no   15
                               documents
                                                                                         f6e0fbf41 aec28519eb72e8f8992c54453d7
                                                                                                           3561


Warnings:

Information:

                                                                                                         754402
                   Other Reference-Patent/App/Search
       6                                                   0765330130RCEdtd050712.pdf                                                 no   17
                               documents
                                                                                         a055d82d2bbdd0f5a448d 1322c5446aaa7t'
                                                                                                        bd7ca


Warnings:

Information:

                                                                                                         353482
                   Other Reference-Patent/App/Search       0765330130NFOAdtdl 00212.
       7                                                                                                                              no   10
                               documents                             pdf
                                                                                         3df4ed56412729b3911b2d593613f72047d
                                                                                                        598f9


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Information:

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                   Other Reference-Patent/App/Search       0765330130RespNFOAdtd 1231
       8                                                                                                                              no   13
                               documents                             12.pdf
                                                                                         a78faf1494f6849035a3576ce 1a0291 d954c
                                                                                                         add7


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                   Other Reference-Patent/App/Search
       9                                                   0765330130FOAdtd030713.pdf                                                 no   12
                               documents
                                                                                         f3e50fcd2b37 e385361451454a9791 a009d
                                                                                                          696fe


Warnings:

Information:

                                                                                                         915599
                   Other Reference-Patent/App/Search       0765330130RespFOAdtd06061
      10                                                                                                                              no   14
                               documents                              3.pdf
                                                                                         555b859d7596d90f221783f1 538ffa2ac363
                                                                                                        b2ad
               Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 69 of 196
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Information:

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                 Other Reference-Patent/App/Search   0765330130NotAllowdtd06191
     11                                                                                                                         no   12
                             documents                         3.pdf
                                                                                    02fb48e068e038a8bcf9cb7ce1 d821 be869
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         Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 70 of 196
ATTORNEY DOCKET NO.                                                          PATENT APPLICATION
076533.0146                                                                            14/059,192
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                  IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


In re application of:           Sean Rad et al.
Application Serial No.:         14/059,192
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Group Art Unit:                 2164
Examiner:                       Yuk Ting Choi
Confirmation No.:               1044
Title:                          Matching Process System and Method


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P.O. Box 1450
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Dear Sir:
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above-identified patent application. Pursuant to 37 C.F.R. §§ 1.97 (g) and (h), Applicants make no
representation that a search has been made, that these documents are material to patentability of
the present application, or that these documents qualify as prior art.
          Copies of U.S. patents and U.S. patent application publications have not been provided. To
the extent applicable, documents other than the U.S. patents and U.S. patent application
publications are enclosed for the convenience of the Examiner.
          Pursuant to 37 C.F.R. § l.97(b), Applicants believe this Information Disclosure Statement
has been filed before the issuance/mailing date of the first Office Action. Therefore, Applicants
believe no fee is due, however, if a fee is required, the Commissioner is hereby authorized to
charge any fees or credit any overpayments to Deposit Account No. 02-0384 of Baker Botts L.L.P.
                                                  Respectfully submitted,
                                                  BAKER BOTTS L.L.P.
                                                  Attorneys for Applicants



J)ated:     ~~:;­                                 Roshan S. Mansinghani
Custom~           (;: 05073                       Registration No. 62,429




Active 18224253
          Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 71 of 196




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    APPLICATION NUMBER            FILING OR 3 71 (C) DATE               FIRST NAMED APPLICANT                      ATTY. DOCKET NO./TITLE

        14/059,192                    10/21/2013                             Sean Rad               076533.0146
                                                                                              CONFIRMATION N0.1044
5073                                                                                  PUBLICATION NOTICE
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2001 ROSS AVENUE                                                                      111111111111111111111111]~!l]~~1~~1~~H~l~~~i111] 11111111111111111111111
SUITE 600
DALLAS, TX 75201-2980




Title:Matching Process System And Method
Publication No.US-2014-0074824-A1
Publication Date:03/13/2014


                             NOTICE OF PUBLICATION OF APPLICATION
The above-identified application will be electronically published as a patent application publication pursuant to 37
CFR 1.211, et seq. The patent application publication number and publication date are set forth above.
The publication may be accessed through the USPTO's publically available Searchable Databases via the
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in 37 CFR 1.19(a)(1 ). Orders for copies of patent application publications are handled by the USPTO's Office of
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In addition, information on the status of the application, including the mailing date of Office actions and the
dates of receipt of correspondence filed in the Office, may also be accessed via the Internet through the Patent
Electronic Business Center at www.uspto.gov using the public side of the Patent Application Information and
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Electronic Business Center at 1-866-217-9197.



Office of Data Managment, Application Assistance Unit (571) 272-4000, or (571) 272-4200, or 1-888-786-0101




                                                            page 1of1
                 Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 72 of 196

                        PATENT APPLICATION FEE DETERMINATION RECORD                                                                   Application or Docket Number

                                                    Substitute for Form PT0-875                                                       14/059, 192


                        APPLICATION AS FILED - PART I                                                                                                  OTHER THAN
                                          (Column 1)                      (Column 2)                       SMALL ENTITY                OR             SMALL ENTITY

              FOR                    NUMBER FILED                    NUMBER EXTRA                     RATE($)              FEE($)                 RATE($)            FEE($)

BASIC FEE
(37 CFR 1.16(a), (b), or (c))
                                              N/A                             N/A                       N/A                                         N/A               280
SEARCH FEE
(37 CFR 1.16(k), (i), or (m))
                                              N/A                             N/A                       N/A                                         N/A               600
EXAMINATION FEE
(37 CFR 1.16(0), (p), or (q))
                                              N/A                             N/A                       N/A                                         N/A               720
TOTAL CLAIMS
(37 CFR 1.16(i))
                                        21          minus 20=
                                                                               1                                                       OR     x      80       =       80
INDEPENDENT CLAIMS
(37 CFR 1.16(h))
                                         3          minus 3 =                                                                                 x     420       =      0.00
                                  If the specification and drawings exceed 100
APPLICATION SIZE                  sheets of paper, the application size fee due is
FEE                               $31 O ($155 for small entity) for each additional                                                                                  0.00
(37 CFR 1.16(s))                  50 sheets or fraction thereof. See 35 U.S.C.
                                  41 (a)(1 )(G) and 37 CFR 1.16(s).

MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))                                                                                                                    0.00
* If the difference in column 1 is less than zero, enter "O" in column 2.                              TOTAL                                       TOTAL             1680

                  APPLICATION AS AMENDED - PART II

                                                                                                                                                       OTHER THAN
                                 (Column 1)                      (Column 2)        (Column 3)              SMALL ENTITY                OR             SMALL ENTITY
                                  CLAIMS                     HIGHEST
                                 REMAINING                    NUMBER                   PRESENT                           ADDITIONAL                               ADDITIONAL
<(                                                                                                     RATE($)                                     RATE($)
                                   AFTER                    PREVIOUSLY                  EXTRA                              FEE($)                                   FEE($)
I-                              AMENDMENT                    PAID FOR
z
w               Total                             Minus
                                                           ..                      =
                                                                                                  x                =                   OR     x               =
~          (37 CFR 1.16(i))
0
z           Independent                           Minus
                                                           ...                     -
                                                                                                  x                =                   OR     x               =
           (37CFR 1.16(h))
w
~
<(       Application Size Fee (37 CFR 1.16(s))

         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))                                                               OR

                                                                                                       TOTAL                                       TOTAL
                                                                                                                                       OR
                                                                                                      ADD'L FEE                                   ADD'L FEE

                                 (Column 1)                      (Column 2)        (Column 3)
                                  CLAIMS                     HIGHEST
                                 REMAINING                    NUMBER                   PRESENT                           ADDITIONAL                               ADDITIONAL
Ill                                                                                                    RATE($)                                     RATE($)
                                   AFTER                    PREVIOUSLY                  EXTRA                              FEE($)                                   FEE($)
I-                              AMENDMENT                    PAID FOR
z
w               Total                             Minus    ..                      =              x                =
                                                                                                                                       OR     x               =
~
0
z
           (37 CFR 1.16(i))

            Independent                           Minus    ...                     =
                                                                                                  x                =                   OR     x               =
w          (37CFR 1.16(h))
~
<(       Application Size Fee (37 CFR 1.16(s))
                                                                                                                                       OR
         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))

                                                                                                       TOTAL                                       TOTAL
                                                                                                                                       OR
                                                                                                     ADD'L FEE                                    ADD'L FEE
        * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.
       ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
      *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
          The "Highest Number Previously Paid For" (Total or Independent) is the highest found in the appropriate box in column 1.
          Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 73 of 196




                                                                             Ul\TfED STATES DEPA RTME'IT OF COMMERCE
                                                                             United States Patent and Trademark Office
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                                                                                     PO Box 1450
                                                                                     Alexandria, Virgmia 22313-1450
                                                                                     \VVi\V.USpto.gov


  APPLICATION      FILING or    GRPART
    NUMBER        37l(c)DATE     UNIT       FIL FEE REC'D            ATTY.DOCKET.NO                           TOT CLAIMS IND CLAIMS
  14/059,192     10/21/2013      2161          1820                   076533.0146                        21      3
                                                                                                 CONFIRMATION N0.1044
5073                                                                          UPDATED FILING RECEIPT
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                             111111111111111111111111]~!l]~~1~~1~~UH~~H] 11111111111111111111111
SUITE 600
DALLAS, TX 75201-2980
                                                                                                        Date Mai led: 12/03/2013




Receipt is acknowledged of this non-provisional patent application. The application will be taken up for examination
in due course. Applicant will be notified as to the results of the examination. Any correspondence concerning the
application must include the following identification information: the U.S. APPLICATION NUMBER, FILING DATE,
NAME OF APPLICANT, and TITLE OF INVENTION. Fees transmitted by check or draft are subject to collection.
Please verify the accuracy of the data presented on this receipt. If an error is noted on this Filing Receipt, please
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to the Notice, the USPTO will generate another Filing Receipt incorporating the requested corrections
lnventor(s)
                   Sean Rad, Los Angeles, CA;
                   Todd M. Carrico, Sachse, TX;
                   Kenneth B Hoskins, Plano, TX;
                   James C. Stone, Addison, TX;
Applicant( s)
                   Sean Rad, Los Angeles, CA;
                   Todd M. Carrico, Sachse, TX;
                   Kenneth B Hoskins, Plano, TX;
                   James C. Stone, Addison, TX;
Power of Attorney: None
Domestic Priority data as claimed by applicant
                  This appln claims benefit of 61/793,866 03/15/2013
                  and is a CIP of 12/339,301 12/19/2008 PAT 8566327
Foreign Applications for which priority is claimed (You may be eligible to benefit from the Patent Prosecution
Highway program at the USPTO. Please see http://www.uspto.gov for more information.) - None.
Foreign application information must be provided in an Application Data Sheet in order to constitute a claim to
foreign priority. See 37 CFR 1.55 and 1.76.


Permission to Access - A proper Authorization to Permit Access to Application by Participating Offices
(PTO/SB/39 or its equivalent) has been received by the USPTO.

If Required, Foreign Filing License Granted: 11/04/2013
                                                       page 1of3
          Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 74 of 196




The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 14/059,192

Projected Publication Date: 03/13/2014

Non-Publication Request: No

Early Publication Request: No
Title
             Matching Process System And Method
Preliminary Class
             707
Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition Applications: No

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Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
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call the U.S. Government hotline at 1-866-999-HALT (1-866-999-4258).



                                                       page 2 of 3
          Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 75 of 196




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                          Title 37, Code of Federal Regulations, 5.11 & 5.15
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from the filing date of this application and the licensee has not received any indication of a secrecy order under 35
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                                                       page 3 of 3
           Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 76 of 196




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                                                                                         United States Patent and Trademark Office
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                                                                                                PO Box 1450
                                                                                                Alexandria, Virgmia 22313-1450
                                                                                                \VVi\V.USpto.gov


    APPLICATION NUMBER             FILING OR 3 71 (C) DATE               FIRST NAMED APPLICANT                     ATTY. DOCKET NO./TITLE

        14/059,192                     10/21/2013                             Sean Rad                           076533.0146
                                                                                                            CONFIRMATION N0.1044
5073                                                                                   NOTICE
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                                       111111111111111111111111]~!l]~~1~~1~~UH~~H] 11111111111111111111111
SUITE 600
DALLAS, TX 75201-2980
                                                                                                                   Date Mai led: 12/03/2013




                                INFORMATIONAL NOTICE TO APPLICANT
Applicant is notified that the above-identified application contains the deficiencies noted below. No period for
reply is set forth in this notice for correction of these deficiencies. However, if a deficiency relates to the inventor's
oath or declaration, the applicant must file an oath or declaration in compliance with 37 CFR 1.63, or a substitute
statement in compliance with 37 CFR 1.64, executed by or with respect to each actual inventor no later than the
expiration of the time period set in the "Notice of Allowability" to avoid abandonment. See 37 CFR 1.53(f).
The item(s) indicated below are also required and should be submitted with any reply to this notice to avoid
further processing delays.
  •A properly executed inventor's oath or declaration has not been received for the following inventor(s):
      Sean Rad
      Todd M. Carrico
      Kenneth B Hoskins
      James C. Stone
   Applicant may submit the inventor's oath or declaration at any time before the Notice of Allowance and Fee(s)
   Due, PTOL-85, is mailed.




                                                             page 1of1
         Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 77 of 196

ATTORNEY DOCKET                                                       PATENT APPUCA TION
076533.0146                                                                USSN 14/059, 192
                                               1 of2




               IN THE UNITED STATES PATENT AND TRA.DE'MARK OFFICE


In re Application of:        Sean Rad et al.
Application No.:             14/059,192
Filing Date:                 October 2L 2013
Art Unit:                    To Be Assigned
Confirmation No.:            1044
Examiner:                    To Be Assigned
Title:                       i'vfatching Process System And A1ethod



Mail Stop: Missing Parts
Honorable Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313~1450


Dear Sir:




          in response to the Notice to File Missing Parts of Nonprovisional Application mailed
November 8, 2013, Applicants subm1t the following:

          a)      Payment of the $140.00 Surcharge fee for late submission of Declarations.
                  Applicants will file an executed Dechmrtion in this Appfication before it is in
                  condfrion for al !owance.

          Applicants believe an necessary items have no'N been forv1arded to the U.S. Patent
and Trademark Office for filing in the above-identified patent application.

          The Cornmissioner is hereby author)zed to charge the surcharge fee in the total
amoum of $140.00 to Deposit Account No. 02-0384 of Baker Botts LLP.                    Although
Applicants believe no other fees are due, the Commissioner is authorized to charge any
        Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 78 of 196

i\TTORNEY DOCKET                                                 PATENT APPLICATION
076533.0146                                                           USSN 14/059, 192
                                        2 of2


necessary additional foes and credit any overpayments to Deposit Account No. 02-0384 of
Baker Botts L.L.P.

                                             Respectfully submitted,
                                             BAKER BOTTS LL,P,
                                             Attom(~ys fr1f Applicants




                                             Chad C. Walters
                                             Rego No. 48,022
                                             Tel. 214,953.6511



CORRESPO NU l~ii.G!L~~I!!l!!!l~-~§1,
 at Customer Number. 05073




Active J 4703341
                Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 79 of 196



                                  Electronic Patent Application Fee Transmittal
Application Number:                                       14059192


Filing Date:                                              21-0ct-2013




Title of Invention:                                       Matching Process System And Method




First Named Inventor/Applicant Name:                      Sean Rad


Filer:                                                    Roshan Suresh Mansinghani/Laurie Scott


Attorney Docket Number:                                   076533.0146


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

                                                                                                            Sub-Total in
                            Description                          Fee Code        Quantity          Amount
                                                                                                              USO($)

Basic Filing:


Pages:


Claims:


Miscellaneous-Filing:

                Late Filing Fee for Oath or Declaration              1051            1              140         140


Petition:


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:
            Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 80 of 196
                                                                                  Sub-Total in
                   Description                 Fee Code   Quantity     Amount
                                                                                    USO($)


Miscellaneous:


                                                     Total in USO($)              140
             Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 81 of 196
                                       Electronic Acknowledgement Receipt

                          EFSID:                                17495877


                  Application Number:                           14059192


         International Application Number:


                  Confirmation Number:                          1044




                    Title of Invention:                         Matching Process System And Method




       First Named Inventor/Applicant Name:                     Sean Rad


                   Customer Number:                             5073


                           Filer:                               Roshan Suresh Mansinghani/Laurie Scott


                   Filer Authorized By:                         Roshan Suresh Mansinghani


               Attorney Docket Number:                          076533.0146


                      Receipt Date:                             25-NOV-2013


                       Filing Date:                             21-0CT-2013


                      Time Stamp:                               15:45:45


                    Application Type:                           Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                          yes

Payment Type                                                   Deposit Account

Payment was successfully received in RAM                       $140

RAM confirmation Number                                         5341

Deposit Account                                                 020384

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The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      Charge any Additional Fees required under 37 C.F.R. Section 1.16 (National application filing, search, and examination fees)
      Charge any Additional Fees required under 37 C.F.R. Section 1.17 (Patent application and reexamination processing fees)
           Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 82 of 196
File Listing:
 Document                                                                                File Size( Bytes)/                         Multi         Pages
                    Document Description                    File Name
  Number                                                                                 Message Digest                            Part /.zip   (if appl.)
                                                                                                     59824
                  Applicant Response to Pre-Exam     0765330146RespMP112513.
      1                                                                                                                                no           2
                         Formalities Notice                    PDF
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Warnings:
Information:

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     2                 Fee Worksheet (SB06)                 fee-info.pdf                                                               no           2
                                                                                   el d2e2b80e1 25333de0adef8bc6068cd4f9
                                                                                                    7d9f8


Warnings:
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                                                     Total Files Size (in bytes)                                               89357


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If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International A~~lication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                 Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 83 of 196

                        PATENT APPLICATION FEE DETERMINATION RECORD                                                                   Application or Docket Number

                                                    Substitute for Form PT0-875                                                       14/059, 192


                        APPLICATION AS FILED - PART I                                                                                                  OTHER THAN
                                          (Column 1)                      (Column 2)                       SMALL ENTITY                OR             SMALL ENTITY

              FOR                    NUMBER FILED                    NUMBER EXTRA                     RATE($)              FEE($)                 RATE($)            FEE($)

BASIC FEE
(37 CFR 1.16(a), (b), or (c))
                                              N/A                             N/A                       N/A                                         N/A               280
SEARCH FEE
(37 CFR 1.16(k), (i), or (m))
                                              N/A                             N/A                       N/A                                         N/A               600
EXAMINATION FEE
(37 CFR 1.16(0), (p), or (q))
                                              N/A                             N/A                       N/A                                         N/A               720
TOTAL CLAIMS
(37 CFR 1.16(i))
                                        21          minus 20=
                                                                               1                                                       OR     x      80       =       80
INDEPENDENT CLAIMS
(37 CFR 1.16(h))
                                         3          minus 3 =                                                                                 x     420       =      0.00
                                  If the specification and drawings exceed 100
APPLICATION SIZE                  sheets of paper, the application size fee due is
FEE                               $31 O ($155 for small entity) for each additional                                                                                  0.00
(37 CFR 1.16(s))                  50 sheets or fraction thereof. See 35 U.S.C.
                                  41 (a)(1 )(G) and 37 CFR 1.16(s).

MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))                                                                                                                    0.00
* If the difference in column 1 is less than zero, enter "O" in column 2.                              TOTAL                                       TOTAL             1680

                  APPLICATION AS AMENDED - PART II

                                                                                                                                                       OTHER THAN
                                 (Column 1)                      (Column 2)        (Column 3)              SMALL ENTITY                OR             SMALL ENTITY
                                  CLAIMS                     HIGHEST
                                 REMAINING                    NUMBER                   PRESENT                           ADDITIONAL                               ADDITIONAL
<(                                                                                                     RATE($)                                     RATE($)
                                   AFTER                    PREVIOUSLY                  EXTRA                              FEE($)                                   FEE($)
I-                              AMENDMENT                    PAID FOR
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w               Total                             Minus
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z           Independent                           Minus
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                                                                                                  x                =                   OR     x               =
           (37CFR 1.16(h))
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~
<(       Application Size Fee (37 CFR 1.16(s))

         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))                                                               OR

                                                                                                       TOTAL                                       TOTAL
                                                                                                                                       OR
                                                                                                      ADD'L FEE                                   ADD'L FEE

                                 (Column 1)                      (Column 2)        (Column 3)
                                  CLAIMS                     HIGHEST
                                 REMAINING                    NUMBER                   PRESENT                           ADDITIONAL                               ADDITIONAL
Ill                                                                                                    RATE($)                                     RATE($)
                                   AFTER                    PREVIOUSLY                  EXTRA                              FEE($)                                   FEE($)
I-                              AMENDMENT                    PAID FOR
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                                                                                                                                       OR     x               =
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0
z
           (37 CFR 1.16(i))

            Independent                           Minus    ...                     =
                                                                                                  x                =                   OR     x               =
w          (37CFR 1.16(h))
~
<(       Application Size Fee (37 CFR 1.16(s))
                                                                                                                                       OR
         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))

                                                                                                       TOTAL                                       TOTAL
                                                                                                                                       OR
                                                                                                     ADD'L FEE                                    ADD'L FEE
        * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.
       ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
      *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
          The "Highest Number Previously Paid For" (Total or Independent) is the highest found in the appropriate box in column 1.
          Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 84 of 196




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  APPLICATION      FILING or    GRPART
    NUMBER        37l(c)DATE     UNIT       FIL FEE REC'D            ATTY.DOCKET.NO                            TOT CLAIMS IND CLAIMS
  14/059,192     10/21/2013                    1680                   076533.0146                        21      3
                                                                                                 CONFIRMATION N0.1044
5073                                                                          FILING RECEIPT
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                             111111111111111111111111]~!l]~~1~~1~~Hl~I ~1~~11111111111111111111111111
SUITE 600
DALLAS, TX 75201-2980
                                                                                                        Date Mailed: 11/08/2013




Receipt is acknowledged of this non-provisional patent application. The application will be taken up for examination
in due course. Applicant will be notified as to the results of the examination. Any correspondence concerning the
application must include the following identification information: the U.S. APPLICATION NUMBER, FILING DATE,
NAME OF APPLICANT, and TITLE OF INVENTION. Fees transmitted by check or draft are subject to collection.
Please verify the accuracy of the data presented on this receipt. If an error is noted on this Filing Receipt, please
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any corrections to this Filing Receipt with your reply to the Notice. When the USPTO processes the reply
to the Notice, the USPTO will generate another Filing Receipt incorporating the requested corrections
lnventor(s)
                   Sean Rad, Los Angeles, CA;
                   Todd M. Carrico, Sachse, TX;
                   Kenneth B Hoskins, Plano, TX;
                   James C. Stone, Addison, TX;
Applicant( s)
                   Sean Rad, Los Angeles, CA;
                   Todd M. Carrico, Sachse, TX;
                   Kenneth B Hoskins, Plano, TX;
                   James C. Stone, Addison, TX;
Power of Attorney: None
Domestic Priority data as claimed by applicant
                  This appln claims benefit of 61/793,866 03/15/2013
                  and is a CIP of 12/339,301 12/19/2008 PAT 8566327
Foreign Applications for which priority is claimed (You may be eligible to benefit from the Patent Prosecution
Highway program at the USPTO. Please see http://www.uspto.gov for more information.) - None.
Foreign application information must be provided in an Application Data Sheet in order to constitute a claim to
foreign priority. See 37 CFR 1.55 and 1.76.


Permission to Access - A proper Authorization to Permit Access to Application by Participating Offices
(PTO/SB/39 or its equivalent) has been received by the USPTO.

If Required, Foreign Filing License Granted: 11/04/2013
                                                       page 1of3
          Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 85 of 196




The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 14/059,192

Projected Publication Date: 02/13/2014

Non-Publication Request: No

Early Publication Request: No
Title
             Matching Process System And Method
Preliminary Class

Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition Applications: No

                PROTECTING YOUR INVENTION OUTSIDE THE UNITED STATES

Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
effect in a foreign country, an inventor who wishes patent protection in another country must apply for a patent
in a specific country or in regional patent offices. Applicants may wish to consider the filing of an international
application under the Patent Cooperation Treaty (PCT). An international (PCT) application generally has the same
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call the U.S. Government hotline at 1-866-999-HALT (1-866-999-4258).




                                                       page 2 of 3
          Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 86 of 196




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                                                       page 3 of 3
           Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 87 of 196




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    APPLICATION NUMBER             FILING OR 3 71 (C) DATE           FIRST NAMED APPLICANT                      ATTY. DOCKET NO./TITLE

        14/059,192                     10/21/2013                         Sean Rad               076533.0146
                                                                                           CONFIRMATION N0.1044
5073                                                                               FORMALITIES LETTER
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                                   111111111111111111111111]~!l]~~1~~1~~Hl~I ~1~~11111111111111111111111111
SUITE 600
DALLAS, TX 75201-2980
                                                                                                                Date Mailed: 11/08/2013




           NOTICE TO FILE MISSING PARTS OF NONPROVISIONAL APPLICATION
                                              FILED UNDER 37 CFR 1.53(b)
                                                     Filing Date Granted
Items Required To Avoid Abandonment:
An application number and filing date have been accorded to this application. The item(s) indicated below,
however, are missing.
Applicant is given TWO MONTHS from the date of this Notice within which to file all required items below to avoid
abandonment. Extensions of time may be obtained by filing a petition accompanied by the extension fee under
the provisions of 37 CFR 1.136(a).
  •A surcharge (for late submission of the basic filing fee, search fee, examination fee or inventor's oath or
   declaration) as set forth in 37 CFR 1.16(f) of$ 140 for an undiscounted entity, must be submitted.
SUMMARY OF FEES DUE:
Total fee(s) required within TWO MONTHS from the date of this Notice is$ 140 for an undiscounted entity
  • $ 140 Surcharge.
Items Required To Avoid Processing Delays:
Applicant is notified that the above-identified application contains the deficiencies noted below. No period for
reply is set forth in this notice for correction of these deficiencies. However, if a deficiency relates to the inventor's
oath or declaration, the applicant must file an oath or declaration in compliance with 37 CFR 1.63, or a substitute
statement in compliance with 37 CFR 1.64, executed by or with respect to each actual inventor no later than the
expiration of the time period set in the "Notice of Allowability" to avoid abandonment. See 37 CFR 1.53(f).
  •A properly executed inventor's oath or declaration has not been received for the following inventor(s):
      Sean Rad
      Todd M. Carrico
      Kenneth B Hoskins
      James C. Stone
   Applicant may submit the inventor's oath or declaration at any time before the Notice of Allowance and Fee(s)
   Due, PTOL-85, is mailed.




                                                             page 1of2
          Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 88 of 196




Replies must be received in the USPTO within the set time period or must include a proper Certificate of Mailing
or Transmission under 37 CFR 1.8 with a mailing or transmission date within the set time period. For more
information and a suggested format, see Form PTO/SB/92 and MPEP 512.
                Replies should be mailed to:
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                                  P.O. Box 1450
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https ://sportal. uspto .gov/authenticate/AuthenticateUserlocal EP F. htm I
For more information about EFS-Web please call the USPTO Electronic Business Center at 1-866-217-9197 or
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                /tnguyen/


Office of Data Management, Application Assistance Unit (571) 272-4000, or (571) 272-4200, or 1-888-786-0101




                                                    page 2 of 2
                Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 89 of 196
ATTORNEY'S DOCKET                                                                                                                                                                PATENT APPLICATION
076533.0146                                                                                                                                                                           USSN 14/059,192



                                IN THE lTNITED STATES PATENT AND TRADE:tv!ARK OFFICE


In re application of;                                      Sean Rad, et al
Application No.                                             14/059,192
filing Date:                                               October 21, 2013
Group Art Unit:                                            Unknown
Confirmation No,:                                           1044
Examiner:                                                   Unassigned
Title:                                                     ll.fatching Process System And lviethod



Commissioner for Patents
P.O. Box 1450
Alexandria, Virginia 22313-1450


Dear Sir:

                                                                                      REQUEST FOR REFUND


l.                 BACKGROUND
                    On October 22, 2013 the U.S. Patent and Trademark Office deb1ted the Baker Botts
LLP. Deposit Account No. 02-0384 in connection with the filing of the above-reforenced
patent application as folJows:



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 j October22, 2013 1I1032                                                               1202                     1·   $160.00                        t Claims in Excess of20
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Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 90 of 196
               Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 91 of 196
                                    Electronic Acknowledgement Receipt

                       EFSID:                       17344368


                 Application Number:                14059192


          International Application Number:


                Confirmation Number:                1044




                  Title of Invention:               Matching Process System And Method




         First Named Inventor/Applicant Name:       Sean Rad


                  Customer Number:                  5073


                         Filer:                     Roshan Suresh Mansinghani/Laurie Scott


                 Filer Authorized By:               Roshan Suresh Mansinghani


               Attorney Docket Number:              076533.0146


                    Receipt Date:                   07-NOV-2013


                     Filing Date:                   21-0CT-2013


                     Time Stamp:                    17:56:18


                  Application Type:                 Utility under 35 USC 111 (a)


Payment information:
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File Listing:
 Document                                                                               File Size( Bytes)/                  Multi         Pages
                     Document Description                  File Name
  Number                                                                                Message Digest                     Part /.zip   (if appl.)

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Warnings:

Information:
             Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 92 of 196
                                                     Total Files Size (in bytes)                   83194


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If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
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Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
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national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
         Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 93 of 196

ATTORNEY'S DOCKET
076533.0146




             lN THE UNITED STATES PATENT AND TR/\DEMARK OFFICE




First Named Inventor:          Sean Rad
Filed:                         Herev.rith
Group Art Unit:                Unlmown
Confim1ation No.               Unknown
Examiner:
Title:                         1Uatching Proce!.'s System ami 1Uethod




Commissioner for Patents
P.O. Box 1450
Alexandria, Virginia 22313-1450




Dear Sir:




                                     Prelim.inarv Amendment


         Prior to the initial review of this non-provisional utility continuation-in-part patent
application entitled "IVIatching Process System and Method'' by Sean Rad, et aL, please
arnend the application as follows,
         Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 94 of 196

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II:LilULQLA1£i1S
         Claims 1-22 (Cancelled)


         23,       (New) A computer implemented method of profile matching, cmnprising:
         receiving a plurality of user profiles, each user profile comprising traits of a respective
USl~r;


         receiving a request for matching from a first user;
         identifying a set of potential matches from the plurality of user profiles in response to
receiving the request;
         presenting a first potential match of the set of potential matches to the first user, the
first potential match c01Tesponding to a second user;
         receiving an expression of approval from the first user regarding the first potential
match;
         detennjn]ng that the second user has expressed approval for the first user after
receiving the expression of approval from the first user;
         enabling communication between the first user and the second user m response to
determining that the second user has expressed approval for the first user; and
         wherdn the plurality of user profiles comprises user profiles associated with a first
social networking platform and user profiles associated with a second social networking
platfonn that is different than the first social networking platfonn.


         24.       (New) The method of Claim 23, wherein receiving the expression of approval
fi:om the first user comprises detecting a svviping gesture associated with a graphical
representation of the second user.


         250       (New) The method of Claim 23, fmiher comprising:
         presenting an indication of the expression of approval from the first user regarding the
first potential match to the second user after receiving the expression of approval from the
first user regarding the first potential match and after determining that the second user has
expressed approval for the first user.
       Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 95 of 196

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        26.     (New) The method of Claim 23, wherein identifying a set of potential matches
fix the request from the plurality of user profiles comprises comparing geographic positions
associated \Vith the plurality of user profiles with a geographic position associated with the
first user.


        27.     (New) The method of Claim 23, further comprising:
        presenting a second potential match and a third potential match to the first user, the
set of potential matches comprising the second potential match and the third potential match;
        determining an expression of approval from the first user regarding the second
potential rnatch by detecting a first svviping gesture associated with a first direction; and
        determining an expression of disapproval from the first user regarding tht: third
potential match by detecting a second swiping gesture associated with a second direction
different than the first direction.


        28.     (New) The method of Ciaim 23, fi.niher comprising:
        presenting a second pokntial match of the set of potential rnatches to the first user;
        receiving an expression of disapproval from the first user regarding the set:ond
potential match; and
        preventing communkafam between the first user and a user associated -vvith the
second potential match in response to receiving the expression of disapproval,


                (New) The method of Claim 23, further comprising:
         presenting a second interface to a third user, the second interface configured to
generate a matching proposal;
         receiving a set of interactions vvith the second interface from the third user;
         associating the matching proposal, in response to the set of interactions, \Nith a frmrth
user and a fifth user; and
         enabling communkation between the fourth user and the fifth user m response to
associating the matching proposal with the fourth user and the fifth user.
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         30.     (Ne\v) A non-transitory computer-readable medium comprising instructions
that, when executed by a processor, are configured to:
         receive a plurality of user profiles, each user profile comprising traits of a respective
user;
         receive a request for matching from a first user;
         identify a set of potential matches from the plurality of user profiles in response to
receiving the request;
         present a first potential match of the set of potential matches to the first user, the first
potential match corresponding to a second user;
         receive an expression of approval from the first user regarding the first potential
match;
         determine that the second user has expressed approval for the first user aHer receiving
the expression of approval from the first user;
         enable cornrnunication between the first user and the second user in response to the
determination that the second user has expressed approval for the first user; and
         wherein the plurality of user prnfiies comprises user profiles associated vvith a first
social networking platform and user profiles associated \.Vith a second social networking
platfom1 that is different than the first sociai networking platfom1.


         31"     (New) The medium of Claim 30, wherein the instructions configured to
receive the expression of approval :!:!'om the first user comprise instructions configured to
detect a swiping gesture associated with a graphical representation of the second user.


         32,     (New) The medium of Claim 30, further cornprising instructions configured to
present an indication of the expression of approval from the first user regarding the first
potential match to the second user after receiving the expression of approval from the first
user regarding the first potential match and after determining that the second user has
expressed approval for the first user,
       Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 97 of 196

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        33"     (New) The mediurn of Claim 30, wherein the instruction configured to identify
a set of potential matches for the request from the plurality of user profiles cmnprise
instructions configured to compare geographic positions associated vvith the plurality of user
profiles with a geographic position associated with the first user,


        34.     (New) The medium of Claim 30, further comprising instructions configured
to:
        present a second potential match and a third potential nmtch to the first user, the set of
potential nmtches comprising the second potential match and the third potential match~
        determine an expression of approval from the first user regardfr1g the second potential
rnatch by detecting a first swiping gesture associated with a first direction; and
        determine an expression of disapproval from the first user regarding the third potential
rnatch by detecting a second swiping gesture associated with a second direction different than
the first direction.


        35.      (New) The medium of Claim 30, further comprising instructions configured
to:
        present a second potential match of the set of potential matches to the first user;
        rece)ve an expression of disapproval from the first user regarding the second potential
match; and
        prevent communication between the first user and a user associated with the second
potential match in response to the reception of the expression of disapproval.
      Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 98 of 196

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       36.     (New) The medium of Claim 30, fi.1rther comprising instmctions configured
to;

       present 3 second interface to a third user, the second interface configured to generate a
matching proposal;
       receive a set of interactions vvith the second interface from the third user;
       associate the matching proposal, in response to the set of interactions, with a fourth
user and a fifth user; and
       enable communication between the fourth user and the fifth user in response to the
association of the matching proposal with the fourth user and the fifth user.
       Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 99 of 196

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        37.     (New) A system for profile matching, comprising:
        an interface operable to:
                receive a request for matching from a first user; and
        a processor coupled to the interface and operable to:
                identify a set of potential matches from a plurality of user profiles in response
to the reception of the request for matching;
                cause the interfl1ce to present a first potential match of the set of potential
matches to the first user, the first potentiai match corresponding to a second user;
                determine that the interface has received an expression of approval from the
first user regarding the first potential match;
                determine that the second user has expressed approval for the first user after
receiving the expression of approval from the first user; and
                enable comrnunication between the first user and the second user in response
to the determination that the second user has expressed approval for the first user; and
        wherein the plurality of user profiles comprises user profiles associated with a first
social networking platforn1 and user profiles associated with a second social networking
p1atfonn that is different than the first social net.working platform.


        38.     (New) The systern of Claim 37, wherein the processor operable to determine
that the interface has rect~ived the expression of approval from the first user comprises a
processor operable to detect a s\vtping gesture associated with a graphical representation of
the second user.


        39.     (New) The system of Claim 37, the processor fmiher operabk to present an
indication of the expression of approval from the first user regarding the first potential match
to the second user after receiving the expression of approval from the first user regarding the
first potential match and after determining that the second user has expressed approval for the
first user.
      Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 100 of 196

ATTORNEY'S DOCKET
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        40.     (Nevv) "The system of Claim 37, wherein the processor operable to identify the
set of potential matches for the request from the plurality of user profiles comprises a
processor operable to compare geographic positions associated \.Vith the plurality of user
profiles with a geographic position associated with the first user.


        4L      (New) "The system of Claim 37, further comprising:
       the interfact~ farther operable to:
                present a second potential match of the set of potential matches to the first
user; and
        the processor further operable to;
                detem1ine that the interface has received an expression of disapproval from the
first user regarding the second potential match; and
                prevent communication between the first user and a user associated with the
second potential match in response to the reception of the expression of disapprovaL


        4?      (New) The system of Claim 37, further cmnprising:
        the interface further operable to:
                present a second potential rnatch and a third potential match to the first user,
the set of potentia! matches comprising the second potential match and the third potential
match; and
        the processor further operable to:
                detem1ine an expression of approval from the first user regarding the second
potential match by detecting a first swiping gesture a.-;sociated with a first direction; and
                determine an expression of disapproval from the first user regarding the third
potential match by detecting a second swiping gesture associated with a second direction
difterent than the first direction<
      Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 101 of 196

ATTORi""JEY'S DOCKET
076533,0146
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       430     (New) The system of Claim 37, further comprising:
       a second intertace operable to;
               generate a matching proposal;
                receive a set of interactions from a third user; and
       wherein the processor .is fmther operable to:
               associate the matching proposal, in response to the set of interactions, with a
fomth user and a fifth user; and
               enable communication between the fourth user and the fifth user in response to
the association of the matching proposal with the fourth user and the fifth user.
     Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 102 of 196

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076533.0146
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       Entry of this Amendment is respectfully requested.


       If the Examiner feels that a telephone conforence or an intervkvv would advance
prosecution of this Application in any manner, the undersigned attorney for Applicants stands
ready to conduct such a conference at the convenience of the Examiner.


       Although Applicants believe no foe is due, the Commissioner is hereby authorized to
charge any required fee or credit any overpayrnent to Deposit Account No. 02~0384 of Baker
Botts LLP.
                                             Respectful !y submitted,

                                             BAKER BOTTS LLP,
                                             Attorneys for Applicants




                                             Chad C, Walters
                                             Reg. No, 48,022


Date: October 21, 2013


Corrcsrw:m:lence Address:
Customer No:          05073
                Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 103 of 196



                                   Electronic Patent Application Fee Transmittal

Application Number:


Filing Date:




Title of Invention:                                   Matching Process System And Method




First Named Inventor/Applicant Name:                  Sean Rad


Filer:                                                Roshan Suresh Mansinghani/Laurie Scott


Attorney Docket Number:                               076533.0146


Filed as Large Entity


Utility under 35 USC 111 (a) Filing Fees

                                                                                                        Sub-Total in
                             Description                     Fee Code        Quantity          Amount
                                                                                                          USO($)


Basic Filing:


                        Utility application filing               1011            1              280         280


                           Utility Search Fee                    1111            1              600         600


                        Utility Examination Fee                  1311            1              720         720


Pages:


Claims:


                        Claims in Excess of 20                   1202            2               80         160


                 Independent claims in excess of 3               1201            1              420         420


Miscellaneous-Filing:
            Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 104 of 196
                                                                                Sub-Total in
                     Description               Fee Code   Quantity     Amount
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Petition:


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:


Miscellaneous:


                                                     Total in USO($)            2180
            Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 105 of 196
                                      Electronic Acknowledgement Receipt

                         EFSID:                               17186270


                  Application Number:                         14059192


         International Application Number:


                  Confirmation Number:                        1044




                    Title of Invention:                       Matching Process System And Method




       First Named Inventor/Applicant Name:                   Sean Rad


                   Customer Number:                           5073


                          Filer:                              Roshan Suresh Mansinghani/Laurie Scott


                   Filer Authorized By:                       Roshan Suresh Mansinghani


               Attorney Docket Number:                        076533.0146


                      Receipt Date:                           21-0CT-2013


                       Filing Date:


                      Time Stamp:                             18:21:05


                    Application Type:                         Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                        yes

Payment Type                                                 Deposit Account

Payment was successfully received in RAM                     $2180

RAM confirmation Number                                       6439

Deposit Account                                               020384

Authorized User

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      Charge any Additional Fees required under 37 C.F.R. Section 1.17 (Patent application and reexamination processing fees)
           Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 106 of 196
File Listing:
 Document                                                                                          File Size( Bytes)/                 Multi              Pages
                        Document Description                             File Name
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       1                 Application Data Sheet                   0765330146ADS102113.PDF                                               no                 7
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Warnings:

Information:

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                                                  Specification                                                  1                                55



                                                     Claims                                                     56                                63



                                                    Abstract                                                    64                                64


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                                          Preliminary Amendment                                                  1                                1



                                                     Claims                                                      2                                9



                                                    Abstract                                                    10                                10


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            Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 107 of 196
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New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
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National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
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the application.
            Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 108 of 196
                                      Electronic Acknowledgement Receipt

                         EFSID:                               17186270


                  Application Number:                         14059192


         International Application Number:


                  Confirmation Number:                        1044




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       First Named Inventor/Applicant Name:                   Sean Rad


                   Customer Number:                           5073


                          Filer:                              Roshan Suresh Mansinghani/Laurie Scott


                   Filer Authorized By:                       Roshan Suresh Mansinghani


               Attorney Docket Number:                        076533.0146


                      Receipt Date:                           21-0CT-2013


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           Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 109 of 196
File Listing:
 Document                                                                                          File Size( Bytes)/                 Multi              Pages
                        Document Description                             File Name
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                                                  Specification                                                  1                                55



                                                     Claims                                                     56                                63



                                                    Abstract                                                    64                                64


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Information:

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                   Drawings-only black and white line
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                                          Preliminary Amendment                                                  1                                1



                                                     Claims                                                      2                                9



                                                    Abstract                                                    10                                10


Warnings:

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       5                  Fee Worksheet (SB06)                           fee-info.pdf                                                   no                 2
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            Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 110 of 196
Warnings:
Information:
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national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 111 of 196
                                       Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 112 of 196
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 Domestic Benefit/National          Stage Information:
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          This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e), 120, 121, or 365(c) or indicate
          National Stage entry from a PCT application. Providing this Information in the application data sheet constitutes tile
          specific reference required by 35 U.S.C. i 18(e) or 120, and 37 CFR 1.78.
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!that is eligible for retrieval under tt1e priority docurnent exchange program (PDX)i the information will be used by the Office to                                                                                                                                                                                                                                                                                                                     i,', _I', , ,




 automatically attempt retrieval pursuant to 37 CFR 1.55(h){1) and (2). Under the POX program, applicant bears the ultirnate
    responsibility for ensuring that a copy of the foreign application is received by the Office from the participating foreign intellectual
iproperty office, or a certified copy of the foreign priority appliGation is filed, witl1in the time period specified in 37 CFR 1.55\g)( ·1 ).
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~ .................................   ---------------------------------------------------------------------------------···················--......................                                                          ~---···-~'"'"'",_,_,_._..._._._._._._ ............ ~~ ..........................................................._._________________________________________________ ._·_· .......·_·_·_·_·_·_·_·_·_·_·_·,·....l,,


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                                  Under the Paperwork Reduction Act cf 1995, no persons ara required to respond to a collection of information unless i! contains a valid OMB contml number.
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    Application Data Sheet 37 CFR 1.76 .............................................................................................................................................................
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    Title of Invention                                     Matching Process System And Method                                                                                                                                                                                                       !
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! Additional Foreign Priority Data may be generated within this form by selecting the                                                                                                                                                                                                                                                                              i
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 Statement under 37 CFR 1.55 or 1.78 for AIA {First Inventor to File) Transition
 Applications

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            contains, or contained at any time, a claim to a claimed invention that has an effective filing date on or after March !
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            NOTE: By providing this statement under 37 CFR 1.55 or i .78, this application, with a filing date on or after March
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            16, 2013, wm be examined under the
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 Authorization to Permit Access:
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i!SJ Authorization to Permit Access to the Instant Application by the Participating Offices                                                                                                                                                                                                                                                                        !
~--•••••••••••••••••••••••••••••••>>>>>>>HH>>>>>>>>>>>>>•~---~._ ..._._._._._._._._._._._._._._._._._._._._._._._••••••••••••••••••••••••••••••••••••• o•••••••••••••••»'>'>>>>>>>>>>>>>>>>>..,..,..,..,..................._._._._._._._._._._._._._._._._._._._._....              •.•.•••••••••••••••••••••••••••••••••••••»»»»'->>>>>••{


Hf checked, the lindersigned hereby grants the USPTO authority to provide the European Patent Office (EPO),                                                                                                                                                                                                                                                        i
!the Japan Patent Office (JPO), the Korean Intellectual Property Office (KIPO), the World Intellectual Property Office (WIPO),                                                                                                                                                                                                                                     !
!and any other intellectual property offices in which a foreign application claiming priority to the instant patent applicaticn                                                                                                                                                                                                                                    !
'is filed access to the instant patent application. See 37 CFR 1.14( c) and (h). This box should not be checked if the applicant                                                                                                                                                                                                                                   i
 does not wish the EPO, JPO, KIPO, WlPO, or other intellectual property office in which a foreign application claiming priority
 to the instant patent application is flied to have access to the instant palent application.

 !n accordance with 37 CFR 1, 14(h)(3), access will be provided to a copy of the instant patent application with respect                                                                                                                                                                                                                                           !
 to: 1) the instant patent application-as-filed; 2) any foreign application to which the instant patent application
 claims priority under 35 U.S.C. 119(aHd) if a copy of the foreign application that satisfies the certified copy requirement of
 37 CFR 1.55 has been filed in the instant patent application; and 3) any U.S. application-as-filed from which benefit is
,sought in the instant patent application.


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 Applicant Information:
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l Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title 37 of CFR
I to have :n1 assignment recorded by the Office.
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!The information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR                                                                                                                                                                                                                                                                               !
 'l .43; or the name and address of the assignee, person to whom the inventor is under an obligation to assign the invention, or person !
 who otherwise shows sufficient proprietary interest in the matter who is the applicant under 37 CFR 1.46. If the applicant is an             !
 applicant under 37 CFR 1.46 (assignee, person to wt1om the inventor is obligated to assign, or person who other.vise shows sufficient                                                                                                                                                                                                                                                                              ·1



 proprietary interest) together with one or more joint inventors, then the joint inventor or inventors who are also the a. pplicant should be
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i Email Address                                                                           \

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    Assignee hiformation including Non~App~icant Assignee Information:

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    application publication . An assignee-applicant identitied in the "Applicant Information" section will appear on the patent application
    publication as an applicant. For an assignee-applicant, complete this section only if identification as an assignee is also desired on the I
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    patent application publication.                                                                                                            I
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                   Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 117 of 196




                                                                                                     Privacy Act Statement




  The Privacy Ac\ of 1f:f14 (P.L. 9a-579) requires !hat you be given certain Information In connection With your submission of !he attached form related to!
  a patent application or patent Accordingly, pursuant to the requirements of the Act, please be advised that: (1 l the general authority for the collection!
  of this information is ~rn U.S.C. 2{b)(2); (2) furnishing of the Information solicited Is voluntary; and (3) the principal purpose for which the information is                                                                                                                 i
  used by the U.S. Patent and Trademark Office is to process andior examine your submission related to a patent application or patent. If you do not                                                                                                                              !
  furnish the requested Information, the U.S. Pat..mt and Trademark Office may not be able to process and/or examine your submission, which may                   !
  result in termination of proceedings or abandonment of the application or expiration ot the patent.                                                             j
  The information provided by you in this form will be subject to the following routine uses:                                                                                                                                                                                     j

            i.           The information on this form wil! be treated confidentially to the extent allowed under the Freedom of Information Act (5 U.S.C. 552)
                    and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the Department of Justice lo determine                                                                                                                           i
                    whether the Freedom of !nformalion Act requires disclosure of these records.                                                                                                                                                                                  !
  2.           .A record from this system of records may be disclosed, as a routine use, in !he course of presenting evidence to a court, magistrate, or
           administrative tribunal, including disclosures !o opposing coumm! m the course of settlement negotiations.

           3.             A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a request involving an
                    individual, to whom the record pertains, when !he individual has requested assistance from the Member with respect to the subject matter of
                    !he record.

           4.             A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for the information in
                     order to perform a contract Recipienls of information sha!I be required to comply with the requirements of the Privacy Act of 1974, as
                     amended, pursuant to 5 U.RC. 552a(m).

           6.             A record related to an International Application filed under the Patent Cooperation Treaty in this system of records may be disclosed,
                     as a routine use, lo the International Bureau of ihe VVorld Intellectual Prape11y Organization, pursuant lo the Patent C o operation Treaty.

           6.             A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of National Security
                     review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 21 B(c)).

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           ..,            A record from this system of records may be disclosed, as a routine use, to the Administrator. General Services, or hislher designee,
                     during an inspection of records conducted by GS.A as part of that agency's responsibility to recommend improvements in records
                     management practices and programs, under auihority of 44 U.8.C. 2904 and 2906. Such disclosure shall be made in accordance with the
                     GSA regulations governing inspection of records for this purpose, and any other relevant {i.e., GSA or Commerce) directive. Such
                     disclosure shall not be used to make determinations about individuals.

           8,             A record from this system of records may be disclosed, as a routine use, to the public after either publication of the application pursuant!
                     to 35 U.S.C. 122\b) or issuance of a patent pursuant to 35 U.S.C. 15·1. Further, a record may be disclosed, subject to the limitations of 37 i
                     CFR 1. i4, as a routine use. to the public if the record was filed in an application whid1 became abandoned or in which the proceedings were!
                     terminated and which application is referenced by either a published application. an application open to public inspections or an issued        !
                     patent.                                                                                                                                                                                                                                                      i
           9.           A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law enforcement agency, if the
                     USPTO becomes aware of a violation or potential violation of law or regulation.
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       ATTOF.NEY'S DOCKET                                                                                                                                                                                                                 PATENT APPLICATION
           076533.0146

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                                                                                                                                MATCHING PROCESS SYSTEM AND METHOD


       RELATED
       _     ~..._                                           _......._,
                                                                                 APPLICATION
       ...... .............................................. ................................................................................................................................................


                                                          This application is a continuation-in-part of Serial
       No.                                               12/339,301,                                                                                                                         entitled                     "MATCHING   PROCESS          SYSTEM        AND
       METHOD," Attorney's Docket 076533.0130 filed December 19,
 5         20080
                                                          This                                                          application                                                                                claims       benefit   under            35     U.S.C.
           §                ll9(e)                                                                              to                                        U.S.                                                  Provisional       Application      Serial            No.
           61/793, 856'                                                                                                              entitled "SOCIAL M...2\TCHING SYSTEM AND METHOD,"
       Attorney s Docket 076533.0146, filed March 15, 2013.                                  1




10
           TECHNICAL FIELD
                                                           This                                                                   invention                                                                        relates       generally        to            computer
       matching                                                                                               systems                                                                                    and       more       particularly   to        a        matching
       process system and method.
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      ATTORNEY'S DOCKET                                                      PATENT APPLICATION
      07653300146




      BACKGROlJND
              Net\"JOrking        architectures              have       grown       increasingly
      complex in communications envirornnents.                                In recent years,
      a    series      of       protocols           and     configurations             have     been
 5    developed in order to accommodate a diverse group of end
      users    having        various         networking           needs.        Many    of    these
      architectures             have    gained       significant:            notoriety because
      they    can offer the benefits of                       automation,           convenience,
      management, and enhanced consumer selections.
lO            Certain network protocols                      may be          used   in order      to
      allow     an     end       user       to     conduct        an    on-line        search     of
      candidates to fill a given vacancy.                               These protocols may
      relate     to       job    searches,          person        finding      services,        real
      estate searches,             or on-line dating.                    While some believe
15    that on-line dating is simply a matter of matching supply
      and demand,          there       is    statistical and empirical evidence
      to   suggest         that    successful             on-line       dating      entails      far
      more.
              For example, people having similar and/or compatible
2O    character traits             and values             should be matched together.
      However,        effectively            linking        two    participants          together
      can prove to be a                challenging endeavor.                    Coordinating a
      relationship between two like-minded individuals can be a
      significant chore, as there are a number of obstacles and
25    barriers that must be overcome.
              One     problem          that        has     arisen        is     that     matching
      services a.re limited to searching for matches only within
      their     own    platform.                 Thus,     only    people       who    have     gone
      through       the     process         of    signing     up       for    the   service      are
30    searched for a match.                  One solution to this problem is to
      have     users        register                multiple           services.         This     is
      problematic           because          it      can     be        expensive       and      time
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      consuming for users.              Further,      the user must then visit
      all of the services to monitor the search progress:                                 this
      inefficiency may         cause        users    to    give    up    on    the       search
      process.
 5          l'~nother    problem is that the search results of these
      services      contain       many        irrelevant           entities          to     the
      searcher.      This      costs    the user of          the    service        time and
      may deter them from continuing through all of the search
      results.
10          P..nother    problem       is    that    large    numbers         of    unwanted
      communication requests can become a nuisance to the user.
      Too   many    nuisance       requests          may    deter       the     user       from
      further      use    of    the     s:/stern .         Users        with       the    most
      attractive profiles are oftentimes the ones that receive
15    the most unwanted attention,                   If the users with the most
      attractive profiles cease to use the system,                             the quality
      of the user pool deteriorates.
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      SUM!VlARY

              In    one         embodiment,              a    method            for   profile       matching
      comprises            receiving         a.    plurality               of    user      profiles,         each
      user profile comprising traits of a                                        respective user.                  It
 5    also    comprises               receiving          a       preference           indication          for       a
      first user profile of the plurality of user profiles.                                                       It
      further        comprises           determining                   a        potential        mat.ch      user
      profile       o.f.    the       plurality of                user      profiles based on the
      preference            indication             for       the   first          user profile.                The
lO    method also comprises presenting the potential match user
      profile to a second usero
              Receiving           a    preference                indication for              a    first      user
      profile        may        include            receiving               from       a     third       user        a
      recommendation of                 the        first         user profile              for    the     second
l5    user.        It may also include receiving from the second user
      a preference indication for the first user profile.                                                      The
      method may further include determining a score of a third
      user    profile            of     the        plurality               of    user      profiles          as     a
      potential match for the second user.                                        It may also include
20    altering the score of the third user pro.tile based on the
      preference indication for the first user profile.
              In another embodiment,                         a method for profile matching
      comprises            receiving          a    plurality               of    user      profiles,         each
      user profile comprising traits of a respective user,                                                     The
25    method further comprises receiving a                                        request for matches
      from a first user,                 the first user associated with a first
      user    profile.                 The        method         also       comprises            scoring          the
      plurality            of   user     profiles                for       potential        matching         with
      the    first         user based on comparisons of                                   the plurality of
30    user    profiles            with        the        first         user       profile,           It      also
      comprises            identifying              a        second         user          profile       of        the
      plurality of user profiles as a                                      potential match for                    the
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      first    user         based    on    the       scoring.           The    meth.od    further
      comprises         identifying            commonality         between      a     third     user
      profile of the plurality of user profiles and the second
      user     pro,,_iJ..e.
                    .f' '
                        ~
                                      In       addition,        the      method        comprises
 5    presenting to the first user the third user profile as a
      potential match for the first user.
              Depending         on       the     specific          features         implemented,
      particular embodiments may exhibit some,                                none,    or al1 of
      the    following        technical advantages.                     Various embodiments
10    may     be    capable         of     dynamically          updating         match       search
      results based on user activity.                          Some embodiments may be
      capable of enhancing match search results by reducing the
      impact       of   restrictive            user       preferences.           In    addition,
      some embodiments may provide the ability to evaluate the
15    attractiveness of potential matches.                              Various embodiments
      may     be   capab.1e      of       .importing        user    profiles          from     other
      social-networking               systems.             Some      embodiments          may     be
      capable      of       generating         the    pool    of    users      based      on    both
      explicit and implicit criteria derived from other socia.1
20    networking        systems.           Other      technical         advantages        will    be
      readily       apparent         to    one       skilled       in    the    art      from    the
      following figures,              description and claims.
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      BRIEF DESCRIPTION OF THE DRAWINGS
              Reference          is    novv' made           to    the       following        description
      taken        in    conjunct.ion             with          the        accompanying          drawings,
      wherein like reference numbers represent like parts,                                                 and
 5    which:
              FIGURE       :LA   is        an overview of                  one     embodiment         of    the
      matching system;
              FIGURE       lB    shows          the    contents             of    the     terminal         from

      FIGURE lA;
lO            FIGURE lC shows the contents of the matching server
      from FIGURE lA;
              FIGURE lD is a                   diagram of a database from FIGURE lC
      showing one embodiment of how a matching server stores a
      pool;
15            FIGURE lE is a diagram of the display from FIGURE lB
      showing       one        embodiment.            of        the    presentation              of    search
      results to a user;
              FIGURE 1.F is a diagram of the display .f.rom FIGURE lB
      showing one embodiment of the presentation o.f. details of
20    a match result entity to a user;
              FIGURE       2     is        a    diagram          depicting          how     a     user     may

      recommend an entity to another user,                                      in accordance with a
      particular embodiment;
              FIGURE 3 is a diagram of the display from FIGURE lB
25    depicting           hmv     the          user        may        be    ma.de        aware    of       fate
      characteristics                 the       user       shares           with     a     match       result
      entity,       in accordance with a particular embodiment;
              FIGURE       4     is    a       diagram          depicting          how    two    platforms
      may     be        searched        for       a    match,              in    accordance           with    a
30    particular embodiment;
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              FIGURE      5     is        a           flow    chart         indicating    hm-.;     a       result.
      list    may    be       generated,                 in    accordance          with       a    particular
      embodiment;
              FIGURE 6 shows one embodiment of the matching system
 5    displaying to a             user the profile information of.                                  a       second
      user;
              FIGURE 7         is a           diagram of                the     display   from      FIGURE        6
      showing the effect of a left swipe gesture;
              FIGURE      8     is a          diagram of                the     display   from      FIGURE 6
10    showing the effect of a right swipe gesture;
              FIGURE       9     shows                 the    matching           system    displaying             a
                          r,     .                                                        i' n           -
                                                                                                   accordance
      match of            ... irst:                     and    a    second user,
      with a particular embodiment;
              FIGURE       10     is              a    flowchart            depicting     a       method       for
l5    enabling communication between two users of                                             the matching
      system    of        FIGURE              l        based       on       a   mutual    expression            of
      approval,      :Ln accordance with a particular embodiment;
              FIGURE       ll        is           a     flowchart           depicting     a       method       for
      enabling communication betv·leen two users of                                           the matching
20    system    of     FIGURE             l           based    on       a   user   suggested            matching
      proposal,      in accordance with a particular embodiment; and
              FIGURES           12A··D                 depict           embodiments           of        a     user
      interface.
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      DETAILED DESCRIPTION
                 Referring to FIGURE lA,                        one embodiment of a matching
      system is shown.                    FIGURE lA is a simplified block diagram
      of     a     system           100    for        facilitating              an        on-line     dating
 5    scenario in a network environment.                                   In other embodiments,
      system 100 can be                   leveraged to                identify and to evaluate
      suitable             candidates                   in            other               areas           (e.g.
      hiring/employment,                    recruiting,                  real        estate,         general
      person           searches,          etc.).                lJsers     14        interact       with      a
10    matching server 20 through terminals 10.                                            FIGURE lB is a
      diagram          showing,           in     one        embodiment,              the     contents
      terminal J_ O •           Terminal lO comprises interface 16                                  {so t.ha.t
      user       14    may be         able       to    interact          with        terminal       10)    and
      display                       FIGURE       lC    is       a     diagram         showing,       in    one
15    embodiment,          the contents of matching server 20.                                      Matching
      server 20          comprises memory 26                        and at.      least one          CPU     28.
      Memory 26 may store multiple databases,                                        .such as databases
      26a        and    26b.         Terminal          10       and    matching           server     20     are
      communicatively                coupled          via       network         connections          22     and
20    network 24.
                 Users         14     are        clients,              customers,             prospective
      customers,          or en ti ties wishing- to participate                                   in an on-
      line         dating           scenario           and/or            to      view         information
      associated with other participants in the system.                                                Users
25    14 may also seek to access or to initiate a communication
      >N.1.th    other users              that    may be            delivered via            network        24.
      Users 14 may review data                         {such as profiles,                   for example)
      associated          with        other       users          in    order         to    make     matching
      decisions or elections.                          Data,        as used herein,               refers to
30    any type of numeric,                     voice,        video,        text,       or script data,
      or    any        other        suit.able         information               in    any     appropriate
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      format       that          may        be        communicated               from        one        point          to
      another.
              In    one         embodiment,               terminal          10    represents                 (and      is
      inclusive         of)       a    personal                computer         that    may        be       used       to
 5    access       network            24.            Alternatively,              terminal              10       may    be
      representative                  of             cellular          telephone,            an        electronic
      notebook,         a    laptop,             a    personal          digital        assistant                 {PDA),

      or any other suitable device                                  (wireless or otherwise:                          some
      of which can perform web browsing},                                       component,             or element
10    capable of            accessing one or more elements within system
      100.     Interface 16,                 which may be provided in conjunction
      with    the       it.ems         listed            above,       may       further       comprise                any
      suitable         interface             for          a    human        user       such       as        a    video
      camera,      a    microphone,                  a    keyboard,         a    mouse,       or any other
15    appropriate                 equipment                     according               to             particular
      configurations and arrangements,                                      In addition,                interface
      l6     may   be       a    un.ique             element          designed         specifically                   for

      communications involving system lOO.                                        Such an element may
      be     fabricated               or     produced                specifically             for           matching
20    applications involving a user,
              Disp.1ay           12,        in           one        embodiment,         is         a        computer
      monitor,          J'>.lternat..ively,                   display 12 may be a                      projector,
      speaker,          or       other               device          that       allows        user              l4     to
      appreciate information that system 100 transmits.
25            Network           24     is    a       communicative platform operable                                   to
      exchange         data          or     information                emanating         from           user          14.
      Network 24 could be a plain old telephone system                                                          (POTS) .

      Transmission of                  information emanating                       from       the           user may
      be assisted by management associated with matching server
30    20   or manually keyed into a                                  telephone or other suitable
      electronic            equipment.                   Tn    other embodiments,                      network         24

      could        be           any         packet              data        network            offering                 a
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           communications            interface      or        exchange          betv.ieen      any        t:wo

           nodes in system 100.              Network 24 may alt.ernative1y be any
           local        area    network      (LA..N) '        metropolitan             area     network
           (MAN) I      wide      area   network          (WAN) ,         wireless         local         area
    5      network       {WLAN)       virtual private network                     (VPN)       intranet,
           or   any      other       appropriate         architecture             or       system        that
           facilitates          communications           in     a    neL\•1or}::      or    telephonic
           environment,         including a        combination of                 any networks             or
           systems described above.                In various embodiments,                      network
10         connections 22 may include,                   but are not limited to,                     wired
           and/or       wireless      mediums     which         may        be    provisioned             with
           routers and firewalls.
                   Matching       server     20   is      operable          to     receive       and       to
           communicate          information         to         terminal          lO.           In        some
15         ernbod.iments,       matching server 20 may comprise a                             plurality
           of servers or other equipment,                       each performing different
           or the same functions in order to receive and communicate
           information          to    terminal     lO.              Matching          server    2O        may

           include        software       and/or          algorithms              to     achieve           the
~.n
.::. 'J    operations          for    processing,             communicating,               delivering,
           gathering,           uploading,        maintaining,                  and/or        generally
           managing data,            as described herein.                   A1ternatively,               such
           operat;ions and techniques may be achieved by any suitable
           hardware,           component,         device,             application                    .
                                                                                               spec1.,_.,_c
                                                                                                          ~ ~




25         integrated          circuit     {ASIC) ,           additional          software,          field
           programmable           gate     array          (FPGA},          server,          processor,
           algorithm,             erasable         programmable                    ROM         {EPROM),
           electrically erasable             programmable                 ROM    (EEPROM) ,         or    any
           other suitable object that is operable to facilitate such
30         operations.
                   In    some     embodiments,           user       14,     us:ing      terminal          10,
           registers       with       matching     server            20.         Registration             may
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      include user 14 submitting info:t.-ntation to matching server
      20    about        user      14    as       well    as           characteristics               user        14     is
      seeking to be matched with.                              Such information may include
      a    user handle,             which may be a                      combination of characters
 5    that       uniquely          identifies            user 14              to    matching server                    20.
      In     various           embodiments,               matching                  server           20     may         be
      configured           to       collect             this           information;             .for       example,
      matching           server       20     may     be       configured             to ask user                 1.4    to
      respond to a            series of questions.                            Matching server 20 may
10    be     configured            to       receive       the           information              submitted              by
      user       1.4    and create            a   profile              for user         l·~     based on that
      information,            storing the profile in memory 26.
                 As an example only,                    consider a             case •'-rhere user 14 is
      interested              in        participating                    in        an      on·-· line        dating
l5    scenario.            User 14           can access                 the    Internet via                terminal
      lO,    travel        to a         web site managed by matching server 20,
      and        begin     the      registration                   process.                As    part       of

      registration process,                       matching server 20 may ask user l4
      a     series       of     questions            which             identifies             characteristics
20    about       user     l4.          Thus,       matchJ.ng            server         20      may ask about
      the height,             weight,         age,       location,             and ethnicity of user
      14.          It    may       also       ask       about           the        birthp.lace,            parents,
      eating            habits,         activities,                    and         goals        of        user         14 .

      Matching           server         20        may     further              use      the      registration
25    process to discover what user 14 may be looking for in a
      match,           such as age,           weight,          height,              location,          ethnicity,
      diet,       education,            etc.            Further,             matching           server       20        may
      ask user 14 to indicate how important certain factors are
      when looking              for     a    match.            For example,                matching server
30    20 may allow              the      user       to    indicate which chaxacteristics
      in     a     potential            match           are        a     necessity.                  In     another
      example,          matching server 20 may ask,                                 "How important is it
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         that your match does not smoke?"                                 Matching ser\rer 20 may
         also      allow         the        user          to         indicate                 that        certain
         characteristics are                not     important              search cr.iter.ia,                    For
         ex:ample,    when asking user 14 about what height or weight
  5      user 14 is seeking in a match,                          matching server 20 may be
         configured to receive "not important,,- as a                                          response.          In
         yet another example, matching server 20 may allow user 14
         to rate which factors are important on a numerical scale,
         For    example,         matching           server       20        may          ask      user      14    the
         following:                        scale of                    n         how import.ant                is i t
10                           "On a                         l         l .,_, '
         that your match has the same education level as you?"                                                    In
         some embodiments, matching serv·er 20 may specify that any
         number      of      questions              or     requested                   descriptions              are
         necessary before              registration may                     be         concluded.           As    an
l5       example only, matching server 20 may require that user 14
         communicate         the      sex     of.    user        1.4       and          the      sex      user    14
         prefers      to     be       matched            with.             After            concluding           the
         registration        process,          matching              server            20     may       store    the
         responses of user 14 as a profile.                                     This same process may
2 ,_,
  '"'    be     repeated         by    several            different               users          14,      causing
         matching server 20 to contain a plurality of profiles.
                 FIGURE     lD     depicts          an    embodiment                   in   ·which matching
         server    20      has a      database           26a     which contains                     a    pool    30.

         Each entry in database                     26a has          a     pool entity 30a along
25       with     in.formation             concerning             that            entity.                 In     one
         embodiment,        each pool entity 30a-e represents a user and
         their profile.               In    some embodiments,                      not        all       registered
         users     are      in    pool       30.          As     discussed                  further        below,
         matching        server        20    may         use     a       selection               process         for
30       including         stored profiles                in     pool           3 O.        As      depicted       in
         FIGURE      lD,    in    this      embodiment,              the         collection of                 users
         and profiles        forms pool 30 through which matching server
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        20   may       perform          various           functions             such         as    searches              for
        matches.
                Matching            server          20      may          be     configured               to        search
        through        pool        3 O and         present           matches             to       user        l4.         In
  5     FIGURE                 one           embodiment              of        this          presentation                 is
        depicted         as    occurring             through             display          l2.            In    various
        embodiments,               matches           rnay       be        presented                to         user        14
        utilizing other communication schemes,                                          such as electronic
        messages         (i.e.,         e-mail)      or text messages                         (i.e.,      utilizing
J. 0    SMS).          In    the    depicted embodiment,                           a    result           list       3l    is
        presented. to user l4.                        A      match result entity 3la in a
        result     list 31 may be associated with a                                           view button 33.
        Using      interface             16,       user     J_.cb    may       request            that        matching
        server      20       provide          more        information                  about       an     entity          in
l5      result list 31 by pressing the associated view button 33.
        Matching server 20 may then communicate                                               to user 14 more
        information             about              that       entity               by         retrieving                 the
        information from memory 26.                                 In FIGURE lF, one embodiment
        of   information that matching server 20 provides for user
20      14   is    shown.           Using display 12,                         user J.4 views an entity
        from result list 3l.                       Matching server 20 may also provide
        user 14 with the ability to contact the entity through a
        contact         button          35.         In      one          embodiment,               when        contact
        button 35 is utilized by user 14,                                      matching server 20 may
25      provide        user        l4    vdth       contact              information              of     the       entity
        such      as     a    telephone             number           or       an       e-mail           address;          in
        another embodiment;                    matching             server         2 O may provide user
        l4   with       a     way       to    directly          contact            the       entity,           such as
        sending                 message              or       providing                  voice            or        video
30      communication               between          user           14    and          the     entity.               Even
        further,         matching            server        2 O may            be       configured             to    allow'
        user 14         to express             a    negative preference                           for    the entity
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       through dislike button 36.                               In one embodiment,                when,      for
       example,          dislike           button          36     is    utilized         by       user       14,
       matching server 20 may remove the entity from result list
       31;    in another embodiment,                       the entity may be removed from
 5     pool 30 of users from which matches are identified.
               As     an       example           only,          consider       that      user       14       has
       submitted           a        search        request          to     matching           server          20.
       Matching server 20                   may search through pool                         30,    identify
       results,       and communicate result                           list 31 to user l4 which
lO     would contain other users for whom matching server 20 had
       created       a     profile              and    who       were     identified           through         a
       search       and        selection          process.              Next,        user     14    may       be
       interested in learning more about                                 Jane     Doe,       entity Jla;
       thus,    user l4 would click view button 33 associated with
1.5    Jane Doe.           Matching server 20 would receive this request
       and respond by displaying Jane                                 Doe's profile            (stored in
       memory       26),        as        depicted         in     FIGURE        lF.         Next,        after
       reading        the           profile,          user       14     may     be     interested             in
       contacting J·ane                  Doe;    hence,         user    14    would click contact
20     button 35,              Matching server 20 would respond by allowing
       user    l4     enter          a    message          that    matching           server       20    would
       then communicate to Jane Doe.
               Hatching server 20 may even further be configured to
       allow    user           l4    to    store       a     match       result       entity;           in   one
25     embodiment,             the system may be configured to allow user 14
       to utilize          favorite             button 34         that will add the desired
       match        result          entity        into          another       list.           In    another
       embodiment,             utilizing favorite button 34 will remove the
       associated match result entity from result list 31,
30             As an example onl·y,                    user 14 may decide that he would
       like to save Jane Doe's profile so that he can review i t
       later.            User        14     may       click        favorite           button       34,       and
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      matching          server      20    may    respond            by    placing       Jane        Doe's
      profile      into a          separate      list.         Further,          matching server
      20    may also remove              Jane Doe         from user's            14    result           list
      31.     As    a    result,         user 14 may see another match result
 5    entity       populate         result       list      31.            This    is       beneficial
      because i t may focus user l•* on evaluating ne'.v entities
      rather        than          reevaluating            previously-known                    entities
      because the entities still appear                          ~n      result list 31.
             In     some          embodiments,         mat:chi:ng          server       20        may        be
10    configured to               generate      pool      30   by default             according              to
      various      characteristics              and     preferences              of    user       14     and
      other users of the system.                        Matching server 20 may also
      restrict entities from being included in pool 30 based on
      the status of the profile,                     or if user 14 has rejected or
l5    blocked an entity.                  Matching server 20 may also restrict
      entities from the pool that have blocked or rejected user
      14.         For     example,        matching         server          20    may       not      allow
      profiles that are not .in good standing to be included in
      pool 30.          In other embodiments, matching· server                               20    may be
20    co:nfigured to generate pool 30 by first                                   choosing seeds.
      Seeds include, but are not limited to, profiles that user
      14    has    sent       a   messag-e      to or profiles              that user             lA,    has
      expressed a          preference for"                Each seed is then compared
      to    other       entities         to   determine          which       entities         will           be
      included in pool 30.                    Any suitable method can be used to
      determine         which entities            are      included in pool                  30.         For
      example,          any       characteristics              or        algorithms          described
      herein may form the basis of                         such a          determination.                    As
      another       example,         a    commonality           score       may       be     generated
30    based on the comparison between each entity and the seed.
      In    some        embodiments,          this     commonality              score       can         be    a
      measure of how physica.J.ly similar the users are to each
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      other.        This score may be g·enerated based on the number
      of    users     that       have      expressed a                 positive         preference          for
      both the seed and the entity being compared.                                                This score
      may    also     be        generated            based    on        whether             the     seed    and
 5    entity have been viewed together in one session; further,
      the    more     times         the        seed     and      entity            have      been        viewed
      t:ogether,      the       larger the comrnonali ty score.                                   The    law of
      large       numbers        may       allow        for        a     vast          amount       of     such
      commonalities to be established over a few dayso                                                  Testing
lO    has revealed that using such commonality scoring methods
      has yielded at least one physical match for 80% of users
      whose profile has been viewed at least once,                                               and between
      6    and      1000    physical             matches         for         60%       of    users        whose
      profile nas been viewed at                           least once.                 :t-'latching server
15    20    may be further configured to allow entities that have
      a commonality score above a certain threshold to become a
      part     of    pool       30.         Matching          server          20       may        further    be
      configured           to    -..:i.pdate     pool      30.           In       some       embodiments,
      matching        server          20       may    do      so        by    creating             new     seed
20    entities based on activity by user 14,                                   such as indicating
      a    preference for that entity.                             Further,            matching server
      20    may     then    compare             the   chosen           seed entity                with    other
      profiles        stored          in       matching        server             20     and       determine
      whether those prof ilea will be included in pool 30 using
25    a     threshold       score          as    described              above.              At     least    one
      advantage realized by this embodiment is that user 14 is
      presented with updated potential matches which increases
      the     likelihood           of      user       14     finding          a        suitable          match.
      Another advantage present in certain embodiments is that
30    these updated potential matches have a greater likelihood
      of compatibility with user 14 since they are chosen based
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      on their commonality with entities user 14 has expressed
      a preference for.
              As an example only,                        consider the case in which user
      14 has registered,                     requested a              search,          and received from
 5    matching           server         20     results              list        31.        Thenr                user      14
      decides       to        contact         Jane       Doe        and        presses     contact                 button
      35.      Aside          from      providing              user        14    with      the         ability            to
      contact Jane Doe,                  matching server 20 will designate Jane
                   -r.; • ....
      Doe's    pro,_i_Le          as    a.    seed.            Matching          server           20           'Nill    then
10    compare       Jane         Doe's        profile           to    other          profiles                  stored     in
      memory     26       in      order       to     identify              other       users       who            may    be
      similar to Jane Doe and thus be a good match for user 14.
      In     this        example,            matching           server           20     will           generate            a
      commonality              score         for     each            of        these      comparisons                   and
15    compare        these         scores           to     a        preset       threshold,                       If     the
      commonality              score         is     lower            than        the      threshold,                    that
      profile       will         not    be added to pool                        30.       However,                 if    the
      commonaLi ty score i.s higher than the                                         threshold,                 matching
      server        20     will        add        this     profile              to     pool       30       o       As     an
20    example,       further assume that the seed,                                    Jane Doe,                 is being
      compared        to      ar1otl1.er       en ti t.y,           Susan       Smith.~           Based on               the
      fact    that        both         Susan        and        Jane        have       three        users               (Tom,
      Dick,    and Harry)              who have expressed a positive preference
      for     their           profiles,             matching               server        20       generates                a
25    commonality                score        of     lOO            for        the     comparison.                        In
      contrast,           matching             server           20        generated           a        commonality
      score    of        50      for     the       comparison              bet•,\l"een     the         seed            {Jane
      Doe)     and       yet       another          entity,               Lucy       Goosey.                   This      was
      because        on.ly        one        user        {Bob)        had       indicated              a        positive
30    preference           toward            both    Lucy           and        Jane.       Continuing                    the
      example,           matching             server           20         is    using         a        commonality
      threshold score of 70,                        which results in including Susan's
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      profile       (whose          commonality              score          was        greater      than       the
      threshold score)               in pool          30 and excluding Lucy's                             (whose
      commonality          score          was    less            than       the       threshold       score) .
      Thus,    user       14       gets    the    benefit              of    having more             en ti ties
 5    identified that may be good matches.
              In    some           embodiments,             matching              server       20     may       be
      configured          to        include       behavioral                 scales.               These      may
      include multi-item scales for materialism and gender-role
      traditionalism.                Such scales may provide the advantage of
10    improved       matching             through          deeper           appreciation             for       the
      personality of entities in the system.
              In    some           embodiments,             matchinq              server       20     may       be
      configured       to          analyze      profile            text          for    categories,             It
      may     search       for        a     number           of        text        strings          and       then
      associate the profile with any number of categories.                                                      As
      an example only,                matching         server 20 may add any profile
      co    the     Cat     category            whose            text       contains          any        of    the
      following strings:


20                    "cat" "cats" "cat." "cats." "cat," ftcats,"


      Matching       server          20    may        be     configured                to   make     it       more
      likely       that        a    profile           will        be        in    a     result       list       if
      categories           associated                 with         the           profile           are        also
25    categories .found in the user's profile who submitted the
      search request.
              Matching server 20 may be configured to analyze one
      or more portions of the text of an entity's profile and
      generate a       readability score that may be used in various
3O    ways,    such as in the process of searching· for matches for
      user    14.         In       some    embodiments,                 matching·           server       20    may
      analyze       factors          such       as,    but         not       limited         to;      average
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       number of words per sentence,                           total number of words with
       greater than three                   syllables,         and total       number of           words
       in the profile.                 Matching server 20 may also concatenate
       all     of    the      collected             responses         with     a     single        space
 5     between       them.             It     may        further      break        the     text     into
       sentences,        words,         and syllables.                From these statistics,
       matching server 20 may also be configured to generate a
       readability            score         by,     in    one      embodiment,            taking     the
       average      of     the      Flesch          Kincaid       Reading       Ease       test,     the
1O     Flesch       Kincaid        Gr a.de        Level       test,    and     the       Gunning     Fox
       score.            Other          embod.iments            may     utilize           any      other
       combination            of   these          or      other       tests    to        determine     a
       readability score.                    In some embodiments,               analyses may be
       used to determine the IQ of an entity,                                the grade level of
1.5    the writing,           or how nervous the entity generally is.                                 An
       advantage         of     this        embodiment          may     be    that        the     system
       provides          user          14     with        a     metric         for        determining
       approximate intelligence of other users.                                    The readability
       score may be used,                   for example,           in the matching process
20     to identify potential matches.
               As an example only,                     the Flesch Kincaid Reading Ease
       score may be generated by first                             computing the            following
       intermediate score!


25              206. 835 -         ( J_. 015 *       [Average Words per Sentence]}
                         ( 84. 6   *    [Average Syllables per Word] )


       Then,    the Flesch Kincaid Reading Ease score is determined
       by using the following table:
30
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         <    100                                                                                              4

         <    9l                                                                                               5

         <    8l                                                                                               6

         <    7l


         : -:-:- -· · · · ·-· · · · · -· · · · . . . . . . - - - - -~ --- r~~~::::: :                                                                                                  ::==::===~
         ~ ~~==::                                    ==:: ==:==-:= ==-\~~ : =::==:===:==~-===:=:=~:: 1
     ·---~~-........................"·························c··········-·····················--·----------~--------------~-----·------------·--------·-·······-···············-························--·--------f
     t   < 0                                                                                                I l4                                                                                                    l

     t~1 ~~                                                                  ::=--==:=:E~::                                                                                       :::=----~:=::I
         The          Flesch Kincaid Grade Level may be                                                                                           computed according
         to the following:


 5           ( O. 3 9           *       [Average Words Per Sentence] ) +                                                                                ( 11. 8             * [lwerage
                                                            Syllables Per Word])                                                      - 15.59


         The Gunning· Fox score may be computed according to the
         following:
lO
                 [Average Words Per Sentence]                                                                         +       ( {[Number Of Words With
                   More Than 3 Syllables]                                                            I       [NtMber of Words In Entire
                                                                          Text J ) + 1 OO ) }                                  *      O. 4



l5       As         indicated,                             any             suitable                         tests may be utilized in any
         suitable manner to determine a readability score.
                          In            some                 embodiments,                                     matching                           server                                    may              be
         configured                              to         a11ow                  a       user                to          interact                        with                the            result.
         list                 of            another                         user.                           Matching                            server                      20            may               be
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       configured          to     allow         a    user        to    express           a    preference              .for
       entities       within           a     result         list       of        another          user,      and       to
       indicate       to     the       other user of                  this preference.                      Thus,       a
       user may        be    able          to    get       advice           f rem   a    friend            regarding
 5     what other users may constitute good matches for the user
       and thus be able to find a better match.
              As     an     example          only,         consider              FIGURES          lA and        FIGURE
       2.      Two     users           14,      Harry        and        Sally,          are        connected           to
       matching server 20 via terminals 10.                                         Display l2a is used
J.O    by    Harry     while          display         l2b        is    used by           Sally,            rviatching
       server 20 allows Sally to view Harry's result list 31 on
       her    terminal            in       display          l2b.             By     press:i.ng             recommend
       button       3 7,    Sally          may       indicate           a    preference              for        one    or
       more    of     the        entities            in    result           list       3l.         Assume        Sally
l5     presses       recommend               button         37        associated             with        Jane        Loe.
       After doing so,                 matching            server 20              will       notify Harry of
       Sally's       preference.                     On    Harry's            display             12a,      matching
       server        20      will            cause          notif icat.ion                   39     to       appear,
       associating           it        with         Jane     Loe.                Notification               39       will
20     indicate to Harry that Sally has                                     recommended Jane Loe as
       a    potential        match.                 Harry        may        find       Sally's           preference
       helpful       in     determining                which          en t i ties        he       should        pursue
       further       if,        for        example,         he        believes          Sally        understands
       the type of person he is looking for.
25            In      or1e        embodiment,               matching                server            "
                                                                                                    2 V'    may        be
       configured           to    analyze            the    profiles              of    both        user        14    and
       the entities in pool 30 for keywords.                                           Matching server 20
       may be       configured to                   search through                  the profile             of       user
       14    for keyv·mrds             that         relate to things such as activities
30     and    interests.               Matching            server           20    may    generate           a    score
       for each entity in pool                            30 based on a                 comparison between
       the    list     of        keywords            found       in     user's          14        profile        and    a
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      similarly-generated                         list          of    keywords             of    each           entity       in
      pool       30.          In     one         embodiment,                  this     is        accomplished               by
      storing          a    list        of       words          in    memory          26,       and    using           it    to
      identify             keywords              in       the        searched         profiles.                  In     some
 5    embodiments,                identified keywords                           ma'{ be used as                   a    means
      of    weighting·             various                scores.               As    an        example          only,        a

      profile that contains the word "God" may be weighted much
      differently                than        a    profile                which       has        merely          indicated
      that their religious preference is Christian.                                                         In various
10    embodiments,                this may provide an advantage to user l4                                                   in
      that user 1.4                is     able        to determine                   how similar he/she                      is
      with       a         potential             match.                  In     addition,              the        keyword
      analysis             may     be     used            by    the       system       when        searching                and
      identifying matches for a user.
15           As        an    example             only,          consider             two    registered                users,
      Harry       and        Sally,          both          of    whom          have    profiles                 stored       in
      matching             server         20.             Matching             server       20     then          analyzes
      each       of        these        profiles               by     comparing             it    to        a     list       of
      predefined keywords.                            Matching server 20                         then associates
20    each    word           tha.t      ·matched               the       list    of    keywords                 with    each
      profile.              Now assume that Harry performs a                                      search.              While
      fulfilling             Harry's             query,              matching         server           20       evaluates
      Sally's profile for                         inclusion in Harry's result                                    list 31.
      This    evaluation                  includes              comparing            the        list    of       keywords
25    found in Harry's profile to the keywords found in Sally's
      profile.              The more keywords                         that Harry and Sally have in
      common,          the       more        li.kely           i t will         be    that matching                   server
      20    will           include        Sally's              profile          in    Harry's           result          list
      3l.

30            In           some      embodiments,                     matching             server        20       may        be
      configured             to      impute           a    level          of    physical          attractiveness
      to    an       entity          in      pool          30.           Matching           server          20        may    be
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      configured to monitor how frequent                              an entity in pool 30
      has been viewed as well as how many times that entity has
      been part of a               result list in order to                      impute the level
      of    physical          attractiveness.                  Matching             server        20     may
 5    further be          configured to g·enerate a                       score based on this
      data.        Further,         in some embodiments,                      matching server 20
      may impute physical attractiveness to an entity based on
      the     imputed          physical        attractiveness                  scores        of        at.her
      entities.           Matching server 2 O may compute an average of
10    the   imputed physical              attractiveness                  scores      of   the         other
      entities       weighted by the              commonality score between each
      of the other entities and the present entity.                                          Empirical
      data indicates that people are more likely to match with
      people       of        similar      attractiveness.                        Thus,       in         many
15    embodiments,           a user may obtain an advantage in that they
      are     able      to    be     presented       with       potential            matches           that,
      according         to    one     measurement,             are    as       attractive         as     the
      user.
              As     an      example     only,       consider             a     registered             user,
20    Sally, whose profile was created by matching server 20 in
      January.               Since     that     time,          matching             server        20     has
      recorded the number of times Sally's profile has appeared
      in    any      user's        result      list       31;        assume         that     this        has
      occurred 10 times.                Further,          matching server 20 has also
25    recorded       the      number of        times       a    user has            viewed Sally's
      profile        by       clicking        view    button              33     associated             with
      Sally's profile;               assume    that this             has       happened 5          times.
      In    this     manner,          matching       server          20       has    constructed            a
      ratio that represents the imputed physical attractiveness
30    of Sally's profile.                Still further,                assume that Harry,                   a
      registered user,               .now submits a query.                     Matching server 20
      has     evaluated        the     irnputed      physical          attractiveness                  ratio
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      of Harry's profile.                       When evaluating Sally's profile for
      inclusion          in       result    list       3l    returned to Harry,              matching
      server            20         will         compare         the         imputed          physical
      attractiveness                of    Sal.l.y' s    profile       and    Harry's         profile,
 5    The    more       similar           the     ratios      associated       'Nith    Harry       and
      Sally's profiles are to each other,                             the more likely i t is
      that    Sally's profile will be selected by matching server
      20 to be in Harry's result list 31.                                  In another example,
      assume       that Sally's profile has not been registered long
lO    enough        to        generate            a     meaningful          imputed          pl1ysical
      attractiveness                ratio.             Matching-      server            may         then
      generate          an    imputed        physical         attractiveness          score       based
      on entities that Sally does have commonality scores with,
      This computed average may be weighted by the strength of
l5    the commonality score between Sally and each entity with
      whom     she       has        a     commonality          score.          Continuing            the
      example,       assume             that Sa1.ly has a            commonality score of              5
      with    Lucy       and       10     with     Julia.          When    matching     server        2O
      computes the Sally's average,                           it will give tvdce as much
20    weight       to    Julia's          imputed       physical          attractiveness          score
      than to Lucy's.
              In     some          embodiments,             matching       server      20     may
      configured             to    make      an       entity    in    result     list        31   more
      appealing to user 14 by pointing out coincidences in the
25    profile data that                   give lrner l4        a     sense of    fate        with the
      entity.           In        one    embodiment,         matching       server      20    may     be
      configured             to    search       for    similar       initials,      birthplaces,
      birth    dates,             birth month,          birth year,          university,          first
      names,       last       names,        user       handles,       parental      occupations,
30    and keywords to identify users who may give another user
      a   sense     of       fate .        In other embodiments,               matching server
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      20 may use          the    fate       characteristics as a                    metric       in the
      matching process.
              As     an     example          on1y,          assume         that         Harry     is   a
      registered          user     who       has     performed             a     search.          After
 5    matching server 20               returns          a   result         list,       Harry chooses
      to    learn more          about       one    of       the    en t i ties      in    the    result
      list and clicks view button 33.                             Consider FIGURE 3,              which
      is only an example of information that matching server 20
      may    return to Harry after clicking view button 33.                                            In
10    Harry's       display 12,            matching         server         20    presents       certain
      details       about        the       profile.               In   part:icularl            matching
      server 20 presents to Harry a                          fate notification 32 which
      points       out    specific         similarities between the profile
      the     entity         and           Harry's          profile.                Reading        fate
l5    notification 32 gives Harry a                          sense of           familiaxity which
      enhances his appreciation for the profile.
              In another example,                 fate characteristics may be used
      to    decide       whether       a    profile         in     pool     30     is    included      in
      user's       14     result       list       3l.         Assume            that     Harry    is    a
20    registered          user    who       has    submitted           a       matching        query   to
      matching server 20.                   While determining which entities to
      include       in     Barry's           result         list,       matching          server       20

      considers two profiles:                     Sally and Roxy.                  Sa Ll.y and Harry
      both have the same birth date,                         initials,           and have parents
25    that 'Work in the same profession.                               In contrast,            Roxy and
      Harry only share the same birth place.                                      Matching server
      20 may be configured to award more points to Sally than
      to Roxy based on these comparisons, making i t more likely
      that    Sally's profile will be                        included in Harry's                 result
30    list.
              In    some        embodiments,            matching            server        20    may    be
      configured to evaluate the likelihood of contact between
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      user 14 and an entity in pool 30.                                       Matching server 20 may
      be configured to compare demographic data between user 14
      and    pool       entity        30a.              In    another           embodiment,             matching
      server       20    may      be      configured               t:.o       weigh    the     demographic
 5    similarities and differences based on the sex of user 14.
      The demographic data may include,                                       but is not limited to,
      age,    education, ethnicity,                          income,          and location.
              As an example only,                        assume       that Harry and Sally are
      registered users who have profiles in matching server 20,
10    Harry .has         submitted a                search request                to matching              server
      20.      While       fulfi11ing               this       request,           matching             server    20
      evaluates          Sally's          profile            since        her    profile           is    in    pool
      30.     As part of the evaluation,                              matching server 20 looks
      at the differences between Harry and Sally's stated age,
l5    income,       education,                ethnicity,             and        location.                In    this
      example,          Harry        is       lO        years      older          than       Sally,           makes
      $10, 000      more       per     year,            and has           a    Master's      degree           while
      Sally        has     a      bachelor's                  degree.                 Even     with           these
      dispa.rities,        matching server 20 will give Sally's profile
20    a     high    score       v..r.t1icl1    rnakes         it   more          lik.e1y     that         Sall}7 ; s
      profile will appear in Harry's result list.                                              However,          if
      it     was    Sally        who          submitted            the         search,       ;:u1d      matching
      server       20    was      evaluating                 Harry• s          profile,        a        different
      score is possible.                      So,       if it were Sally who was lO years
25    older,       made     $10,000            more          per   year,         and     had       a    Master's
      degree       while       Harry           had       a     Bachelorts             degree,           matching
      server       2 O would           give         a    low       score         to    Harry's           profile,
      making       it    less      likely           that       his        profile      vmuld appear              in
      Sally's           result        list,                  Matching            server        20        may     be
30    configured this way because empirical data has shown that
      these    demographic                differences              do         not hav·e      an equivalent
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      effect       on        the        choices          men       and    women         make         regarding
      matches.
              In    another             embodiment,                matching        ser<.rer      20    may    be
      configured t:o compare the locations of user 14 and pool
      entity       30a       in    increments of                   ten miles.           In     yet another
      embodiment,            matching server 20 may be configured to score
      the location comparison in light of other factors;                                                 as an
      example, matching system 20 may be configured to return a
      score    consistent                V•.rith    a    10    mile       difference            in    location
10    even though there is a 50 mile difference between user 14
      and pool entity 30a if user 14                                 and pool entity 30a have
      the     same        income,             education,            and     age.           An        advantage
      realized          in        several           embodiments             lS       that        it     better
      approximates                how    a     user        evaluates        entities.                 Entities
15    that live further away are generally less appealing to a
      user;    but,          users       may still be                interested           if     the    entity
      matches their preferences in other categories.
              As     an       example             only·,      consider         a    registered           user,
      Harry,       who       submits          a    search          request.          While       fulf i1ling
20    this request, matching server 20 examines Sally's profile
      in pool       30,       and determines that the stated locations of
      Harry's        and           Sally's              profiles         are       13     miles         apart.
      Matching server                   20    will g·ive Sally's profile a                            score as
      if     the     distance                 betvveen         them       were       only        10     miles.
25    However,          in     yet           another       example,         Sally's            profile        may
      indicate       that          she lives 50 miles away from Harry.                                    Yet,
      matching server 20 also notes                                 that both Harry and Sally
      make    $100,000 per year,                         have Master's degrees,                       and that
      Harry    and           Sally       are       one     year       apart        in     age        (Harry    is
30    older)             Given          these        similarities,             matching          server        2O
      will    give       a    score          to Sally's profile                    that    is    consistent
      with a       20     mile          difference            in    location        even though           they
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      are    actually               50   miles          apart.       In    this       manner,         matching
      server         20    takes          into      account        empirical          data       that       shows
      that people searching for matches who indicate that                                                    the~:{

      want     to     see           matches         who     live     close       to       them    are       still
 5    willing         to pursue               a    potential match that                   lives       far    away
      if    the potential match fits                             very closely with the other
      search criteria.
              In      another            embodiment,              matching        server         20     may     be
      configured to evaluate the age difference between user 14
10    and    pool         entity          30a using             ranges     as    well       as    a     sliding
      scale.         By way of example only, matching server 20 may be
      configured               to    assign         a    high value         to       an   age    difference
      between O and -5,                   while assigning a                 lower value to an age
      difference between +2 and 0.                                 PJl   even lower value may be
15    assigned            to    an age            difference        between          -6    and    -8.        Even
      lower values would be assigned incrementally as                                                  the    age
      difference               increases            outside        of     the        ranges      discussed.
      The higher the assigned value is,                                   the more likely i t will
      be    that pool entity 30a will be                                 included in result                  list
20    31.     Yet another embodiment may apply this cornbination of
      ranges         and a          sliding scale but use different values and
      ranges depending on the sex of user 14 .
              .lis    an example only,                     consider a       situation in which a
      registered                user,             Harry,        requests         a        search        to      be
25    per fo:r:med.                 While          fulfil.ling           this     request,            matching
      server         20    evaluates               Sally's        profile,       which        was     in pool
      30.        As        part          of       the     evaluation,           matching          server        20
      compares the ages of Harry and Sally,                                      and determines              that
      Harry      is       two years               older     than Sally;          this       determination
3O    leads      t.o matching                 server       20     assigning,          in this         example,
      50    points         to        Sally's            profile.         Matching          server       2 O may
      also be configured to assign 50 points to Sally's profile
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      had she been five years younger than Harry;                                               but,       if       she
      had     been       up     to         two    years        older       than       Harry,             matching
      server 20 may have been configured t.o assign 40 points to
      her      prof.ile.                   Matching        server           20       may        be        further
 5    configured to assign 30 points to Sally's profile if she
      was 6       to 8        years younger than Harry.                              However,            if Sally
      were        more        than         8    years    younger           than       Harry,             matching
      server        20        may         be    configured        to       further          decrease                the
      number of points assigned to her profile:                                              if she was               9
10    years        younger,               then    25     points;          if     she        was      10        years
      younger,           20    points;            if    she     was        ll    years          younger,             15
      points;        et.c.                The     more     points           assigned            to        Sally's
      profile,           the    more           likely     it     is       that       her     profile            will
      appear in Harry's result .,i l.S .......             ·~
                                                                      Thus,      matching server 20
15    mcty    be     configured                  to     assign        a     score          based          on        age
      difference          using            a    combination of             ranges          and       a    sliding
      scale,
              In     another              example,       matching          server          20     may      assign
      scores differently if i t v.·as Sally who was searching and
20    if     i t was      Harry's profile that was being evaluated,                                                  In
      this        example,          matching           server     20       may       be     configured               to
      assign Harry's profile 50 points if he were between l                                                         and
      5    years older than her.                         If     he were          6   to 8       years older
      than her, matching server 20 may assign 45 points.                                                       If he
25    were greater than 8 years older than her,                                           n1atching server
      20     may assign points in the following .fashion:                                            i f he was
      9 years older,                 40 points would be assigned;                            if he was 10
      years older,             35         points would be assigned;                        etc.          However,
      if     he    was    up        t.o    two years          younger          than Sally,               1natching
30    server        20    may        ass:tgn      50     points       to       his    pro.file.             If       he
      were more than two years younger,                                   matching server 20 may
      assign less points on a                           sliding       scale~           45    points            if    he
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      were    3        years     younger,        40    points        if     he    were     4    years
      younger,          etc.       The     more        points         assigned       to     Harry's
      profile,         the more like it is that his profile will appear
      in    Sally's       result        list:.         This       example    illustrates             how
      matching server 20 may be configured to take                                    the sex of
      user        14     into      account            when        scoring        based     on        age
      differences.
              In       various    embodiments,              matching       server     20       may     be
      configured to evaluate the attractiveness of an entity in
10    pool 30 through collected feedback from other users.                                             In
      one embodiment,             matching server 2 O may present an entity
      to user 14,          prompting user 14 to rate the attractiveness
      of    the entity on a             scale      from       '      9.
      the advantage of having a                       midpoint.           Matching server 20
15    may    further be configured to collect such responses                                         and
      store       them;     in    one     embodiment,             matching       server        20    may
      store       the    da.ta    in memory 26,              using a       structure       such as
      database                    Matching            server         20     may     further            be
      configured t.o compute                the       average of          such responses              for
20    the    entity,       and store           this     number as         well.       In       various
      embodiments,          these values may be used in order to help in
      the    matching          process.           Empirical           data       indicates          that
      people       are    more     likely        to match with people                 of       similar
      attractiveness.                  Thus,      in        various       embodiments,           users
25    whose       attractiver1ess          ra_t,ir1g        are     similar       vvill    be       mo1:"'e

      likely to appear in each other's result list.                                   Further,           a
      user may indicate that                     they only want. profiles                  in their
      result list whose average attractiveness rating is higher
      than an indicated threshold.
30            As       an example       only,      assume         registered user,              Harry,
      uses     terminal          10,     which         in     this     example       is        Harry's
      personal          computer,        and      establishes             communication             with
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       matching server 20.                       In this example,             this communication
       occurs by Harry using a Web browser to access a Web page
       controlled         by         matching           server         20.           Sometime          after
       visiting         the       Web   page,          matching        server        20     may     present
 5     Harry with an option to rate the physical attractiveness
       of other users registered with matching server 20.                                              Using
       display l2 and interface 16,                            Harry may view profiles of
       registered users                 and rank them on a                    scale of          l       9   by
       entering the values us.ing interface                                l6;     in this example,
1.0    .interface 16 comprises a mouse and/or a keyboard.                                              .r-,,fter
       submitting this rating, matching server 20 will associate
       it   with    the           profile        and    st.ore       it.      Matching          server      2O

       will   also       allow          other      users        to     rate       prof :U.es,        thereby
       collecting             a     plurality             of         rankings         for       profiles.
l5     Matching server 20 may use this data when trying to find
       matches for users.                   One example of this is t:hat matching
       server      20    may        allow user           14     to    specify that he/she                   is
       searching for profiles which have an average rating of 6
       or above.        In turn, matching server 20 may populate user's
20     l4   result       list        from        the    pool     only        with profiles             whose
       average rating is at: 6 or above.                                  Another example of how
       matching server 20 may use                             this data involves making it
       more likely that an entity will appear in a user's result
       list if the entity and that user have a                                       similar average
25     attractiveness               rating.             So,     if    a    user      has       an    average
       rating of 6,               then an entity with an average rating of 5
       may be more                lik:ely to appear in the user's                           result       list
       than an entity with an average rating of 2.
              In        another          example,              assume        that         Harry       is      a

30     registered         user          and       has     requested           a     search.            While
       fulfilling         this          request,         matching          server         20    evaluates
       Sally's profile"                  J',.s    part    of     this       evaluation,             matching-
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      server 20 notices that Sally's profile contains                                                         feedback
      from    other          users          ranking       the        attractiveness                      of    Sally's
      profile.              Matching         server       20,        in this example,                         averages
      that data; Sally's profile average is 6.                                                Matching server
 5    20     may     then          examine          Harry's              profile              to     determine           a
      similar average.                      If Harry's profile has an average close
      to 6,    i t will be more likely that matching server 20 will
      include        Sally's            profile           in       Harry's           result              list.          If
      Harry's profile average is lower than 6,                                                i t will be less
10    likely that             Sally's profile will                            be    included             in Harry's
      result list.                 If Harry's profile average is greater than
      6,    i t will be even less                    likely that Sally's profile will
      be    included          in       Harry's       result           1ist.               The       more       Harry' s
      profile       average            deviates       from that. of                   Sally's,                the    less
15    likely       it       will       be    that    matching              server             20    will       present
      Sally's profile in Harry's result list.
              In     some          embodiments,                matching              server            20      may      be
      configured             to    analyze          profile           information                   and       received
      activity          in.formation           to    construct                 "pairs"             V<'hich     link at
20    least                   profiles.               These               pairings                 may        also      be
      associated with                  a.    value    that           ascertains                the       q1.1ality      of
      the pairing.                 For example,                a    pairing which results                            from
      one     user       viewing             the    profile              of        another          user         may    be
      assi·:=1ned       a     value          that     is           less       than        a        pairing          which
25    results from a               first user viewing the pro.file o.t a second
      user     when          the       second       user           has     also       viewed               the      f. irst
      user's        pro.fi1e.                 Matching              server           20       may        use        these
      pairings in order t.o generate search results for entities
      within and outside of                         the    pairing.                  Each member of                    the
3O    pair may be used as                      a    seed entity for generating search
      results        for      users          in     matching              server          20.            In    various
      embodiments,                an    advantage          may           be    realized               as      matching
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      server 20 anal·yzes many of these pairs to develop dynamic
      results       to        users        of     the     S'-./St~ernt             the        results           being
      potentially more relevant as matching server 20 leverages
      the    interaction             between       users          and          profiles               to     generate
 5    search results.
              Pairs may be formed from a variety of user activity
      received          by     matching           server          2 nv   <         This           activity          may
      include:           profile          views,     mutual                  profile          views,          one-way
      double            blind            communication,                       mutual                  double-blind
10    communication,            declining double blind communication,                                               one
      way wink,         mutual wink,             expressing disinterest in response
      to     :receiving         a        wink,     one       way              favorite,                and     mutual
      favorite.              Other suitable activity may also be                                             received
      by     matching          server        20     and       utilized                  as        a     basis       for
15    generating pairs.
              For example,               Harry may be a                  registered user \.Y'ho ha.s
      expressed          a    positive           preference                  for     Sally.                  Matching
      server       20    may        be    configured          to             generate             a    pair     which
      includes Harry and Sally,                         Matching server 20 may utilize
20    this    pair when providing search results                                             to       other    users.
      Betty     may          have        requested        matches,                 and        Betty           may    be
      similar to Sally.                    M~atching         server 20 may present Harry
      in Betty's result list as a result of the pairing between
      Harry and Sal J_y.                 Further,       Jim may have executed a                                search
25    and Jim may             be     si.milar      to     Harry.                As       a    result          of    the
      pairing      between Sally and Harry,                                  matching server 20 may
      present Sally in Jim's list of search results.
              In    some        embodiments,              matching                 server              20     may    be
      configured to encourage user 14 to interact with entities
30    in pool 30.              For example,          matching server 2 0 may present
      a    list of       limited entities from pool 30 to user 14,                                                  but
      not    present          other        en ti ties        to      user          14        unless          user    14
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      interacts with the already presented en ti ties.                                                   Possible
      interaction with these entities may include viewing more
      information              regarding        the       entity,          expressing               a    positive
      or     negative          preference           for        the       entity,       and      choosing             to
 5    contact the entity.                     Other suitable forms of interaction
      may        also    be     utilized.               For    example,          matching               server       20

      may        prompt       the   u.ser     with        a       question       about          the          list    of
      entities,           such      as     asking        whether          or     not      the       user       likes
      the entity.               Responses to such prompts may include "yes,n
10    "may.be, ''         "no, "         "remove , ''          and                        other."                   'The

      presented              en t i ties     m2;y       be     chosen          using       a     variety             of
      methods.               For    example,            the       presented          entities                may     be
      chosen based on various                           scoring algorithms                     as       described
      above.            In     addition,         presented               entities         may           be    chosen
15    using predictive analysis,                             such as logistical regression.
      Other        techniques may be                    used to          determine         the          presented
      entities.              For example,           entities that have been presented
      previously may be excluded.                              As 2,nother example,                      entities
      that have been blocked by user 14 may also be excluded.
20    I 1.., various embodiments,                   a    combination of these techniques
      as     well       as    others       may be         used       to    determine            the          limited
      number of entities presented to user 14.
                 For example,              Harry may be              a    registered user of                        the
      matching system.                   Matching server 20 may be configured to
25    present to Harry a                    list of five entities that Harry must
      interact           with.           Once       Harry         has      interacted            with          these
      entities,              matching         server           20        may     present            five        more
      ent.i ties        for      Harry to           interact         with.         Previously,                 Harry
      has blocked Sally,                   another registered user of the system.
3O    l-~s   a    result,        matching           server          2o    may    exclude            Sally       from
      being        presented         to     Harry        .in      the     list     of     five          entities.
      Further,          Harry has already interacted                             'Ni th   Betty,             another
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      registered user of                the     system:             Harry sent a message to
      Betty utilizing matching server 20.                                        As    a    result,       Betty
      will    be     excluded        from       being          presented              to    Harry     in    the
      list     of    five       entities"                Matching           server           20    may     then
 5    choose two of            the   five entities using scoring algorithms
      described        above.           For      example,           matching               server     20    may
      choose Alice and Amy to be presented in the list of five
      entities because Alice and l>cmy have received high scores
      when     their      profiles          were         compared           to        Harry's       profile.
10    Matching        server         20       rnay       choose            the        remaining           three
      entities       using       predictive              analysis,               According           to    this
      example,       matching server 20 may use logistical regression
      to identify Carla,                Christi,             and Camela as the other three
      entities       to     present        to      Harry.           Thus,             in    this    example,
l5    Harry     is     presented           with          a     list        of     five        entitJ_es      by

      matching       server       20"       Matching server 2 O may not present
      another set of             five      entities            until Harry has                    interacted
      with these five entities.                          Harry may interact with these
      entities       in a       variety of            ways.           For example,                 Harry may
20    send a        message      to Al.ice           and send a                 "wink"       to Amy.         In
      addition,       Harry may choose to view more information about
      Carla's        profile,           but        express            a     negative              preference
      towards       Christi       and       Came la.            After           matching           server    20
      receives       these       types        of     interaction                with        the    presented
25    five     entities,          another            set       of         five        entities        may    be
      presented to Harry.
              In    this       example,         matching server 2 O may further be
      configured          to    process         the          user   interaction               provided       by

      Harry.          For      example,          matching             server           20     may     utilize
30    Alice's        profile         as     a      seed        entity            to        generate       other
      possible entities to present to Harry since Harry sent a
      message to l\lice.                  T11us,     a       benefit        is    fx·orn prese1;.tir1g        a
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      the     five      entities             to     Harry        in     that        the       interaction
      between        Harry      and          these    entities              may     be       utilized      by
      matching          server          20     to     g-enerate             other        entities          for
      matching         to    Harry.           This     serves          as     an     example         of    how
 5    preferences may be identified based on user beha\dor.
              In     FIGURE        4,    one        embodiment          is     disclosed             wherein
      matching         server 20,            with pool           30,    may be           configured to
      interact with another plat.form,                           such as social networking
      platform 50,           containing a set 52 of users.                                   Users 14 are
lO    communicatively coupled to matching server 20 and social
      networking plat.form 50.                       Matching server 20 may further
      be     configured         to       provide        users           of     social          networking
      platform 50 a service by which they may search for users
      within set 52 or within pool 30 using the algorithms and
l5    processing of matching server 20.                                Matching server 20 may
      even    further         be     configured         to        allow       users           of    matching
      server 20 to search through pool 30 and set 52.                                               Matching
      server 20 may be configured to parse the profiles of the
      entities          in     set       52!         collecting              data        and        applying
20    algorithms.
              In     another        embodiment,             matching           server          20    may    be
      configured            to allow users of                social networking platform
      50     to    interact         with          matching        server           20     using       social
      networking            platform          50.       This           level         of       integration


      sign up for a different platform.
              Social         networking           platform            50,    in     one       embodiment,
      may    be    a    service          which       stores           profiles          of     its    users.
      This service may be further configured to provide access
30    to     the       stored      profiles.                In        one    embodiment,              social
      net\.vorking platform 50 may also allo;,..· other services                                            to
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      interact           with       users    of     social       networking·            platform
      through social networking platform 50.
              In     one        embodime:nt,           matching                         20      may     be
      configured           to       collect       requests          from      users       of     social
 5    networking platform 50 and perform a                               search through pool
      30     and     set        52.        Matching         server       20       may     further       be
      configured           to    present         the    results        of     this      search        from
      within social networking platform 50.                                 Matching server 20
      may     further          be     configured         to    present         entities         in     the
10    search result              from pool         30 as       if   they were entities
      set     52;    in     one       embodiment,           matching         server       20    may     be
      configured to generate profiles of entities from pool 30
      i:nto set 52.              Thus,      users of social networking platfo:t"TI1
      50    may view           all    of    the    entities         in      the    search       result,
15    regardless          of     their      source       (either       from pool           30          set
      52),    within the environment of social networking platform
      50.
              As an example only,                  consider two users:                    Harry,       for
      whom matching server 20 has created a profile,                                      and Sally,
20    who    has     a    profile          stored      in     social     networking            p.1.atform
      50.     From within social networking platform 50,                                       matching
      server        20    presents          to    Sally       the    ability         to      perform     a
      search which Sally uses.                         The results of this search are
      presented to Sally within social networking platform 50.
25    In this example,                Harry's profile is displayed to Sal-1.y as
      a     search       result       along       with other         entities           from     set    52
      though Harry's profile was from pool 30.                                    In this example,
      matching           server 2 O uses           the      algorithms         discussed herein
      and searches through the profiles stored in pool                                           30 and
30    set    52.         In order          to display Harry's profile                        to Sally,
      matching server 20 creates a profile in set 52 using the
      data stored in Harry's profile in pool 30.                                     Sally is then
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       able    to        interact               with    this         newly       created        profile          from
       within social netvvorking platform 50                                       in    the     same manner
       as she is other entities in set 52.
               In     another             embodiment,                matching       server           20    may     be
 5     configured             to     allow           its    users        to      interact        with       social
       networking             platform            50    through matching                 server           20.      In
       one    embodiment,                matching            server        20     supplements             pool     30
       with    set        52.        In         yet    another          embodiment.,        entities             from
       set 52 appear as entities of pool 30 to the user in their
:to    list     of        search         results.                In     one      embodiment,              matching
       server 20 may be                     configured to generate profiles                                 within
       pool     30        from       entities              of    set       52;     the     system          may     be
       configured              to    do         so     through          capabilities            provided           by
       social        networking                 platform          50,      such    as      an    application
l5     programming interface.
               As an example only,                         consider tv.·o us.-9rs: Harry,                       whose
       profile is stored in matching server 20,                                          and Sally, whose
       profile           is     stored            in       social        networking         platform              50.
       Harry     submits             a     search          request         to     matching           server        n .
                                                                                                                  2v

20     Matching           server         2 v"    may       return       result      list        3l    to    Harry,
       which,        in       this       example,           contains          an entity representing
       Sally's profile.                         Matching .server 20 may accomplish this
       by    creating           profiles              in pool         30    that    correspond to                 the
       profiles found in set 52.                                 Once these profiles have been
25     imported into pool 30, matching server 20 may then search
       through        pool          30 _         While          doing      so,     matching           server       20
       applies           the        algorithms              and         scores      discussed              herein.
       Thus,        in        this       example,               matching         se:rver       2O     has        been
       configured to both search and apply scoring algorithms to
30     entities in pool 30 and set 52.                                     Further,       in one example,
       Harry is not able to distinguish that Sally's profile was
       originally              stored            in        social        networking         platform              50.
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      Rat.her,     matching             server           20     presents          Sally's              profile        in
      the     same      manner          as     other           profiles          stored        in         pool       30.

      Thus,    in this example,                      Harry may use favorite button 34,
      view    button          33,       and     contact             button       35     when        interacting
 5    with     Sally's         profile              in        the    same        manner       as         described
      above.
              One advanta_ge present in various embodiments is that
      a    user    has    a    wider pool                 of    entities           to    seaxch through,
      ]',.not.her advantage is that a user does not have to sign up
10    with     several         platforms                 to    search       through           the         users       on
      those platforms.
              FIGURE 5         is a          flowchart              illustrating one embodiment
      of    how    result           list.      3l    may        be    generated.                   At     step       62,
      matching server 20 genera_tes pool 30,                                      as described above.
15    At    step 64,          matching server 20                      applies a           filter to pool
      30,     removin·3        certain              entities;          in        various           embodiments,
      this    filter          is    based           on    user's       14        own    sex        and        the    sex
      user 14 desires to be matched with.                                        At step 66,              matching
      server 20 may be                  configured              to apply algorithms                           to pool
20    30    that     will          generate          a        plurality          of     scores            for       ea.ch
      entity in pool                30.        In one           embodiment,             these algorithms
      may     include         analyzing             the        text    of        the    profiles              of     the
      entities       in       pool        30        to    generate           a     readability                 score,
      determining         how attractive                       an    entity of           pool            30    is,    or
25    measuring· ho·w likely i t                         is    that user l4 will                        contact an
      entity of pool 30.                     At step 68,              matching server 20 may be
      configured to collect all of the scores from step 66;                                                           in
      one    embodiment.,            matching             server       20    may use           database              26b
      to    st.ore      all        of     these          scores.                   step       '7,...
                                                                                               I   \Ji    matching
30    server       20     may           be      configured             to         apply            an     ordering
      algorithm          which            will           determine          the         order            in     which
      entities in result. list 31 are presented to user 14.                                                           In
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                                                                                                                                                      40


          one                     embodiment,                                                      this                        orderin·::l                                         algorithm                                                  is                   based,                                      in
          part,                          on the scoring algorithms applied at step 66.                                                                                                                                                                                                                  The
          ordering                                          algorithm                                            assigns                                     points                                      to                   each                            entity                                     and
          orders                                them                        based                           on                these                            values,                                        constructing                                                              result
5          list                       31.                           An                embodiment                                               of                 this                          ordering                                            algorithm                                                  is
          summarized in the following table:




                result entity has                                                                                                                               +16777216
          expressed a preference for
          the user


        _ ;_;_~~~;-~~~:.~---~~~----:. .~.~~~.:~~----~.r-. . . . I
          Match result

          User has viewed the details
                                                                                                ty has been                                                     +8388608 ·-·-------------·--······::::_·-·····-··_:::::·.i,,:'
                                                                                                                                                           1...........................................
                                                                                                                                                                +2097152
                                                                                                                                                                                                                           ~- - - - - - - - ·-·- · - · · · - ·- · ·                            ...... ······· .... .
                                                                                                                                                                                                                                                                                                                            [
        -~! t~~ t ~!s;i~"!.~d~~iil~s                                                                                                                       1.··+·i·04--s·5·7--5..............................................................................!
    1 commonality                                                      with an entitv                                                                                                                                                                                                                                        l
    ! user has expressed a                                                                                                              .,                 I                                                                                                                                                                I
    !preference for                                                                                                                                        I                                                                                                                                                                I

    1
    1
    .:~~:?:~-~i:::~:~~~~:::::~E~_::::~i~e··--~~~~;:~:~~?.~-~:~::J::i.:~:~:§_::::::·.::«««:::::::::::::::::::::~:::::::::::::::
           Both have the same beliefs
    ::~~-~~~-,_._._---------------·-···········••H••'°'°''°'"''•••>••••••••••••••••••••••••••••••-•••••••>•>>>>•••._._._._._

    l Sa.me answer for Build
                                                                                                                               . ::::~::::::::::::::::: . . . :::~:~::::j
                                                                                                                                                          1+1638•1.:
                                                                                                                                                             ........... .., _ _ _ _ _ _ . . . . . . . . . . . . . , •• , , , , _ . , , ___________ •••••••••••••'•••"•••-•••-•••-.-........... ._._._._._._._.....


                                                                                                                                                           j........................
                                                                                                                                                               +64                                                                                                                              !
                                                                                                                                                                                                                                                                                                                      --,.---!

                          . . . . . . . . _._....
    t····~·:·······-----~-----~~---------:··--·---·----------------·~:~·;:                                                ~---·······-·········--                                    -----------------·-------------.-.-. . . . . . . . . . . . . ,. . . . . . . . . . . . ---·-····--···--···-1
                                                                                                                                                                                                                                                                            ~-~-.

                                                                       for                                                                                     +1
    : Same an...,.'le:r
    1··ii;t:h:----Ea:v-e----t:t1-e-----9·a:1:n;;····C1Ie·t···-··-············-··-~·-·+4---
                                                                                           Ce>.~
                                                                                                                                                                         .................-..................._. ___......................................................-.--1:
    ·--!~~-~:~:~~-~-t~~-~?3~~~-~:~- ~-~-- --------------·-···r·+-i31o7·2-·································-·······«·-·····-·
                                                                                                                    1
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                                                                                                                                                                                                                                                                                                                             1
        __ alc_~~'.'.?.;~-----··························-···············-··················--------------·.....ti . .+1024
    [Same answer for Ethnicity
                                                                                                                     . . . . . . . . . . . . . . . . . . . . . . . . . . -.. . . . . . . . . . . . . . . . . ._ _ _ _ _ _ _ _ _ ;~
    f««~-~~i:::·~:~i~i~-~::.::f::~_E::.~~--~-!-.:::::~::::::-.::::-.::::-.-.:-__-_-_-_-_-_[_:;_:_·~.-~I:::::::::::::::::=_:_~::=:.-.-.:-.·..·.-.-.-.-. : : ......:-.:·-.: : : :-.: : : :-.-.-........-.-.:·::j
    j Same                          answer for Hair                                                                                                         l +2
    :---------··························-·······-···············-·················----·---------······.····----·--·--·--+·--··--···································-········· .............................._._ .....·-----·--·--------·······




    ~i~iiliiiiiii~i~~~~~tiiii::~=-~~~~~ ~ :~:=~~-~: ~ I
    ~-•••••••••••••••···--------·----------.-_....._._._._._ ... ._._._._._._._._._._._._._._._.,._._._._._._ _ _ ,,,_.,.~._._,,,,, . . . . . . . . . . . . . +••••••••••••••••··----·----•• -••-.-.-0••••••••-..•••.._._._._ ••-•-·-·••••••••••••••••••n«••••--••••••••••••••••••••:

    ~Same       answer for "pets"       ~ +65536
        ....................................,......~-.--------·--·············--···············;-. ......................... __.____________________....-{.................................................... ------·······--····--···--------------.------------------------------------...................::
                                                                                                                                                                                                                                                                                                                             j
           Same answer for politics     l +8192
        <<<•<<«»<•••••••••••••••••••••••••••••••••••••••••·-.-•• -•••-•• -.-.~•:-...-._._._._._._._._._ ..... ._._._._._._._.__._~_-.•••••••••H•••H••••<!<«><'°'°"''<""'""'"••••••••••••••••••••••••-•••••··········._._._._., ............_._~----••••••••-->><><•••••••
                                                                                                                                                                                                                                                                                                                             i
           Same answer for relationshio i +O
           status                       i                                                                                                         A




    L~~~~~::::~~~:;~~-.~~~~::x~~~::::~~-.~~~~~-~~~~;····::::::~J::~:~:r:~::::-.:::::-.:-.::~_:::~:,::::::·.-.:·.-.:-.·:-.:-.:-.::::::::::::::·::::~:::~:~:~:::::::::::::::: .
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      Same answer for sports                                  +8
      interests
                                                              +4096


              As   an        example       only,          consider            a   registered          user,
      Harry,       who        desires          to        perform          a       search.         Before
      processing the              requ~est,     matching server 20 may ask Harry
 5    what sex he is and what sex does he desire to be matched
      with;    in this example,                 Harry responds that he is a male
      seeking      a    female.           After          doing          so,   matching         server    20
      will generate pool 30 as described above.                                       Next, matching
      server 20 will apply a                    filter to remove certain entities
lO    from pool 30.               In this example, all males will be removed
      from pool         30       since Harry is seeking a                         female,       Further,
      all females seeking females will be removed from pool 30
      since Harry is a male.                    In other examples, other entities
      that are removed from pool 30 include entities that Harry
15    has     expressed            a     negative          preference              for      before,      or
      entities         that       have    ex:pressed           a    negative          preference        for
      Harry.       After pool 30 has been filtered,                                 matching server
      20     applies         a     'V"ariety        of     scoring            algorithms         to     the
      entities         remaining          in    pool          30.         These       algorithms        may
20    account      for various             comparisons                  such as      those      based on
      readability,            likelihood            to    contact,            fate,      and    keywords
      described above,                   Matching server 20 will then tabulate
      these scores,              storing them,            in this example,                  in database
      26b.     Matching server 20 will then determine what order
25    these    entities            are     presented               to    Harry      by   applying        an
      ordering algorithm.                  Here, matching server 20 assigns one
      ordering score to each entity by examining the results of
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      the scoring algorithms.                      After doing so,                matching server
      will present result list 31 to Harry,                                where the order of
      the entities that appear in the result                                 l~st       is based on
      the ordering algorithm.                         In this example,            it is possible
 5    for    result         list    3l     to     change,          Consider        another          user,
      Sally,      who       appears        in     Harry's         result     list.            If    Harry
      decides to add her into a separate list                               b~{    using favorite
      button 34,        Sally will be removed from result list 31                                        (as
      described above) .                However,        Sally will also become a seed
10    entity from which entities may be                               added to pool                30    (as
      described above) ,                  Hence,      matching server 20 will update
      the      pool,         apply         the        filters,           appl.y     the         scoring
      algorithms,            tabulate           the     results,         apply      the       ordering
      algorithm,            and     update         result         list     3l.          As      another
15    example,         an    entity        may     update         their    profile         which        can
      change      result           list     31.         For       example,        assume        Sally's
      profile had an ordering algorithm score                                    that placed her
      within the top 20 entities in result list 31.                                       Sally then
      changes her prof :Ll.e which results                          in keywords that match
20    Harry's      profile          being        added       to   her     profile.            Matching
      server      20    will       then update           her      scoring     algorithms,                 In
      this example,           the change in Sally's profile and resulting
      increase          in        keyword         matches          with      I-Iarry-( s        profile
      significantly               increased           her      score,            This        was        then
25    reflected         in        the     ordering           algorith;n      as     it        was       also
      applied      to        the    updated           profile.            Afterwards,           Sally's
      profile is now placed within the top 5 entities in result
      list 31.
             In    some        embodiments,              matching          server        20     may       be
30    configured to receive required characteristics from user
      1A    regarding a           match.         User 14 may be allowed to specify
      such        restrictions                  based          upon        any          number            of
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      characteristics,                    including             those       described           herein.       For
      example,        matching server 20 may allow user 14 to specify
      that entities that indicate they have children should not
      be    displayed.                   In       another       example,       user        14    may    specify
 5    that only entities between the ages                                       of    20    and 30        should
      be    present            in        result          list        31.      In     some        embodiments,
      matching         server             20      may      implement          these    restrictions             in
      step     64     of        FIGURE             5.      In       other     embodiments,             however,
      matching server 20 may refuse to apply these restrictions
10    to   certain entities                        based on the              characteristics of                the
      entities.            Jl.....r1y   number of characteristics,                      including those
      described herein,                       may       form the basis upon which matching
      server 20 decides not to apply the restrictions submitted
      by user 14,                   As an example only,                      matching server 2 O may
15    ignore        the     restrictions                  if    the        entity has a          high enough
      attractiveness                    rating.            In another          example,          though       user
      14 has        requested that no profiles which are located more
      than 50 miles                     away should be present                     in result           list    31,
      matching         server                20     may        include       such     profiles          because
20    those     profiles                 have           over    5    matching        keywords,          a     high
      attractiveness                    rating,          and    have        specified       the    same       life
      goa~ts    as     user             14.        Thus,        in    some    embodiments,             matching
      server        20 may              ref.use         to apply restrictions                   submitted by
      user     l4     based             on     any       combination          of    characteristics             or
25    algorithms.
               An     advantage                present          in     many    embodiments             is     that
      through taking                    into account various                   factors          when scoring
      potential matches and using only very few strict filters,
      a    large amount of result entities may be returned to the
30    usero         £.,. further             advantage is that the ordering algorithm
      will     put     the          most          relevant          search    results       first,          saving
      the user time.
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              FIGURES        6- 9   depict        embodiments             of    a    user        interface
      presented to users of the matching system discussed above
      with     respect        to     FIGURES       l     and        4.      According             to     some

      embodiments,           users     14    interact              with     matching         server        20
 5    through         interface        16     presented              by     terminal             10.       In
      addition         to    the     embodiments              of     interface         16    described
      above     in     relation       to     FIGURE           lA,    interface         16        may     also
      comprise a         touch screen interface operable to detect and
      receive touch input such as a. tap or a swiping gesture.
10            In      some    embodiments,          matching              server     20     may        import
      profiles         from       other     social           networking             systems.             This
      level of integration provides the advantage of users only
      having to update their profile information in one place.
      For    example,         when     user        14        updates       his      profile            within
l5    social networking platform 50, matching ser,rer 20 is also
      able to access the updated profile information.
              In some embodiments,                 matching server 20 may further
      be configured,              as part of the user registration process,
      to     lirtlt    to     a     user's        existing           profile         within            social
20    networking            platform        50.          Matching           server          20     may     be
      configured to parse the profiles of the users in set 52,
                   collecting         data        and        applying          algorithms.                For
      example,        matching server 20 may use explicit signals from
      social       networking         platform           50        such    as       common        friends,
25    common          interests,          common         network,              location,           gender,
      sexuality,         or age       to evaluate              potential            matches        between
      users      14.         Matching        server           20     may    also       use        implicit
      sig·nals such as for whom a user 14 expresses approval and
      disapproval,                Implicit        signals           may    also      include           facial
30    recognition            algorithms       to       detect        ethnicity,           hair         color,
      eye color,            etc.,    of prof .iles            that user 14 has expressed
      interest in.
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             In     particular           embodiments,                matching                   server       20       may
      have users 14 to link their user profiles to an existing
      profile within social net.working platform 50.                                                       Matching
      server 20 may be configured to generate and add profiles
 5    to    user     profile          pool    30        from       entities              of       set.      52;       the
      system      may be         configured to                do     so    l:hrm.Igh              cap.:tbilities
      provided       by     social       networking                platform              50,       such          as   an
      appl icat:Lon         programming             interface"                    One            advantage             of
      linking        is      that        matching              server             20            can        use        the
lO    authentication              features          provided              by          social          net.working
      platform       50.         For     example,             creating            a     user          profile          on
      matching       server        20    containing             false          information becomes
      harder        when     the        information                must        come              from       another
      verifiable           and    peer        monitored              source              such         as         social
15    networking platform 50.
             In some embodiments,                       matching server 20 may allm•1 a
      user 14 to propose a match bet.ween two of his connections
      within social networking platform 50.                                       F'or example, Harry
      may    be     friends        with      both        Bob       and     Sally                within           social
20    networking platform 50.                       Harry believes Bob and Sally are
      a    good match and             therefore           instructs matching server 20
      to create a match between the two users :Ln user profile
      pool    30.     Once matched,                 matching server 20 allows Harry
      and Sally to communicate with each other.
25           In      some        embodiments,             matching             server                 20    may        be
      configured            to        apply         a     relevance                    algorithm                  which
      determines l:he content and order in which matching server
      20    display~s      poten,tial         mat.cl1es         to    l.1se1:--       i ..a ~     A        relevance
      algorithm       may        be     based       on        both    explicit                   and        implicit
30    signals        from         user        l4.              Explicit                signals               include
      information           entered          by     user       14     as          part           of        its     user
      profile,       such as .height,                   weight,       age,            location,              income,
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      and        ethnicity.                   Explicit           signals               may       also        include
      information about the characteristics user 14                                                     is seeking
      in    a    match,        such       as    gender,           hair              color,       eye    color,       or
      occupation.           Explicit signals may also be entered by user
 5    14 as part of a                search request.                       For example,             user l4 may
      request       matching             server       20        limit           the    pool       of     potential
      matches       to those users within a                                fixed geographic region,
      Matching       server              20     is    operable                 to     compare           geographic
      posit.ions associated with the plurality of user profiles
10    in     user     profile             pool        30        with           a     geo9Taphic             posit.ion
      associated           with          user        14.          Explicit                  signals          may     be
      imported       from        a       social       networking                    platform       50,      such     as
      the       number of        shared entities                  in a              social graph of user
      14.       Implicit signals may be based on the behavior of user
15    14    either        within          system       100       or        other          social        networking
      platforms          50.          For       example,          i.f          user        14    has     expressed
      disapproval          of        a        user    profile                  in    the        past,       matching
      server 20 may no                   longer present                    the        disapproved of user
      profile        to    user           14     in    future                  searches.               In    various
20    embodiments,             matching              server       20            may       be     configured          t.o

      evaluate       the       attractiveness                    of        a       user     in    user       profile
      pool 30 through collected feedback from other users.                                                         For
      example,       matching server 20 may rank a                                        user profile that
      receives more likes as more relevant than a                                                 user profile
25    tbat       receives        fewer          likes.            In           particular          embodiments,
      matching       ser<,rer         20       may    assign           a        higher          relevance       to    a
      user profile if the other user has previously expressed a
      preference          for        user      14.         As    an        examp.l e,           user     Harry may
      have       previously           expressed            a     preference                 for    user       Sally.
30    If    Sa.l1y    requests             a    set    of       user           profiles          from       matching
      server       20,     and       Harry's          user profile                    is       included       in   the
      set,      matching server 20 may assign Harry's user profile a
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      higher        relevance          based         on    h.1.s     expression             of    preference
      for     Sally.            This       can      result           in    Harry 1 s        profile             being
      presented           to       Sally       sooner           than       otherwise             would           have
      occurred.             This       may       be       advantageous                in     that          it     can
 5    increase        the       chances        of     a    match          without          compromising              a
      user is       feelings         of     privacy            when        expressing            preferences
      for    potential             matches.               In    some       embodiments,                matching
      server         20        may        be         configured              to        use        the            fate
      characteristics as a metric in the relevance algorithm.
10            In     some          embodiments,             terminal          l nv     is       operable           to
      determine           its        own       geographic                 location          by             global
      positioning           satellite            navigational               system     0         Terminal          10

      may     also       determine             its    own          geographic              location          using
      eel lphone ···based            triangulation                   techniques,                Wi-Fi        based
15    positioning·             system,         Global          Positioning             Satellite                (GPS}
      system,        or        network         addresses              assigned             by     a     service
      provider.
              FIGURE           6     shows        one          embodiment              of        system           100
      displaying to a                user the profile information of a                                      second
20    user.         Mat.ching         server         20        may    be    configured             to      search
      through its plurality of                            profiles         and present                suggested
      matches to user 14.                      In FIGURE 6,                one embodiment of this
      presentation is depicted as occurring through the display
      o:E   terminal 10.               In this embodiment,                    a plurality of user
25    profiles        is       presented         to       user       14.       Using         terminal             l nv'

      user     14    may       request         that        matching          server         20    present            a
      subset        of     users       from          user       profile           pool       30       based        on
      specified           search       parameters.                   The     display            may     show       an
      image of a           suggested user and one or more aspects of the
30    suggested            user's           profile                information.                       In         some
      embodiments,             the     comb.inat.ion             of       image      and        one     or       more
      aspects of profile information is displayed as                                                  "card''       88
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      representing                the    suggested             user.            A     set      of    suggested
      users may be displayed as stack of cards 88.                                                User l4 may
      view     i:nforrnation regarding one                              suggested user at                  a    time
      or more than one of the suggested users at a                                                time.         User
 5    :14    may       be        presented          with           a     summary          of       information
      regarding a             suggested user.                      The summary may include one
      or     more           of·     a     picture,                 an         icon,       name,       location
      inf orrna.t ion,            gender,       physical                 attributes,              hobbies,          or
      other profile information.
10            In       some       embodiments,            terminal              10    may      also       display
      "information"               button 84          which allows user 14                           to request
      matching             server        20      to           retrieve              and      display            more
      information             about      the     presented                user        from     user       profile
      pool     30.          In    addition,          user          14    may express              approval          or
15    disapproval for a presented user.                                       Expressing approval or
      disapproval can be accomplished through various methods.
      For     example,            terminal          10    may           display        "like"        button         86
      (represented by a                  green heart icon)                      and "dislike"              button
      82    (represented .by a                 red "X" icon) "                   Pressing like button
20    86    indicates to matching server 20 that user :14 approves
      0£    and is interested in communication with the presented
      user.           Pressing dislike button 82                              indicates that user 14
      disapproves of a.nd does not want to communicate with the
      presented            user.         The    approval                preference           of     user       14   is
25    anonyrnous            in    that     matching                server        20    does         not    inform
      users      14        v;hether other users                        have    expressed approval                   or
      disapproval for them.
              J>,.S   an example,           consider two registered users,                                     Harry
      and Sally,            both of whom             ha~.re        profiles stored in matching
30    server          20.          Harry       is        at        a     restaurant            and    requests
      matching serve.r 20 t:o present him users within a one·-·mile
      radius          of    his    location.              Matching              server       20     compares         a
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      geographic              position               associated               v;ith       Sally           with      a
      geographic             position associated wit.h Harry.                                    If      Sally is
      currently          within                the        one-mile          radius         of       Barry         and
      matching       server             20          determines          her        profile          information
 5    matches       Haxry' s             preferences,                  matching          server           20     will
      present       Harry           one        or        more        aspects       of    Bally' s         profile
      information.                   If        other          users         also        meet        the        search
      criteria,          matching              server           20    will     present          one       or     more
      aspects       of        those            usersi         profile         information             as        well,
10    Harry        may        request               more        information              about        Sally        by
      pressing information button 84.                                      Harry may also indicate
      nis    preference              to         communicate                directly       with        Sally        by
      selecting like button 86,                                 In another example,                   Harry may
      expand his             search            to    a    tv,renty-f i ve       mile      radius          to     meet
15    people in his town, not just his immediate vicinity.
              FIGURES          7    a.n.d      8    are diagrams              of    embodiments of                the
      display from FIGURE 6                          showing· the effect of a                        left swipe
      gesture        {FIGURE             '7)        and       the     effect        of    a     right           swipe
      gesture       (FIGURE             8}               In   one      embodiment,             users       l4     may
20    navigate       throug·h             the        set      of     presented          users       by     swiping
      through       stack          of       cards         88.         Users    14       may     also       express
      approval of a                presented user by performing a                                   right swipe
      gesture or express disapproval by performing a                                                 left swipe
      gesture.           In some embodiments,                         user l4 performs a                   swiping
25    gesture       by        moving            a        finger       or    other        suitable              object
      across a       screen of terminal 10.                                 Other suitable gestures
      or manners             of     interacting                 with       terminal       10    may       be     used
      (e.g"        tapping on portions of a screen of terminal lO}.
              In    some           embodiments,                 matching       server          20     creates       a
30    match    between              two         users         JA      after     both       users          14     have
      expressed          a    preference                  for      each     other 1 s      profiles             using
      like    button           86       or      the       swiping          gesture        associated             with
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      like button 86.              When matching server 20 creates a match,
      it may also provide the matched users 'Hith the ability to
      contact      each other             through       a       contact             but ton,            In    some
      embodiments,        when a          match is created,                     matching server 20
 5    may~   irnmed.iatel~y·       {or soon thereafter)                    present an optior1 to
      users      14      that       have     been           matched                 to     engage            in
      communication session                 (e.g.,          a    ch.at,     an           SMS       message,        an
      e-mail,      a    telephone call,            a    voice communication session,
      a    video       communication         session) .                This              may       be   done       in
lO    response to a           first user l4 expressing a preference for a
      second     user     l4       that    has    already            expressed                 a    preference
      for the first user 14.
              FIGURE 9 shows one embodiment of matching system lOO
      displaying a           match of a          first user and a                        second user,              in
15    accordance with a particular embodiment.                                           Matching server
      20 may provide first user 14 and second user 14 with each
      other's contact information such as a                                 telephone number or
      an     e-mail     address.          Matching          server         20       may        also     provide
      both     first     and       second    users          14       vdth       a        way       to   directly
20    contact the other,                such as sending a message or providing
      voice or video communication bet<...,>een the first and second
      user.        In   some       embodiments,             direct         communication may be
      initiated         by      pressing          't~se1i.d      a     Message"                    button         92.
      Alternati·vely,          a   user may choose to continue browsing the
25    set of presented users by pressing                               "Keep Playing"                     button
      94.
              For example,          user Harry may indicate a preference to
      communicate         directly         with        user       Sa11y         by        selecting           like
      button 86.          At this point,               Sally is not aware that Harry
30    expressed a         preference         for       her.           If    Sally also                  requests
      matching         server      20     present       her       with          a        set       of   possible
      matches,         Harry may appear in her set.                                  Sally may select
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      like button 86               {or perform a:_n associated swiping gesture)
      when    viewing          Harryi s                profile.           Matching        server        2 O may
      then notify both Harry and Sally that                                        a    match occurred.
      At    this point,            both Harry and Sally are made aware                                     that
 5    they    each        expressed                approval          of     each       other 1 s       profile.
      !:<latching        server      20            then        enables       Harry        and      Sally       to
      directly       communicate                   with        each       other        {e.g.,      through      a
      private chat interface) .
             In      some        embodiments,                   one       advantage         of     a     system
lO    disclosing          preferences                   of   profiles        to    users        when mutual
      approval has occurred is that a user can feel more secure
      in their privacy knowing                               that     their preferences                will    be
      disclosed to             those      that           have       expressed a           pref ere nee        for
      that user.           As an example,                     a user can avoid embarrassnwnt
l5    if    their    expression of                      preference          for    a    profile was not
      reciprocated.                 This           may        lead     to    users        more         actively
      expressing          their      preferences"                         Such    increased            activity
      can    be     used       by    the               matching       system       to      generate        more
      potentia_l          matches                 or     better           rankings         of      potential
20    matches.           In some embodiments,                         matching server 20 may be
      configured          to       allow           direct       communication              beti:Heen      users
      when    there       has       been           a    mutual        expression          of     preference.
      This     may        be       advantageous                     because        users         can      avoid
      browsingf          deleting, or responding to unwanted messages.
25           FIGURE         lO      is        a        flowchart          depicting        a     method       for
      enabling communication between two users of                                              the matching
      system        of    FIGURE          l        based        on     a    mutual         expression          of
      approv·a 1,        in accordance with a particular ernbodiment.
             At     step       1002,          in        some    embodiments,            matching         server
      20    generates          a    set           of     user       profiles       in     response        to    a
      request for matching from a                              first user lA.               At step l004,
      matching       server 20 presents                         the       set of       user profiles           to
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      first        user     14.            Matching          server           20     determines          t.f1e
      contents       and     ordering           of     the     set       of    users       profiles       by
      using,       e.g.,    the relevance algorithms described above in
      the discussion of FIGURE 4.                        For example, matching server
 5    20 may only include user profiles whose contents indicate
      location within a specified geographical radius and order
      the     presentation            of       those     user        profiles         based        on    the
      number of mutual friends in common with first user l4.
              At    step     l006,       in some embodiments,                        matching server
10    20 receives an indication of the preference of first user
      14    regarding a           presented user profile,                            Matching server
      20    determines           if     first         user     14    expresses             approval       or
      disapproval of             the presented user profile at step 1008.
      If    first      user       l4       disapproves              of    the        presented          user
15    profile       then     a    match          is    not     made       and,        at    step    1016,
      matching server 20 will not                            allow communication bet•,veen
      the two users,               If      first      user 14 expresses approval for
      the    presented user                profile       at.   slep       1008,        then matching
      server 20 will check if second user 14 represented by the
20    presented user profile has already expressed a preference
      for first       user 14 at step 1010.                              If matching server 20
      detects a       mutual          expression of approval then a match is
      made between first                 and second users                     14.     Then,       at step
      l012,    matching           server         20    allows        private          communications
25    between        first        and          second        users                     If          mutual
      expression of approval is not detected at step 1010, then
      matching server 20 stores the preference of first user l4
      regarding            the        presented          user            profile           for     future
      comparison           and     continues            to     step           1016    •;,-1here   private
30    communications are not yet al.lowed.
              FIGURE        11    is       a    flowchart           depicting          a    method       for
      enabling communication between t'"'JO users of the matching·
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      system of FIGURE l                    based on a matching proposal suggested
      by      a    user,        in    accordance             with a        particular             embodiment,
      .r-~t   step        1102,       matching          server        20       receives       interactions
      from first user 14.                         Interactions from first user 14 may
 5    include            identification                of     user        profiles          for    two        other
      users         l4.        For        example,       Harry is          connected to both Bob
      and         Sa.lly within             social       network::ing           platform          50.         Harry
      believes Bob and Sally are                               a    good match for                 each other
      and         generates           a    matching           proposal          requesting              matching
10    server 20 to create a match between Bob and Sally.
                  At    step      ll04,         in   some      embodiments,             matching             server
      20      validates              the        suggested           matching          proposal              between
      second and third users 14.                               For example,             matching server
      20 verifies that Bob's profile indicates that he wants to
15    be      matched with a                    woman,       and     Sally's          profile       indicates
      that she wants to be matched with a man.                                          Matching server
      20          may     also        verify           that        Sally        has     not        previously
      expressed              disapproval             for      Bob.         If       matching        server          20
      determines               the        suggested           matching          proposal           is        valid,
20    matching                              20        creates         the           match         and        allows
      communication                   between          the     users           14     suggested              to     be
      matched at               step 1106.              If matching server 20                       determ~nes

      the         su·::.lgested       matching         proposal           is    not     valid,          matching
      server            20     does       not    create        a     match      and     does        not       allow
25    communication between second and third users                                                14    at        step
      1108.               In     some        embodiments,              step          1104     may           not     be
      performed.                  For       example,           if     a     matching          proposal              is
      suggested,               then matching server 20 may perform step 1106
      with respect to the users suggested to be matched.
30                FIGURES            l2A~D           depict          embodiments             of         a         user
      interface.                 In       some       embodiments,              the     interface             al lows
      user         l4     of    terminal          10     to    enable          communication between
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      other        users          14     by    suggesting                a     matching        proposa.l         to
      matching server 20.
                 FI GORE          12A      illustrates                   one         embodiment          of      an
      interface for proposing a                            match bet.ween two users.                            The
 5    interface is divided into three sections:                                             connection list
      area       1202,          search     area          l204,       and       suggest.ion       area      1206.
      Connection list area 1202 displays                                        a    set of     connections
      user       14       has     with     other          users          of,       e, g.,    system      100     of
      Fic.;uR.E       l,.         Connections            may        be    based        on    prior       matches
10    created by matching server 20,                                      Connections may also be
      imported              from       another           socia1          networking           platform          50.
      Search area 1204 enables user 14 to search for particular
      connections within system 100.                                     In some embodiments,                   the
      search may be                   limited to           just the            connections displayed
15    in   connection                  list       area     1202.               Suggestion        area          1206
      displays              the connections that user l4 may use to form a
      suggested match.
                 FIGURE            12B        illustrates                    suggestion         area           1206
                                                                             f •
      displaying a                first selected user                        \l.e.,     "Jonathan Smith")
20    of     a        proposed           match           between             two      users.            User     14
      identifies                the     first       selected              user        through       a    set     of
      interactions with connection list area 1202,                                              search area
      1204,       and suggestion area 1206.                              For example,           user 14 may
      locate          a      connection            i.n    connection                list     area       1202     by
25    typing a              user handle            in search area 1.204.                       User      14 may
      then add the connection to suggestion area 1.206,                                                  In some
      embodiments,                 user       14         may        drag       the        connection           from
      connection list area 1202 to suggestion area 1206.
                 FIGURE            l2C        illustrates                    suggestion         area           1206
3O    displaying              a   proposed match between                            two     suggested users
      (i.e. ,         ",Jonathan Srni th"                and "Mary Maj or")                    .For example,
      user       14       may     locate      a    second connection                        in connect         list
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      area 1202 that user 14 believes is a match for the first
      connection.          User      14     may    add     the      second         connection             to
      suggestion area 1206.                    When both connections are added to
      suggestion       area       1206,        matching       server        20        mc:-i:y    create    a
 5    match     between        the      two      users     and       allow            communication
      between them.
              FIGURE       12D      illustrates          an        example            communication
      interface between users of the matching system.                                             User 14
      is presented with chat box 1208                         for each of the matches
10    that    exist    for       user     14 .     Users      14    rn.ay    communicate with
      each other through chat box 1208.                             In      some embodiments,
      users    14    may     communicate           through         SMS      messages,             e-mail,
      telephone        calls,        online       voice       communication                     sessions,
      and/or video communication sessions.
15            Modifications,            additions,        or       omissions             may be      made
      to the methods described herein                         {such as those described
      above     with    respect           to     FIGURES      5,     10      and         11)      without
      departing from the scope of the disclosure.                                        For example,
      the    steps     may    be     combined,          modified,           or     deleted          whe:r:e
20    appropriate,            and       additional            steps          may            be     added.
      Additionally,          the steps may be performed in any suitable
      order    without        departing          from    the       scope         of       the     present
      disclosure.
              Although       several           embodiments         have      been          illustrated
25    and     described        in      detail,      it     will       be     recognized              that
      substitutions           and       alterations            are          possible              without
      departing        from      the      spirit     and       scope        of         the       appended
      claims.
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     WHAT IS CLAIMED IS:


            J.,   A    method for profile matching,                                  comprising:
            receiving         a    p1ura1ity            of         user        profiles,         each    user
 5   profile comprising traits of a respective user;
            receiving         a    preference             indication for                   a    first    user
     profile of the plurality of user profiles;
           determining             a    potential                 mat.ch      user       profile    of    the
     plurality        of'     user          profiles               based        on       the    preference
10    indication for the first user profile; and
            presenting            the       potential              match        user      profile        to   a
      second user.


            2 "   The        method           of    Claim            1,       wherein          receiving      a
15   preference indication for a                          first           user profile comprises
      receiving from a             third user a recommendation of the first
      user profile for the second user.


            3"    The        method           of    Claim            l,       wherein          receiving      a
20    pre.ference indication for a                        first           user profile comprises
      receiving   from            the       second     user          a        preference        indication
      for the first user profile.


            4.    The         method           of    Claim               l,     further         comprising
25    prompting   a         user       to     submit          a    preference            indication        for
      the first user profile.


            5.    The        method           of    Claim            1,       wherein          receiving      a
      preference indication for a                         first           user profile comprises
30    receiving        from             the        second             user           a     request         for
      communication with a                  first use.r associated with the first
      user profile.
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            6.    The method of Claim l,               further comprising:
            determining a         score of a          third user profile of           the
      plurality of user prof ilea as a                     potential match for        the
 5    second user; and
            altering the         score of       the    third user profile based
      on the preference indication for the first user profile.


            7.     The       method    of    Claim    l,    wherein     determining     a
10    potential    match        user    profile       based       on   the   preference
      indication         for     the        first     user        profile     comprises
      determining        a     potential      match        user   profile     based    on
      identified    commonality between               the    potential       match user
      profile and the first user profile.
15
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             8.     A method for profile matching,                    comprising:
             receiving       a     plurality      of     user   profiles,       each       user
      profile comprising traits of a. respective user;
             receiving a. request               for matches      from a       first      user,
 5    the rirst user associated with a first user profile;
             scoring the plurality of user profiles for potential
      matching with the first. user based on comparisons of the
      plurality of user profiles with the first user profile;
             identifying a          second user profile               of    the p1 urality
10    of user profiles as a potential match for the first user
      based on the scoring;
             identifying commonality between a                     th,ird user profile
      of    the    plurality       of    user    profiles       and    the    second       user
      profile; and
15           presenting to the first user the third user profile
      as a potential match for the first user.


             9 .     The    method        of    Claim     8,    wherein      scoring        the
      plurality      ~~
                     V,!.   user    profiles       for    potential         matching       witb
20    the   first    user based on comparisons of the plurality of
      user profiles with the first user profile comprises:
             g·ene:rating        readability           scores      for      each    of      the
      p1urality      of     user    profiles      and     the   first       user    profile;
      and
25           comparing       the        readability       scores      for    each     of    the
      plurality of user profiles with the readability score for
      the first user profile.
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              lO.        The       method       of    Claim        B,       wherein    scoring       the
      plurality          of    user       pro.files       for      potential          matching      •,.Tith
      the first user based on a comparison of the plurality of
      user    profiles              with        the    first       user       profile     comprises
 5    scoring            based        on        fate          cha.ract.eristics          based         on
      corrrparisons           of    the    plurality of              user     profiles       with    the
      first user profile.


              ll,        The       method       of    Cl.aim       8,       wherein    scoring       the
10    plurality          of    user       profiles        for      potential          matching      with
      the    first       user based on comparisons of the plurality of
      user profiles with the first user profile comprises:
              generating             scores           based        on       comparisons       of      the
      plurality          of        user    profiles           with      a    plurality       of     user
15    preferences of the first user profile; and
              reducing a scoring impact of a difference between at
      least        one     user       preference              of    the      plurality       of     user
      preferences of the first user profile and a user profile
      of     the     plurality             or     user        profiles        based     on    an     age
20    preference.
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                  12.       The   method         of    Claim       8,       wherein     scoring     the
          p1urality         of    user     profiles       for      potential           matching   <Nith
          the first user based on comparisons of the plurality of
                  profiles with the first user profile comprises:
   5              generating             scores       based        on       comparisons      of     the
          plurality         0~    user         profiles       with      a     plurality     of    user
          preferences of the first user profile; and
                  reducing a scoring impact of a difference between at
          1east       one     user       preference           of    the      plurality      of    user
10        preferences of the first user profile and a user profile
          of    the     plurality         of    user    profiles            based on a      location
          preference.


                  13.       The   method         of    Claim       8,       'dherein    scoring     the
l . _,
    r:    plurality         of    user     profiles       for      potential           matching   with
          the first user based on comparisons of the plurality of
          user profiles with the first user profile comprises:
                            generating a score of a                     fourth user profile of
          the    plurality          of    user        profiles       .for     potential     matching
20        '"'lith the first user based on a                        comparison of the fourth
          user profile with the first user profile; and
                            modifying the score of the fourth user pro.tile
          for    potential          matching          with     the       first       user   based    on
          receiving selections of the fourth user profile.
25
                  14.       The   method         of    Claim       8,       wherein     scoring     the
          plurality         of    user     profiles       for      potential           matching    with
          the    first       user    comprises          determining            an    attractiveness
          rating of at least one user profile of the plurality of
30        user     profiles          by    at     least        analyzing         a     frequency     of
          selections of the at least one user profile.
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             15.    A system for profile matching,                          comprising:
             an interface operable to:
                    receive a plurality of user profiles,                               each user
      profile comprising traits of a respective user; and
 5                  receive     a        preference          indication           for       a     first
      user profile of the plurality of user profiles;
             a processor coupled to the interface and operable to
      determine a potential match ·user profile of the plurality
      of   user profiles       based on the preference                           indication for
10    the first user profile; and
             the     interface           further          operable          to     present          the
      potential match user profile to a second user.


             16,    The     system       of       Claim    15,       wherein      an    interface
15    operable      to receive a          preference             indication for             a     first
      user profile         comprises          an    interface         operable         to       receive
      from    a    third    user     a    recommendation               of    the       first       user
      profile for the second user.


20           17.    The     system       of       Claim    15,       wherein      an    interface
      operable      to receive       a    preference             indication for             a     first
      user profile         comprises          an    interface         operable         to       receive
      from    the    second     user          a    preference         indication            for     the
      first user profile.
25
             18.    The     system of             Claim   15,     wherein        the    processor
      is     further       operable       to        prompt       a    user        to    submit        a
      preference indication for the first user profile.
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               l9,     The      system        of       Claim       15,       'Nherein       an    interface
       operable      to     receive       a       preference             indication         for       a    first
       user    pro:f ile     comprises             an    interface            operable           to   receive
       from    the   second user              a    request            for    communication with a
 5     first user associated with the first user profile.


               20.     The      system of              C1aim      1.5,      wherein       the     processor
       is further operable to:
              determine          a   score         of        a    third      user    profile              of    the
10     plurality of          user profiles                   as   a    potential match for                      the
       second user; and
               alter      the    score        of       the       third user profile based on
       the preference indication for the first user profile.


1.5            21.     The      system        of        Claim         l5,     wherein       a     processor
       operable        to    determine             a     potential             match      user        profile
       based    on     the      preference              indication             for   the         first         user
       profile       comprises        a       processor               operable       to     determine             a
       potential          match       user             profile              ba_sed     on        ident.if ied
20     commonality beti,•.teen the potential match user profile and
       the first user profile.
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              22.    A system for profile matching, comprising:
              an interface operable to:
                        receive a plurality of user profiles, each user
      profile comprising traits of a respective user; and
 5                      receive       a    request       for    matches            from    a    first
      user,       the     first       user      associated          with       a     first          user
      profile;
              a    processor       coupl.ed        to    the    interface           and    operable
      to:
lO                      score     the       plurality          of    user          profiles          for
      potential          matching           with        the    first          user        based       on
      comparisons         of    the       plural..i ty of.     user       profiles         with      the
      first user profile;
                        identify a second user profile of the plurality
l~    of user profiles as a potential match for the first user
      based on the scoring; and
                        identify          commonality          between         a     third          user
      profile of the plurality of user profiles and the second
      user profile; and
20            the    interface            further       operable         to   present          to    the
      first       user    the   third user profile                  as    a   potential mat.ch
      for the first user.
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                             MATCHING PROCESS SYSTEM ;°UJD METHOD

      ABSTR...~CT

            A method             for profile matching includes           receiving a
 5    plurality of user profiles,                each user profile comprising
      traits        of       a    respective   user.        The     method   includes
      receiving          a       preference    indication     for    a   first   user
      profile of             the plurality of        user profiles.      The method
      also includes determining a potential match user profile
10    of the plurality of user profiles based on the preference
      indication for              the first user profile.           The method also
      includes presenting the potential match user profile to a
      second user.
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                                                                             FIG. JC
Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 183 of 196

                                      Title. M;.;tc~i~Q Prncess System A.nd Method
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                                                      FIG. JD

                                                    SEARCH RESULTS


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                 31           2. Jane Roe_,,-31b


                      ~       3. Jane Boe-.._
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                              Bom: i 0/01 /75
                              Hometown: Dallas, TX
                              Likes: Cl1oco!ate, ro!lerblading
                              Dislikes: Body odor. arrogance, football


                                                        FIG. JF
Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 184 of 196

                                                 "f iili:: l\ihtching Process System And Method
                                                                      inveniorn: Sean Rad et al.
                                                          Attorney Docke,t Na.: 07653~l0i46


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Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 185 of 196

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Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 186 of 196

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Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 187 of 196

                                      Title: M8tcr:ing Prncess Systfjm And Mcthcd
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                                                  FIG. 10
Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 188 of 196

                         Tit:s: MatcP,i:.g Prncess System And Msthcd
                                    lr:vr,r:tors: Sean Rad ~t al.
                               Attorney Decks! No.: 076533.01-lfl


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Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 189 of 196

                         Title: Matching Procr,ss Sy,;terr. Anll Method
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Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 190 of 196

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                                                              FIG. 12B
Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 191 of 196

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Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 192 of 196

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                                                 FIG. 12D
   Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 193 of 196




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               05 FC: 1201               420.00 CR
                   Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 195 of 196
                                                                                                                                                                              PTO/SB/06 (09-11)
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    PATENT APPLICATION FEE DETERMINATION RECORD                                                             Application or Docket Number                Filing Date
                                    Substitute for Form PT0-875                                                      14/059, 192                     10/21 /2013            D To be Mailed

                                                                                                                           ENTITY:          ~LARGE           D SMALL D MICRO
                                                                        APPLICATION AS FILED - PART I
                                                   (Column 1)                          (Column 2)

                   FOR                           NUMBER FILED                       NUMBER EXTRA                                   RATE($)                              FEE($)

 1:8] BASIC FEE                                        N/A                                 N/A                                        N/A                                280
       (37 CFR 1.16(a), (b), or (c))

 1:81 SEARCH FEE                                       N/A                                 N/A                                        N/A                                600
       (37 CFR 1.16(k), (i), or (m))

 1:81 EXAMINATION FEE                                  N/A                                 N/A                                        N/A                                720
       (37 CFR 1.16(0), (p), or (q))
 TOTAL CLAIMS
 (37 CFR 1.16(i))                                     21 minus 20 =         *   1                                            x $80 =                                      80
 INDEPENDENT CLAIMS
 (37 CFR 1.16(h))                                       3 minus 3 =         * 0                                              x $420 =                                      0
                                            If the specification and drawings exceed 100 sheets
                                            of paper, the application size fee due is $310 ($155
 0APPLICATION SIZE FEE
                                            for small entity) for each additional 50 sheets or
   (37 CFR 1.16(s))
                                            fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                            CFR 1.16(s).
 D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
 * If the difference in column 1 is less than zero, enter "O" in column 2.                                                          TOTAL                               1680

                                                                      APPLICATION AS AMENDED - PART II

                                    (Column 1)                        (Column 2)             (Column 3)

                                CLAIMS                           HIGHEST
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        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
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                                    (Column 1)                        (Column 2)             (Column 3)

                                  CLAIMS                          HIGHEST
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                      Case 6:21-cv-00147-ADA Document 15-10 Filed 04/22/21 Page 196 of 196
                                                                                                                                                                                 PTO/SB/06 (09-11)
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                                                                                                                              ENTITY:          [8J LARGE D SMALL D MICRO
                                                                            APPLICATION AS FILED - PART I
                                                      (Column 1)                          (Column 2)

                      FOR                           NUMBER FILED                       NUMBER EXTRA                                   RATE($)                              FEE($)

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          (37 CFR 1.16(a), (b), or (c))

  D SEARCH    FEE
    (37 CFR 1.16(k), (i), or (m))
                                                          N/A                                    N/A                                     N/A

  D (37
    EXAMINATION FEE
        CFR 1.16(0), (p), or (q))
                                                          N/A                                    N/A                                     N/A
  TOTAL CLAIMS
  (37 CFR 1.16(i))                                            minus 20 =       *                                                x $            =

  INDEPENDENT CLAIMS
  (37 CFR 1.16(h))                                              minus 3 =      *                                                x $            =

                                               If the specification and drawings exceed 100 sheets
                                               of paper, the application size fee due is $31 O ($155
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                                               for small entity) for each additional 50 sheets or
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  D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
  * If the difference in column 1 is less than zero, enter "O" in column 2.                                                            TOTAL



                                                                         APPLICATION AS AMENDED - PART II

                                       (Column 1)                        (Column 2)               (Column 3)

                                   CLAIMS                           HIGHEST
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  **If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                                                /EVA GILLIS/
  *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
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